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 11   Attorneys for Official Committee of Equity Security Holders

 12                                  UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
 13                                    SAN FERNANDO VALLEY DIVISION

 14   In re:                                                       Lead Case No.: 1:17-bk-12408-MB
                                                                   Jointly administered with:
 15                                                                1:17-bk-12409-MB Chapter 11 Cases
      ICPW Liquidation Corporation, a California
 16   corporation,1
                                                                   NOTICE OF HEARING ON MOTION
                                                                   AND MOTION FOR ENTRY OF
 17                                                                ORDER: (1) APPROVING
                  Debtor and Debtor in Possession.
                                                                   AGREEMENT WITH MATTHEW
 18                                                                PLISKIN FOR TRUSTEE SERVICES;
      In re:
                                                                   AND (2) APPROVING TRUST BOARD
 19                                                                COMPENSATION; DECLARATIONS
      ICPW Liquidation Corporation, a Nevada
      corporation,2                                                OF SCOTT JARUS AND MATTHEW
 20                                                                PLISKIN IN SUPPORT THEREOF
 21               Debtor and Debtor in Possession.
                                                     Hearing:
 22     Affects:                                     DATE:    February 12, 2018
                                                     TIME:    1:30 p.m.
 23       Both Debtors                               PLACE:   Courtroom “303”
                                                              21041 Burbank Blvd.
 24       ICPW Liquidation Corporation, a California          Woodland Hills, CA 91367
      corporation
 25
          ICPW Liquidation Corporation, a Nevada
 26   corporation.

 27
      1
 28       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.

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  1             PLEASE TAKE NOTICE THAT ICPW Liquidation Corporation, a California
  2   corporation, formerly known as Ironclad Performance Wear Corporation, a California corporation
  3
      (“ICPW California”), and ICPW Liquidation Corporation, a Nevada corporation, formerly known
  4
      as Ironclad Performance Wear Corporation, a Nevada corporation (“ICPW Nevada” and
  5
      collectively with ICPW California, the “Debtors”), and the Official Committee of Equity Security
  6

  7   Holders (the “Equity Committee”) seek the entry of an order: (i) approving that certain agreement

  8   with Matthew Pliskin for trustee services (the “Trustee”) in connection with the Debtors’ and the

  9   Equity Committee’s Joint Plan of Liquidated Dated January 12, 2018 (the “Plan”); and
 10
      (2) approving certain compensation to the initial members of the trust board (the “Trust Board”)
 11
      created pursuant to the Plan and the related trust agreement. The members of the Trust Board are
 12
      the current members of the Equity Committee: Ronald Chez, Scott Jarus and Patrick O’Brien.
 13
      The Motion requests that the Court approve proposed compensation (i) to the Trustee of $300 per
 14

 15   hour, plus expenses, and (ii) to each member of the Trust Board of $40,000 per year, plus

 16   expenses, paid quarterly in arrears. The relief sought is solely in the event the Court approves
 17   confirmation of the Plan.
 18
                PLEASE TAKE FURTHER NOTICE that the Motion is based on this Notice, the
 19
      Motion and all pleadings filed in support of the Motion, the entire record of these cases, the
 20
      statements, arguments and representations of counsel to be made at the hearing on the Motion, if
 21

 22   any, and any other evidence properly presented to the Court.

 23             PLEASE TAKE FURTHER NOTICE that, pursuant to LBR 9013-1(f), any party

 24   opposing or responding to the Motion must, not later than fourteen (14) days before the hearing,
 25   file a written objection and serve such objection on counsel for the Debtors and the Equity
 26
      Committee whose name and address appear at the top, left-hand corner of the first page of this
 27
      Notice.
 28

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  1          PLEASE TAKE FURTHER NOTICE that, pursuant to LBR 9013-1(h), the failure to
  2   file and serve a timely objection to the Motion may be deemed by the Court to be consent to the
  3
      relief requested herein.
  4
      Dated: January 22, 2018                    LEVENE, NEALE, BENDER, YOO & BRILL
  5                                              L.L.P.
                                                 RON BENDER
  6                                              KRIKOR J. MESHEFEJIAN
  7
                                                 By:    /s/ Ron Bender
  8                                                  KRIKOR J. MESHEFEJIAN
                                                 Attorneys for Debtors and Debtors in Possession
  9

 10
      Dated: January 22, 2018                    DENTONS US LLP
 11                                              SAMUEL R. MAIZEL
                                                 TANIA M. MOYRON
 12
                                                 By:
 13                                                 TANIA M. MOYRON
                                                 Attorneys for the Official Committee of
 14
                                                 Equity Holders
 15

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  1                       MEMORANDUM OF POINTS AND AUTHORITIES
  2                                                   I.
  3
                                          RELIEF REQUESTED
  4

  5           Ironclad Performance Wear Corporation, a California corporation (“ICPW California”),

  6   and ICPW Liquidation Corporation, a Nevada corporation, formerly known as Ironclad

  7   Performance Wear Corporation, a Nevada corporation (“ICPW Nevada” and collectively with
  8   ICPW California, the “Debtors”), and the Official Committee of Equity Security Holders (the
  9
      “Equity Committee”) seek the entry of an order: (i) approving that certain agreement with
 10
      Matthew Pliskin for trustee services (the “Trustee Agreement”) in connection with the Debtors
 11
      and Official Committee And Official Committee Of Equity Security Holders Joint Plan Of
 12

 13   Liquidation Dated January 12, 2018 [Docket No. 383] (the “Plan”) and the related trust

 14   agreement (the “Trust Agreement”); and (2) approving certain compensation to each initial

 15   member of the trust board (the “Trust Board”) created pursuant to the Plan and the Trust
 16
      Agreement. The relief sought herein is solely in the event the Court approves confirmation of the
 17
      Plan.
 18
                                                     II.
 19
                                      JURISDICTION AND VENUE
 20

 21           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334. This is

 22   a core proceeding pursuant to 28 U.S.C. §157(b)(2). The venue of the Debtors’ two chapter 11
 23   cases (the “Cases”) is proper pursuant to 28 U.S.C. §§1408 and 1409.
 24
                                                     III.
 25
                                             BACKGROUND
 26

 27   A.      General Background.
 28
              1.     On September 8, 2017, the Debtors each filed a voluntary petition under chapter

                                                      4
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  1   11 of the Bankruptcy Code (the “Petition Date”). Since the Petition Date, the Debtors have
  2   operated their business and managed their affairs as debtors in possession pursuant to Sections
  3
      1107 and 1108 of the Bankruptcy Code. With the Court’s approval, the Cases are being jointly
  4
      administered. Other than owning all of the shares in the California entity, the Nevada entity had
  5
      no business. All operations of the Debtors effectively functioned through the California entity.
  6

  7          2.      On September 11, 2017, the Debtors filed their Ex Parte Motion For Entry Of An

  8   Order For Joint Administration Of Cases. Docket No. 5.

  9          3.      On September 12, 2017, the Court entered an Order Approving Joint
 10
      Administration of Cases Authorizing Joint Administration Pursuant to 11 U.S.C. § 105(a) and
 11
      Federal Rule of Bankruptcy Procedure 1015(b). Docket No. 25.
 12
             4.      On September 20, 2017, the Office of the United States Trustee filed its Notice of
 13
      Appointment of Official Committee of Equity Holders (the “Notice of Appointment”). Docket No.
 14

 15   59. The Notice of Appointment provides for the appointment of the Equity Committee in ICPW

 16   Nevada.
 17          5.      On September 22, 2017, the Office of the United States Trustee filed its Notice of
 18
      Appointment of Creditors’ Committee. Docket No. 62.
 19

 20   B.     Relevant Facts.

 21          6.      The Debtors filed the Cases to consummate a sale of substantially all of their
 22
      assets (excluding cash, causes of action and certain property) for the most money possible. Just
 23
      prior to their chapter 11 bankruptcy filings, the Debtors entered into an asset purchase agreement
 24
      (the “Radians APA”) with the Debtors’ then pre-petition secured creditor, Radians Wareham
 25
      Holdings, Inc. (“Radians”), for a cash purchase price of between $15 and $20 million, subject to
 26

 27   an overbid process.

 28          7.      Pursuant to the Bidding Procedures Order [Docket No. 71], the Auction was held

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  1   before the Court on October 30, 2017. Two prospective overbidders, Brighton-Best International,
  2   Inc. (“BBI”) and Protective Industrial Products, Inc. (“PIP”), along with Radians participated in
  3
      the Auction, and BBI was determined to be the winning bidder at the Auction with a purchase
  4
      price of $25,250,000. The sale to BBI closed on November 14, 2017. In connection with the sale
  5
      closing, after taking into account various deposits and pro rations, BBI wire transferred a closing
  6

  7   payment of $25,328,919, which is in addition to the $1,000,000 deposit that BBI had provided to

  8   the Debtors in advance of the Auction (the “BBI Deposit”) and is inclusive of the $820,000

  9   “Supplemental Payment” which, pursuant to the Sale Order, is to be maintained by the Escrow
 10
      Agent in segregated trust account separate from the balance of the sale proceeds pending further
 11
      order of the Court.
 12
             8.      On January 12, 2018, the Debtors and the Equity Committee (the “Plan
 13
      Proponents”) filed and served the Plan and related notice of hearing on confirmation of the Plan.
 14

 15   Docket Nos. 383 & 383. A liquidating trust (the “Trust”) is being established under the Plan. See

 16   Plan, at 45, 53. The Debtors and the proposed trustee (the “Trustee”) will execute the Trust
 17   Agreement pursuant to the terms of the Plan. A copy of the Trust Agreement is attached as an
 18
      exhibit to the Plan. A slightly revised version of the Trust Agreement (which remains subject to
 19
      further revisions) is attached hereto as Exhibit “1.” The Trust shall become effective upon the
 20
      Effective Date of the Plan.
 21

 22          9.      The Plan provides that the Trustee of the Trust will be proposed by the Equity

 23   Committee and is subject to approval by the Court. The Trust Agreement appoints a Trustee for

 24   the Trust and creates the Trust Board. The Trust Board is comprised of the same members of the
 25   Equity Committee: Ronald Chez, Scott Jarus, and Patrick O’Brien.
 26

 27   C.     The Proposed Trustee and Compensation.

 28          10.     Matthew Pliskin was employed by the Debtors shortly before their bankruptcy

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  1   filings to serve as the Debtors’ Chief Financial Officer (the “CFO”), a position he has held
  2   throughout the Cases. During the Cases, Mr. Pliskin has been getting paid compensation of
  3
      $18,000 per month plus expenses. During his service to the Debtors, both pre- and post-petition,
  4
      Mr. Pliskin has accumulated a vast amount of institutional knowledge concerning the Debtors’
  5
      business, including the Debtors’ corporate matters, assets, books and records, accounting and
  6

  7   cash management systems, creditors, employees, vendors, customers and contract parties, historic

  8   financial performance, and pre-bankruptcy operations. Mr. Pliskin has also acquired critical

  9   knowledge regarding various pre-petition events related to the Debtors’ former officers and
 10
      various acts that led to, among other things, their resignation.
 11
             11.     Since the Petition Date, Mr. Pliskin has played a central role in the management-
 12
      led liquidation of the Debtors’ estates. The Debtors and the Equity Committee are confident that
 13
      Mr. Pliskin will continue his effective service to these estates’ creditors and shareholders as
 14

 15   Trustee. The Debtors and the Equity Committee believe that it is critical that someone

 16   knowledgeable about the Debtors’ corporate affairs, historic operations, liquidation efforts, and
 17   these chapter 11 cases be designated as Trustee in order to ensure a smooth transition to the Trust.
 18
      Anyone new to the Debtors and these Cases would need to spend a significant amount of time—
 19
      at great expense to these estates—familiarizing himself or herself with the Debtors’ assets, books
 20
      and records, and these Cases. Thus, engagement of an “outsider” would likely delay the
 21

 22   conclusion of these Cases by at least several months if not longer. Employment of Mr. Pliskin as

 23   Trustee, on the other hand, will ensure a smooth, efficient and cost-effective transition into the

 24   next phase of the Debtors’ liquidation through the Trust and also ensure that the Trust is capably
 25   and efficiently administered. The Debtors and the Equity Committee therefore believe that
 26
      employing Mr. Pliskin as Trustee is in the best interests of the Debtors, their estates, their
 27
      creditors and shareholders.
 28

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  1          12.     Additionally, the terms related to Mr. Pliskin’s proposed services are reasonable,
  2   as set forth in the Trustee Agreement and below. A copy of the Trustee Agreement (which is in
  3
      draft form) is attached hereto as Exhibit “2.” The sole purpose of the Trustee Agreement is to
  4
      ensure that Mr. Pliskin is able and willing to serve as Trustee upon confirmation of the Plan.
  5
      Under the Trustee Agreement, Mr. Pliskin shall be paid $300 per hour plus expenses.
  6

  7          13.     The Trustee Agreement includes, inter alia, the following relevant terms:

  8                     Mr. Pliskin, as Trustee, will administer the Trust, and his duties shall include,

  9                      among other things, overseeing the wind up of the Debtors’ businesses, the
 10
                         pursuit of claims against certain parties and organizations, the distribution to
 11
                         shareholders, and the dissolution of the Debtors, as well as any other services
 12
                         reasonably requested by the Trust Board from time to time.
 13

 14                     The initial term (the “Initial Term”) of Mr. Pliskin’s employment as Trustee

 15                      will commence upon the effective date of the Plan (the “Effective Date”), and

 16                      continue through the date that is twelve months after the Effective Date, which
 17                      shall be extended on the anniversary of the Effective Date for a further twelve
 18
                         (12) months unless the Trust Board provides Mr. Pliskin 30 days of notice in
 19
                         advance of the extension date that the Trust Agreement shall terminate.
 20
                        Mr. Pliskin’s compensation for his services to the Trust will consist of a fee of
 21

 22                      $300 per hour plus expenses, which shall be paid within five business days

 23                      following the completion of each monthly period, and which shall constitute
 24                      the sole compensation Mr. Pliskin receives for his services to the Trust.
 25
             14.     The Debtors request that the Court approve the Trustee Agreement as being
 26
      reasonable and in the best interest of the Debtors’ estates, creditors and shareholders.
 27
 28

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  1   D.     The Proposed Compensation to the Trust Board.
  2          15.     As set forth above, the Trust Agreement creates a Trust Board and provides that
  3
      the initial members of the Trust Board are Messrs. Chez, Jarus and O’Brien. See Trust
  4
      Agreement, Exhibit 1, Section 4.1. The resumes of each of the members of the Trust Board are
  5
      attached hereto as Exhibit “3.”
  6

  7          16.     The Trust Board has the responsibility of making certain determinations in

  8   accordance with the Trust Agreement and the Plan and serves an advisory role to the Trustee. Id.

  9   Among other things, the Trust Agreement provides that the Trustee shall submit to the Trust
 10
      Board for its review and prior approval certain matters as set forth therein and any other matters
 11
      that the Trust Board may direct the Trustee to submit for its approval or that expressly require the
 12
      approval of the Trust Board pursuant to the terms of the Trust Agreement. For example, the Trust
 13
      Agreement provides that, in the event of (a) compromises of pending litigation, (b) sales, transfers
 14

 15   or abandonment of property with a value of more than $50,000, or (c) claim settlements in which

 16   the amount conceded to be due and owing by the Trustee exceeds $100,000, the Trustee shall
 17   obtain the approval of the Trust Board of the intended action. See Trust Agreement, Exhibit 1,
 18
      Section 5.4.
 19
             17.     The Trust Agreement also provides that “[e]ach of the Trust Board Members shall
 20
      be entitled to reasonable compensation for their activities on behalf of the Trust as costs of
 21

 22   administration as provided by Section 4.4 of this Agreement.” See Trust Agreement, Exhibit 1,

 23   Section 9.8.

 24          18.     The Debtors and the Equity Committee propose that each member of the Trust
 25   Board shall receive $40,000 per year, plus expenses per year, paid quarterly in arrears, for their
 26
      Trust related Activities.
 27
             19.     The Debtors and the Equity Committee request that the Court approve the
 28

                                                       9
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  1   compensation to each member of the Trust Board as being reasonable and in the best interest of
  2   the Debtors’ estates, creditors and shareholders.
  3

  4
                                                                 IV.
  5
                                                          ARGUMENT
  6

  7              Section 105(a) of the Bankruptcy Code3 provides in pertinent part that “[t]he court may
  8   issue any order, process, or judgment that is necessary or appropriate to carry out the provisions
  9
      of this title.” Section 363(b) provides in pertinent part that “[t]he trustee, after notice and a
 10
      hearing, may use, sell, or lease, other than in the ordinary course of business, property of the
 11
      estate.” The use, sale or lease of property of the estate, other than in the ordinary course of
 12

 13   business, is authorized when a “sound business purpose” justifies such action. See, e.g., In re

 14   Del. & Hudson Ry., 124 B.R. 169, 176 (D. Del. 1991) (explaining that the Third Circuit has

 15   adopted the “sound business purpose” test to evaluate motions brought pursuant to § 363(b)); see
 16
      also Stephen Indus., Inc. v. McClung, 789 F.2d 386, 390 (6th Cir. 1986) (adopting the “sound
 17
      business purpose” standard for sales proposed pursuant to § 363(b)); Titusville Country Club v.
 18
      Pennbank (In re Titusville Country Club), 128 B.R. 396, 399 (Bankr. W.D. Pa. 1991) (same).
 19
      Pertinent factors include: (i) whether the proposed use is in the best interests of creditors; (ii)
 20

 21   whether the debtor has other options available to it; and (iii) whether the proposed use will

 22   facilitate a plan of reorganization. See In re Am. Dev. Corp., 95 B.R. 735, 739 (Bankr. C.D. Cal.
 23   1989).
 24
                  The Debtors and the Equity Committee believe that both securing Mr. Pliskin’s
 25
      commitment to serve as Trustee and compensating the Trust Board will accomplish a “sound
 26
      business purpose” and further the process of successfully completing the liquidation of the
 27
 28
      3
          All references to “sections” of the Bankruptcy Code herein are to sections of 11 U.S.C. § 101 et. seq., as amended.

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  1   Debtors’ estates. As to Mr. Pliskin, it is critical that his commitment to serve as Trustee is secured
  2   in order to ensure an efficient and cost-effective conclusion to these Cases. Through his service
  3
      to the Debtors, Mr. Pliskin has accumulated a vast amount of institutional knowledge concerning
  4
      the Debtors’ businesses, their assets, creditors, etc. and is therefore uniquely positioned to serve
  5
      as the Trustee. Similarly, the members of the Equity Committee have accumulated a vast amount
  6

  7   of institutional knowledge concerning the Debtors’ business as shareholders and through their

  8   service as members of the Equity Committee throughout these Cases. Moreover, both Messrs.

  9   Jarus and O’Brien have acquired institutional knowledge of the Debtors’ operations and
 10
      background through their service as, among other things, former directors. Securing Mr. Pliskin’s
 11
      commitment to serve as Trustee and the commitment of the three members of the Equity
 12
      Committee to serve on the Trust Board will ensure that a knowledgeable Trustee and Trust Board
 13
      is available to these estates once the Plan is confirmed, while also ensuring that the Trust is
 14

 15   capably and efficiently administered.

 16          The Debtors and the Equity Committee believe that the terms of the Trustee Agreement
 17   and the compensation to the members of the Trust Board are reasonable and will provide a
 18
      significant benefit to these estates by ensuring their willingness and availability to serve as
 19
      Trustee and members of the Trust Board.           Moreover, the total proposed compensation is
 20
      materially less than a chapter 7 trustee’s statutory fee under § 326 of the Bankruptcy Code,
 21

 22   which would be approximately $448,620 if the chapter 7 trustee distributed the cash on hand in

 23   the total sum of $14,179,001. See Plan, at 67.

 24          Additionally, this Motion and the relief sought herein is in furtherance of the Debtors’ and
 25   the Equity Committee’s filing of the Plan. Upon approval of the relief requested herein, the
 26
      Debtors and the Equity Committee will have secured the services of individuals that can assume
 27
      the responsibilities of Trustee and the Trust Board immediately upon confirmation of the Debtors’
 28

                                                       11
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  1   Plan. Without this commitment, the Debtors and the Equity Committee would be required to
  2   search for others to serve as trustee and potentially members of the Trust Board. Such a search
  3
      would result in increased administrative costs for these estates and likely delay confirmation and
  4
      implementation of the Plan. The Debtors and the Equity Committee believe that securing Mr.
  5
      Pliskin’s and the members of the Trust Board’s commitment is the most cost-effective means of
  6

  7   ensuring a smooth and efficient liquidation and distribution of estate assets and conclusion to

  8   these Cases. Thus, approval of the Trustee Agreement and the compensation to the members of

  9   the Trust Board is in the best interest of these estates, creditors and shareholders.
 10
                                                        V.
 11
                                                CONCLUSION
 12
             WHEREFORE, the Debtors and the Equity Committee request that this Court enter an
 13
      order (i) approving the Trustee Agreement, (ii) making any payments payable to Mr. Pliskin and
 14

 15   the Trust Board members an administrative expense of these estates and binding on any successor

 16   in interest to these estates, including, without limitation, any chapter 7 trustee, and (iii) granting
 17   such further and other relief as is proper.
 18
      Dated: January 22, 2018                        LEVENE, NEALE, BENDER, YOO & BRILL
 19                                                  L.L.P.
                                                     RON BENDER
 20                                                  KRIKOR J. MESHEFEJIAN
 21                                                  By:    /s/ Ron Bender
 22                                                      KRIKOR J. MESHEFEJIAN
                                                     Attorneys for Debtors and Debtors in Possession
 23
      Dated: January 22, 2018                        DENTONS US LLP
 24                                                  SAMUEL R. MAIZEL
                                                     TANIA M. MOYRON
 25

 26                                                  By:
                                                        TANIA M. MOYRON
 27                                                  Attorneys for the Official Committee of
                                                     Equity Holders
 28

                                                        12
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  1
                                   DECLARATION OF SCOTT JARUS
  2

  3          I, Scott Jarus, hereby declare as follows:

  4          1.      I am a member and the chairman of the Official Committee of Equity Security

  5   Holders (the “Equity Committee”) in the pending chapter 11 bankruptcy cases of ICPW
  6   Liquidation Corporation, a California corporation, formerly known as Ironclad Performance Wear
  7
      Corporation, a California corporation (“ICPW California”), and ICPW Liquidation Corporation, a
  8
      Nevada corporation, formerly known as Ironclad Performance Wear Corporation, a Nevada
  9
      corporation (“ICPW Nevada” and collectively with ICPW California, the “Debtors”).
 10

 11          2.      The Debtors each filed a voluntary petition for relief under Chapter 11 of the

 12   Bankruptcy Code on September 8, 2017 (“Petition Date”), and the Equity Committee was formed

 13   by the Office of the United States Trustee shortly thereafter. The three members of the Equity
 14
      Committee are Ronald Chez, Patrick O’Brien, and me.
 15
             3.      In that capacity, I have personal knowledge of the facts set forth herein, and, if
 16
      called as a witness, I could and would testify competently with respect thereto.
 17
             4.      I submit this Declaration in support of the Motion For Entry Of Order: (1)
 18

 19   Approving Agreement With Matthew Pliskin For Trustee Services; And (2) Approving Trust

 20   Board Compensation (the “Motion”). The relief sought in the Motion is solely in the event the
 21   Court approves confirmation of the Plan (as defined below).
 22
             5.      The Debtors and the Equity Committee filed the Debtors’ and the Official
 23
      Committee of Equity Security Holders’ Joint Plan of Liquidation Dated January 12, 2018 (the
 24
      “Plan”), which I understand the Debtors and the Equity Committee filed with the Court on
 25

 26   January 12, 2018, as Docket Number 383.

 27          6.      The Plan and the related trust agreement (the “Trust Agreement”) create a trust

 28   (the “Trust”) for the sole benefit of the shareholders of ICPW. The Trust Agreement is attached to

                                                      13
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  1   thee Motion ass Exhibit “1.” The threee members oof the Equityy Committeee (Ronald C
                                                                                         Chez, Patrick
                                                                                                     k
  2   O’’Brien, and me) will serve
                             s     as thee initial meembers of thhe Trust Board (the ““Trust Board
                                                                                                 d
  3
      Members”).
      M          A copy of thee resume of each of the Trust Boardd Members iis attached too the Motion
                                                                                                     n
  4
      as Exhibit “3.””
  5
               7.        Subject to the
                                    t approvall of the Courrt and finalizzation of an agreement aacceptable to
                                                                                                             o
  6

  7   alll parties (th
                     he “Trust Agreement”)
                               A          , the Debtoors’ current Chief Finaancial Officcer, Matthew
                                                                                                   w

  8   Pliskin, has beeen selected
                                d by the Equ
                                           uity Committtee to serve as the trusteee (the “Truustee”) of thee

  9   Trrust. Under the Trustee Agreement,
                                A          Mr. Pliskin will be paidd $300 per hoour plus exppenses.
 10
               8.        Additionallly, the Debttors and the Equity Com
                                                                      mmittee in tthe Motion propose thaat
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      eaach of the Trrust Board Members
                                M       willl be paid $440,000 per yyear, plus exppenses, paidd quarterly in
                                                                                                           n
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      arrrears, for theeir Trust relaated activitiees.
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               9.        I believe th
                                    hat the propo
                                                osed compennsation to M
                                                                      Mr. Pliskin ass Trustee andd to the Trusst
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 15   Bo
       oard Membeers is reason
                             nable and co
                                        ommensuratee with theirr experience and the vallue they willl

 16   ad
       dd to effectiv
                    vely and efficciently admiinister the Trrust.
 17            10.       Thus, I beelieve approv
                                               val of the M
                                                          Motion is inn the best iinterest of tthese estatess,
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      creeditors and shareholders
                     s          s.
 19
               I declaare under pen
                                  nalty of perju
                                               ury that the foregoing iss true and correct to the bbest of my
 20
      kn
       nowledge, in
                  nformation an
                              nd belief.
 21

 22            Executted this 22nd           uary, 2018, aat Dunedin, New Zealannd
                                 d day of Janu

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  1                            DECLARATION OF MATTHEW PLISKIN
  2
             I, MATTHEW PLISKIN, declare:
  3

  4          1.       I am the Chief Financial Officer (the “CFO”) of the Debtors. I was hired as the

  5   Debtors’ CFO shortly prior to the filing of the Debtors’ chapter 11 bankruptcy cases. I was

  6   requested by the Equity Committee to serve as the trustee (“Trustee”) of a trust established
  7
      pursuant to the joint plan of liquidation (the “Plan”) that has been jointly proposed by the Debtors
  8
      and the Equity Committee. I have agreed to serve as the Trustee in accordance with the terms of
  9
      the Trustee Agreement.
 10
             2.       I make this Declaration in support of the motion to which this Declaration is
 11

 12   attached (the “Motion”). All of the facts set forth in this Declaration are based on my personal

 13   knowledge, upon information supplied to me by other employees of the Debtors or their
 14   professional advisors, upon my review of relevant documents, or upon my opinion based upon
 15
      my experience and knowledge of the Debtors, their businesses, financial affairs and books and
 16
      records. If called upon to testify with respect to the facts set forth herein, I could and would
 17
      testify competently thereto, except for matters stated to be on information and belief, and as to
 18

 19   such matters, I believe them to be true and correct.

 20          3.       I am currently being paid $18,000 per month plus expenses for serving as the

 21   Debtors’ CFO.
 22          4.       During my service to the Debtors, both pre- and post-petition, I have become very
 23
      familiar with the Debtors’ businesses, including the Debtors’ corporate affairs, assets, books and
 24
      records, accounting and cash management systems, creditors, including employees, vendors,
 25
      customers and contract parties, historical financial performance and pre-bankruptcy operations.
 26

 27          5.       The Debtors and the Equity Committee filed the Debtors’ and the Official

 28   Committee of Equity Security Holders’ Joint Plan of Liquidation Dated January 12, 2018 (the


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  1   “P
       Plan”), whicch I understtand the Debtors and thhe Equity C
                                                                Committee ffiled with thhe Court on
                                                                                                  n
  2   Jaanuary 12, 2018,
                   2     as Do
                             ocket Numb
                                      ber 383. I understand that the Plaan and the related trusst
  3
      ag
       greement (th
                  he “Trust Agreement”
                            A         ) create a trust (the “Trust”) fo
                                                                     for the solee benefit of
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      sh
       hareholders.
  5
             6.       I have rev
                               viewed and agreed to tthat certain agreement related to m
                                                                                       my proposed
                                                                                                 d
  6

  7   services as trrustee (the “Trustee Agreement”)
                                         A           in connection with tthe Plan annd the Trusst

  8    greement. I am willing
      Ag                    g to serve ass Trustee off the Trust oon the termss set forth inn the Trusteee

  9   Ag          he Trust Agreeement and the Plan.
       greement, th
 10
             I declaare under pen
                                nalty of perju
                                             ury that the foregoing iss true and correct.
 11
             Executted this 22nd
                               d day of Janu
                                           uary 2018, aat Tampa, Florida.
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                    EXHIBIT "1"
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                                                                   DRAFT
                                   TRUST AGREEMENT

        This Trust Agreement (the “Agreement”), dated as of __________ __, 2018, is by and
among ICPW Liquidation Corporation, a California corporation, formerly known as Ironclad
Performance Wear Corporation, a California corporation (“ICPW California”), and ICPW
Liquidation Corporation, a Nevada corporation, formerly known as Ironclad Performance Wear
Corporation, a Nevada corporation (“ICPW Nevada” and collectively with ICPW California, the
“Debtors”), as settlors, and Mathew Pliskin, as the trustee of the Trust referred to herein (the
“Trustee”), and is executed in connection with and pursuant to the terms of the Joint Plan of
Liquidation Dated January 12, 2018 (“Plan”) that was jointly proposed by the Debtors and the
Official Committee of Equity Security Holders (the “OCEH”), which provides for, among other
things, the establishment of a trust evidenced hereby (the “Trust”).

                                     WITNESSETH

      WHEREAS, on September 8, 2017, the Debtors filed voluntary petitions pursuant to
Chapter 11 of the Bankruptcy Code with the Bankruptcy Court;

       WHEREAS, on February __________, 2018, the Bankruptcy Court entered its order
confirming the Plan (the “Confirmation Order”);

       WHEREAS, the Trust is created pursuant to the Plan;

       WHEREAS, the Trust is created on behalf, and for the sole benefit, of the shareholders of
ICPW Nevada (the “Shareholders” or the “Trust Beneficiaries”), as set forth in the Plan and
provided herein;

        WHEREAS, the Trust is established for the purpose of collecting, distributing and
liquidating all of the funds and property assigned to the Trust and pursuing claims and causes of
action assigned to the Trust under the Plan (the “Trust Corpus”) for the benefit of the Trust
Beneficiaries in accordance with the terms of this Agreement and the Plan;

      WHEREAS, the Trust shall have no objective or authority to continue or to engage in the
conduct of any trade or business;

       WHEREAS, the Plan provides that the Trust Beneficiaries are entitled to their applicable
share of the Trust Corpus, all as described generally in the Plan;

       WHEREAS, concurrently with the effectiveness of this Agreement, the Effective Date
under the Plan has occurred, the Plan has become effective, and the Debtors have been
conclusively deemed to have conveyed the assets of the Debtors’ estates (the “Trust Property”)


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to the Trust (except as specifically set forth in the Plan), and the Trustee will cause the Debtors
to be dissolved pursuant to the terms of the Plan;

        WHEREAS, pursuant to the Plan, the Debtors, the Trustee, and the Trust Beneficiaries
are required to treat, for all federal income tax purposes, the transfer of the Trust Property to the
Trust as a transfer of the Trust Property by the Debtors to the Trust Beneficiaries in satisfaction
of their class 2 interests under the Plan, followed by a transfer of the Trust Property by the Trust
Beneficiaries to the Trust in exchange for the beneficial interest herein, and to treat the Trust
Beneficiaries as the grantors and owners of the Trust for federal income tax purposes;

        WHEREAS, the Trust is intended to qualify as a liquidating trust for federal income tax
purposes pursuant to Treasury Regulation Section 301.7701-4(d), and to be treated as a grantor
trust for federal income tax purposes pursuant to Sections 671 through 679 of the Internal
Revenue Code;

       WHEREAS, pursuant to the Plan and the Plan Confirmation Order, the Bankruptcy Court
has approved Mathew Pliskin to serve as the Trustee of the Trust;

       WHEREAS, pursuant to the Plan and the Plan Confirmation Order, the Bankruptcy Court
has approved Scott Jarus, Ron Chez, and Patrick O'Brien to serve as the members of the Trust
Board;

        WHEREAS, the Bankruptcy Court shall have jurisdiction over the Trust, the Trustee, the
Trust Property, including, without limitation, any claims and causes of action, as provided herein
and in the Plan; and

       NOW, THEREFORE, in consideration of the promises and the mutual covenants
contained herein and in the Plan, the Debtors and the Trustee agree as follows:

                                     ARTICLE I
                         DEFINITIONS AND INTERPRETATIONS

        1.1    Definitions.

               1.1.1   “Agreement” shall have the meaning set forth in the introductory
paragraph to this Agreement.

               1.1.2   “Bankruptcy Court” shall have the meaning set forth in the introductory
paragraph to this Agreement.

              1.1.3     “Debtors” shall have the meaning set forth in the introductory paragraph
to this Agreement.

               1.1.4    “Effective Date” shall have the meaning set forth in the Plan.

              1.1.5    “Trust Property” shall mean the Trust Corpus (as defined in the Recitals
to this Agreement) and shall include all of the assets assigned to the Trust under the Plan.


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             1.1.6      “Trust” shall have the meaning set forth in the introductory paragraph to
this Agreement.

              1.1.7    “Trustee” shall mean (x) initially, the person named in the introductory
paragraph to this Agreement as the Trustee, and (y) any successors or replacements duly
appointed under the terms of this Agreement.

             1.1.8    “Trust Beneficiaries” shall have the meaning set forth in the Recitals to
this Agreement, or any successors to such Trust Beneficiaries pursuant to Section 7.6 of this
Agreement.

             1.1.9      “Plan” shall have the meaning set forth in the introductory paragraph to
this Agreement.

        1.2     Use of Plan Definitions. All capitalized terms which are used in this Agreement
and not otherwise defined herein shall have the same meaning set forth in the Plan. In the case
of any inconsistency between the terms of this Agreement and the terms of the Plan, the terms of
the Plan shall govern and control.

         1.3     Certain References. Reference in this Agreement to any Section or Article is,
unless otherwise specified, to such section or article under this Agreement. The words “hereof,”
“herein,” and similar terms shall refer to this Agreement and not to any particular section or
article of this Agreement.

                                 ARTICLE II
                ESTABLISHMENT, PURPOSE AND FUNDING OF TRUST

       2.1   Creation and Name. There is hereby created the Trust, referred to in the Plan.
The Trustee may conduct the affairs of the Trust under the name of the “ICPW Nevada Trust.”

         2.2    Purpose of the Trust. The Debtors and the Trustee, pursuant to the Plan and in
accordance with Title 11 of the United States Code (the “Bankruptcy Code”), hereby create the
Trust for the purpose of (i) collecting, distributing, liquidating and otherwise disposing of all of
the funds and property in the Trust for the benefit of the Trust Beneficiaries in accordance with
the terms of this Agreement and the Plan, (ii) causing all proceeds of Trust Property to be
deposited into the Trust in accordance with the Plan and this Agreement, (iii) controlling,
defending, prosecuting settling, and/or pursuing the resolution or litigation of all claims, rights,
Transferred Claims and Causes of Action included in the Trust Property, in each such case, in
accordance with the Plan and this Agreement, (iv) overseeing and, where appropriate, directly
initiating actions to resolve any remaining issues regarding the allowance and payment of
Disputed Claims or any other claims that require resolution, including, as necessary, initiation
and/or participation in proceedings before the Bankruptcy Court, and (v) taking such actions
permitted hereunder that are necessary or useful to maximize the value of the Trust including,
without limitation, the borrowing of funds and the retention of employees. The activities of the
Trust shall be limited to those activities set forth herein and as otherwise contemplated by the
Plan. The Trustee understands and agrees that the Trust has no objective to continue or engage
in the conduct of any trade or business, except to the extent reasonably necessary to, and
consistent with, the liquidating purpose of the Trust.
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        2.2    Transfer of Trust Property.

                 2.2.1   The Debtors hereby grant, release, assign, convey, transfer and deliver,
for the benefit of the Trust Beneficiaries, pursuant to Sections 1123(a)(5)(B) and 1123(b)(3)(B)
of the Bankruptcy Code and in accordance with the Plan and the Plan Confirmation Order, the
Trust Property to the Trust for the uses and purposes as specified in this Agreement and the Plan,
free and clear of any and all liens, claims, encumbrances and interests (legal, beneficial or
otherwise) of all other entities to the maximum extent contemplated by and permissible under
Section 1141(c) of the Bankruptcy Code. The Debtors or the Liquidating Debtor shall from time
to time as and when reasonably requested by the Trustee execute and deliver or cause to be
executed and delivered all such documents (in recordable form where necessary or appropriate),
and the Debtors or the Liquidating Debtor shall take or cause to be taken such further action as
the Trustee may reasonably deem necessary or appropriate, to vest or perfect in or confirm to the
Trustee title to and possession of the Trust Property.

              2.2.2    Except as expressly provided herein or as provided in the Plan
Confirmation Order, in no event shall any part of the Trust Property revert to or be distributed to
any of the Debtors.

               2.2.3     For all federal, state and local income tax purposes, the Debtors, the
Trust Beneficiaries, and the Trustee shall treat the transfer of the Trust Property to the Trust as a
transfer of the Trust Property by the Debtors to the Trust Beneficiaries in satisfaction of their
class 2 interests under the Plan, followed by a transfer of the Trust Property by the Trust
Beneficiaries to the Trust in exchange for their beneficial interests in the Trust. Thus, the Trust
Beneficiaries shall be treated as the grantors and owners of the Trust.

         2.3 Securities Law. Under Section 1145 of the Bankruptcy Code, the issuance of
beneficial interests in the Trust to the Trust Beneficiaries under the Plan, to the extent such
interests are deemed to be “securities,” shall be exempt from registration under the Securities Act
of 1933, as amended, and all applicable state and local laws requiring registration of securities.
If the Trustee determines, with the advice of counsel, that the Trust is required to comply with
the registration and reporting requirements of the Securities and Exchange Act of 1934, as
amended, or the Investment Company Act of 1940, as amended, then the Trustee shall take any
and all actions to comply with such reporting requirements and file necessary periodic reports
with the Securities and Exchange Commission.

                                ARTICLE III
              APPOINTMENT, DUTIES, AND POWERS OF THE TRUSTEE.

       3.1      Appointment. Mathew Pliskin hereby acknowledges his acceptance of his
appointment as the Trustee, to serve pursuant to the terms of the Plan and this Agreement, until
such time as he resigns, is removed or discharged, or this Agreement and the Trust terminate as
hereinafter set forth.

       3.2     Trustee’s Duties. The duties, obligations, and responsibilities of the Trustee shall
include, but not be limited to, the following: (a) oversee the preservation, holding, management
and maximization of all Trust Property and distribute them to the Trust Beneficiaries; (b) take or
not take those actions which the Trustee in his business discretion believes to be in accordance

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with the best interests of the Trust Beneficiaries and which actions or inactions are consistent
with the Plan.

        The Trustee’s responsibilities, duties and obligations are solely to the Trust Beneficiaries.
The Trustee shall have an independent right and standing to request relief from the Bankruptcy
Court which the Trustee believes to be in accordance with the best interests of the Trust
Beneficiaries. For purposes of performing his duties and fulfilling his obligations under the Plan,
this Agreement, and the Plan Confirmation Order, the Trustee shall be deemed to be a “party in
interest” within the meaning of Section 1109(b) of the Bankruptcy Code and a representative of
the Debtors’ bankruptcy estates under Bankruptcy Code section 1123(b)(3) and 1129(a)(5).

       Within thirty (30) days following the end of each calendar quarter, the Trustee shall
provide each member of the Trust Board with the actual Trust expenses paid or incurred during
the preceding calendar quarter, from time to time, such other financial information the Trust
Board may reasonably request.

        The Trustee shall be available from time to time on reasonable notice to report to the
Trust Board regarding the status of (i) the administration of the Trust, (ii) the collection and
distribution of the Trust Property, and (iii) the status of all litigation. Upon reasonable request by
the Trust Board, the Trustee shall promptly prepare, or cause to be prepared, such statistical data
and written and oral reports as are reasonably necessary to keep the Trust Board or the Trust
Beneficiaries, as the case may be, fully apprised of the condition and status of the Trust Property
and any other activities of the Trust hereunder

       3.3     Trustee’s Rights, Powers and Privileges and Limitations Thereto.

        The Trustee’s rights, powers and privileges and the limitations thereto are set forth below
in Sections 5.1 and 5.4, respectively.

                                          ARTICLE IV
                                         TRUST BOARD

        4.1    Trust Board. The initial members of the board of the Trust (the “Trust Board”)
shall be Scott Jarus, Ron Chez and Patrick O'Brien (the “Trust Board Members”). The Trust
Board shall make certain determinations, in accordance with this Agreement and the Plan.
Approval of a majority of the Trust Board Members shall be required for the Trust Board to act,
provided that the Trust Board may delegate responsibility for discrete issues or decisions to one
or more of the Trust Board Members. The Trust Board shall have the rights and powers set forth
herein. In the event that a Trust Board shall not continue to exist under this Agreement, all
references herein to required approval or other action of such Trust Board shall be of no force or
effect. The Trust Board Members, by a majority vote, shall have the right to increase or to
decrease the number of the Trust Board Members.

         4.2    Approval of the Trust Board. Notwithstanding anything in this Agreement to the
contrary, the Trustee shall submit to the Trust Board for its review and prior approval the matters
set forth in Section 5.4 and any other matters that the Trust Board may direct the Trustee to
submit for its approval or that expressly require the approval of the Trust Board pursuant to the
terms of this Agreement.
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        4.3   Resignation/Replacement of a Trust Board Member. In the event that a Trust
Board Member resigns, the remaining Trust Board Members, along with the Trustee, shall by
majority vote select a replacement to serve on the Trust Board, if they deem it advisable and
practicable.

         4.4    Compensation and Indemnification. Each of the Trust Board Members shall be
entitled to reasonable compensation for their activities on behalf of the Trust. The terms of such
compensation shall be subject to the approval of the Court on or prior to the Effective Date after
notice and hearing upon the joint motion of the Plan Proponents, but shall not be subject to the
limitations of § 326 of the Bankruptcy Code. Each of the Trust Board Members shall be
indemnified as set forth below in Section 8.3.

         4.5    Confidentiality. Each of the Trust Board Members shall, while serving as a Trust
Board Member under this Agreement and for a period of twelve (12) months following the
termination of this Agreement or following his removal or resignation from the Trust Board,
hold strictly confidential and not use for personal gain any material, non-public information of or
pertaining to any entity to which any of the Trust Property relate or of which he/she has become
aware in his capacity as a Trust Board Member.

                                     ARTICLE V
                            ADMINISTRATION OF THE TRUST

        5.1     Rights, Powers and Privileges. The Trustee shall have only the rights, powers and
privileges expressly provided in this Agreement and the Plan. Subject to the Trust Board’s right
of advice and comment discussed herein, the Trustee shall have the power to take the actions
granted in the subsections below and any powers reasonably incidental thereto, which the
Trustee, in his reasonable discretion, deems necessary or appropriate to fulfill the purpose of the
Trust, unless otherwise specifically limited or restricted by the Plan or this Agreement:

                5.1.1   make continuing efforts to collect on, sell, or otherwise liquidate or
dispose of Trust Property, and take any of the actions set forth in this Agreement without the
approval of the Bankruptcy Court and free of the restrictions of the Bankruptcy Code, the
Bankruptcy Rules, and the Local Bankruptcy Rules, other than restrictions expressly imposed by
the Plan, the Plan Confirmation Order or this Agreement;

               5.1.2    file, initiate, analyze, investigate, compromise and settle all causes of
action that are Trust Property, including all Transferred Claims and Causes of Action, which
could be brought by a trustee or debtor-in-possession under the Bankruptcy Code, and prosecute
or defend all appeals on behalf of any of the Debtors, as representative of the Debtors within the
meaning of section 1123(b)(3)(B) of the Bankruptcy Code; provided, however, that the Trust
Board must unanimously take any decision to initiate, settle or compromise any litigation in the
name of the Trust or the Debtors against any former officer or director of the Debtors;

              5.1.3    subject to the proviso contained in Section 5.1.2, commence and/or
pursue any and all actions involving Trust Property that could arise or be asserted at any time,
unless otherwise waived or relinquished in the Plan, including all Transferred Claims and Causes
of Action;

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               5.1.4     hold legal title to any and all rights of the Debtors and the Trust
Beneficiaries in or arising from the Trust Property;

                5.1.5   subject to the proviso contained in Section 5.1.2, protect and enforce the
rights to the Trust Property (including, without limitation, any and all causes of action, including
the Transferred Claims and Causes of Action, that are Trust Property) vested in the Trustee by
this Agreement and the Plan by any method deemed appropriate including, without limitation, by
judicial proceedings or otherwise;

                5.1.6   subject to the proviso contained in Section 5.1.2, compromise, adjust,
arbitrate, sue on or defend, abandon, or otherwise deal with and settle, in accordance with the
terms of this Agreement, claims in favor of or against the Trust;

              5.1.7 exercise any and all powers granted to the Trustee by any agreements or
by common law or any statute which serves to increase the extent of the powers granted to the
Trustee hereunder;

               5.1.8   subject to the proviso contained in Section 5.1.2, manage all litigation
instituted by or against the Trust or the Trustee, and administer the Trust expenses related
thereto;

               5.1.9    determine and satisfy any and all liabilities created or incurred by the
Trust;

               5.1.10   administer the Stock Incentive Plan;

               5.1.11   effectuate the wind down and ultimate dissolution of the Debtors as legal
entities;

               5.1.12   address any outstanding issues with the SEC;

               5.1.13 file, if necessary, any and all tax and information returns with respect to
the Trust and pay taxes properly payable by the Trust, if any;

               5.1.14   request any appropriate tax determination with respect to the Trust;

                5.1.15 in reliance upon the official claims register maintained in the Debtors’
chapter 11 cases, maintain on the Trustee’s books and records a schedule evidencing the
beneficial interest herein held by each of the Trust Beneficiaries;

              5.1.16 make timely distributions to the Trust Beneficiaries of Trust Property in
accordance with this Agreement;

               5.1.17   open and maintain bank accounts on behalf of or in the name of the
Trust;

               5.1.18 make all tax withholdings, file tax information returns, make tax
elections by and on behalf of the Trust and file returns for the Trust;

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                5.1.19 establish such reserves for, among other things, payment of taxes,
assessments, Trustee’s fees and professional fees and other expenses of administration of the
Trust as the Trustee deems to be necessary and appropriate for the proper operation of matters
incident to the Trust;

               5.1.20 pay all expenses and make all other payments relating to the Trust
Property and the administration of the Trust;

               5.1.21   retain and pay third parties pursuant to Section 5.2 hereof;

                5.1.22 obtain insurance coverage or a bond with respect to the liabilities and
obligations of the Trustee and the Trust Board Members under this Agreement (in the form of an
errors and omissions policy or otherwise) and use Trust Property to obtain and maintain the
same;

              5.1.23    employ and compensate professionals as the Trustee deems necessary
and appropriate;

               5.1.24   pay post-Effective Date quarterly fees to the U.S. Trustee;

               5.1.25 prepare and file post-confirmation quarterly reports with the U.S. Trustee
and post-confirmation status reports with the Bankruptcy Court as required;

               5.1.26   all powers provided under the Plan to the Trustee;

               5.1.27 invest any moneys held as part of the Trust Property in accordance with
the terms of Section 5.3 hereof; and

              5.1.28 terminate the Trust consistent with the terms of this Agreement and the
Plan and not unduly prolong the duration of the Trust.

        5.2     Agents and Professionals. The Trustee may, but shall not be required to, consult
with and retain attorneys, accountants, appraisers, or other parties deemed by the Trustee to have
qualifications necessary to assist in the proper administration of the Trust. The Trustee may pay
the reasonable salaries, fees and expenses of such persons (including himself), including
contingency fees, out of the Trust Property in the ordinary course to the extent permitted herein.

         5.3    Investment and Safekeeping of Trust Property. All monies and other Trust
Property received by the Trustee shall, until distributed or paid over as herein provided, be held
in the Trust for the benefit of the Trust Beneficiaries, but need not be segregated from other Trust
Property, unless and to the extent required by law or the Plan. The Trustee shall be under no
liability for interest or producing income on any moneys received by the Trust and held for
distribution or payment to the Trust Beneficiaries, except as such interest shall actually be
received by the Trustee. Investments of any moneys held by the Trustee shall be administered in
view of the manner in which individuals of ordinary prudence, discretion and judgment would
act in the management of their own affairs. For the removal of doubt, the investment powers of
the Trustee, other than those reasonably necessary to maintain the value of the Trust Property
and to further the liquidating purpose of the Trust, are limited to powers to invest in demand and

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time deposits, such as short-term certificates of deposits, in banks or other savings institutions, or
other temporary, liquid investments, such as treasury bills.

        5.4    Limitations on Trustee and Payment of Fees. The Trustee shall not at any time,
on behalf of the Trust or Trust Beneficiaries: (i) enter into or engage in any trade or business, and
no part of the Trust Property or the proceeds, revenue or income therefrom shall be used or
disposed of by the Trust in furtherance of any trade or business, or (ii) except as provided below,
reinvest any Trust Property.

       In the event of (a) compromises of pending litigation, (b) sales, transfers or abandonment
of property with a value of more than $50,000, or (c) claim settlements in which the amount
conceded to be due and owing by the Trustee exceeds $100,000, the Trustee shall (i) obtain the
approval of the Trust Board of the intended action, and (ii) file with the Bankruptcy Court and
serve upon the Office of the United States Trustee and any other party filing a request for special
notice after the Plan’s Effective Date a notice of intended action describing the Trustee’s
intended course of action and the justifications therefor, and providing a 10-day period from the
date of such notice for the filing of an objection and request for hearing on the same. In the
absence of any objection and request for hearing, the Trustee shall be free to take the action
described in the notice without further order of the Bankruptcy Court. If an objection and
request for hearing is filed, the Trustee will give at least 7 days’ notice of the hearing date
obtained from the Bankruptcy Court. Additionally, in all such matters the Trustee shall look to
the Trust Board for advice and comment prior to filing any notice of intended action.

               5.4.1     Trustee’s Fees. The Trustee and any of his professionals shall prepare
monthly an invoice detailing hours, rate, employee and tasks performed and submit a copy of the
monthly invoice via email to the Trust Board in order to consult with them and obtain their
comments, if any. A majority of the Trust Board shall have ten days from the receipt of the
invoice to object in writing to the payment of the Trustee’s fees/expenses and the fees/expenses
of any professionals retained by the Trustee stating in writing the reason for the objection in
detail. If there is no timely objection to any such fees and expenses, the Trustee can pay the
monthly invoice immediately out of the Trust Property. If there is a timely objection, the Trustee
has five days to consult with the Trust Board and if they cannot resolve the objection, the Trustee
can file a notice with the Bankruptcy Court setting a hearing for the Bankruptcy Court to
determine whether to allow any such disputed fees/expenses. Any such hearing shall not be on
less than seven days’ notice.

               5.4.2    The Trustee may invest funds held in the Trust consistent with the
requirements of this Agreement and the prudent person standard of care, provided that the
Trustee shall have no liability in the event of insolvency of any financial institution in which
he/she has invested any funds of the Trust to the extent such institution, is on the list of approved
depositories by the United States Trustee.

               5.4.3    The Trustee shall hold, collect, conserve, protect and administer the Trust
in accordance with the provisions of this Agreement and the Plan, and pay and distribute
amounts as set forth herein for the purposes set forth in this Agreement. Any determination by
the Trustee as to what actions are in the best interests of the Trust shall be determinative, except


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to the extent this Agreement requires Trustee to obtain the prior approval of, or to consult with,
the Trust Board.

         5.5     Bankruptcy Court Approval of Trustee Actions. Except as provided in the Plan or
otherwise specified in this Agreement, the Trustee need not obtain the approval of the
Bankruptcy Court in the exercise of any power, rights, or discretion conferred hereunder or
account to the Bankruptcy Court. The Trustee shall exercise his business judgment for the
benefit of the Trust Beneficiaries in order to maximize the value of the Trust Property and
distributions, giving due regard to the cost, risk, and delay of any course of action.
Notwithstanding the foregoing, the Trustee shall have the right to submit to the Bankruptcy
Court any question or questions regarding which the Trustee may desire to have explicit
direction and/or approval of the Bankruptcy Court with respect to the Trust Property, the Trust,
this Agreement, the Plan, or the Debtors. The Trustee also shall have the authority, but not the
obligation, to seek Bankruptcy Court approval to sell any Trust Property free and clear of any
and all liens, claims and encumbrances.

        5.6    Valuation of Trust Property. The Trustee shall make best efforts to understand
and apprise the Trust Beneficiaries of the fair market value of the Trust Property. The valuation
shall be used consistently by all parties (including the Trustee and Trust Beneficiaries) for all
federal income tax purposes. Any dispute regarding the valuation of Trust Property shall be
resolved by the Bankruptcy Court.

                                     ARTICLE VI
                            DISTRIBUTIONS FROM THE TRUST

        6.1    Distributions. The Trustee shall distribute at least annually to the Trust
Beneficiaries all net cash income plus all net cash proceeds from the liquidation of Trust
Property; provided, however, that the Trustee shall maintain at all times adequate cash or
marketable securities as reserves as may be reasonably necessary to maintain the value of the
Trust Property, satisfy projected expenses and to meet claims and contingent liabilities of the
Trust. . The Trustee shall consult with the Trust Board as to the amounts of any reserve, and
subject to Section 5.5 of this Agreement may request the Bankruptcy Court to to resolve any
dispute regarding the adequacy of reserves.

         6.2    Pro Rata Share of Distributions. Each of the Trust Beneficiaries shall receive its
share or pro rata share (as applicable) of any and all distributions made by the Trustee. The
Trustee may withhold from amounts distributable to any Trust Beneficiary any and all amounts,
determined in the Trustee’s reasonable sole discretion to be required by any law, regulation, rule,
ruling, directive or other governmental requirement.

         6.3   Delivery of Distributions. All distributions to be made to the Trust Beneficiaries
shall be made by the Trustee to the best known address of the Trust Beneficiaries.

        6.4 Undelivered Property. Any Shareholder which fails to claim any cash within 180
days from the date upon which a distribution is first made to such entity shall forfeit all rights to
any distribution under the Plan, and shall not be subject to the unclaimed property or escheat
laws of any governmental unit. Upon forfeiture, such cash (including interest thereon) shall be

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made available for re-distribution to all Shareholders. Shareholders or holders of Allowed
Claims under the Plan who fail to claim cash shall forfeit their rights thereto and shall have no
claim whatsoever against the Liquidating Debtor and/or the Trustee, as applicable, or any holder
of an Allowed Claim or interest to whom distributions are made under the Plan, provided,
however, that the Trustee may, but is not required to undertake reasonable efforts, in its business
judgment, to locate Shareholders whose distributions are returned as undeliverable or whose
checks are not timely cashed.

         6.5    De Minimis Distributions. No distribution shall be required to be made hereunder
to any Trust Beneficiary unless such distribution will amount to at least $25.00. Any Trust
Beneficiary on account of which the amount of cash to be distributed pursuant to any distribution
from the Trust is less than $25.00 shall be deemed to have no claim for such distribution against
the Debtors, the Trust, the Trustee or the Trust Property. Subject to Section 6.4 of this
Agreement, any cash not distributed pursuant to this Section 6.5 shall be the property of the Trust
free of any restrictions thereon.

         6.6   Payments Limited to Trust Property. All payments to be made by the Trustee to
or for the benefit of any Trust Beneficiary shall be made only to the extent that the Trustee has
sufficient reserves to make such payments in accordance with this Agreement and the Plan.
Each Trust Beneficiary shall have recourse only to the Trust Property for distribution under this
Agreement and the Plan.

        6.7    Fees and Expenses.

               6.7.1    Subject to the limitations set forth herein and in the Plan, the Trustee
shall pay and/or reserve for the operating and administrative expenses of the Trust before
approving distributions to or for the benefit of the Trust Beneficiaries.

               6.7.2    The Trustee shall satisfy any fees and expenses of the Trust with Trust
Property.

        6.8    Priority of Distributions. Any recovery by the Trust on account of the Trust
Property shall be applied in the following order:

                      (i)     first, to pay and/or reserve for any unpaid or reasonably anticipated
               costs and expenses of the Trust, including, without limitation, reasonable
               professional fees and expenses and court costs;

                      (ii)   second, distributed to the Trust Beneficiaries in accordance with
               this Agreement and the Plan.

         6.9    Compliance with Laws. Any and all distributions of Trust Property shall be in
compliance with applicable laws, including, but not limited to, applicable federal and state
securities laws.




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                                        ARTICLE VII
                                    TRUST BENEFICIARIES

        7.1     Identification of the Trust Beneficiaries. Each of the Trust Beneficiaries shall be
recorded and set forth in a schedule (the “Schedule”) maintained by the Trustee expressly for
such purpose based upon the record holders of stock of ICPW Nevada on the later of (i) the date
on which the Plan confirmation hearing is held (which is expected to be on February 12, 2018 –
the “Plan Confirmation Hearing”), (ii) the date on which the Court enters an order confirming the
Plan, and (iii) such other date not less than two days after FINRA has agreed to halt trading in
shares of ICPW Nevada (the “Record Date”). As set forth in the Plan, the Debtors, with the full
support of OECH, will advise FINRA of the proposed Record Date not less than ten (10) days in
advance of such date. As set forth in the Plan, all of the outstanding shares of common stock of
ICPW Nevada (the “Common Stock”) existing on the Effective Date will be cancelled, and the
record holders who owned shares of Common Stock on the Record Date will become holders of
non-transferable beneficial interests in the Trust in exchange for those shares. In order to
determine the actual names and addresses of the Trust Beneficiaries, the Trustee may either (i)
rely upon the Schedule, or (ii) deliver a notice to the Trust Beneficiaries. Such notice will
include a form for each Trust Beneficiary to complete in order to be properly registered as a
Trust Beneficiary and be eligible for distributions under the Trust.

         7.2     Beneficial Interest Only. The ownership of a beneficial interest in the Trust shall
not entitle any Trust Beneficiary or the Debtors to any title in or to the Trust Property or to any
right to call for a partition or division of such Trust Property or to require an accounting, except
as specifically provided herein.

         7.3    Ownership of Beneficial Interests Hereunder. Subject to the requirements and
limitations of this Agreement, each Trust Beneficiary shall own a beneficial interest in the Trust
equal in proportion to such Trust Beneficiary’s pro rata share of the stock of ICPW Nevada
owned by such Trust Beneficiary.

        7.4    Evidence of Beneficial Interest. Ownership of a beneficial interest in the Trust
shall not be evidenced by any certificate, security, or receipt or in any other form or manner
whatsoever, except as maintained on the books and records of the Trust by the Trustee, including
the Schedule.

         7.5    Conflicting Claims. If any conflicting claims or demands are made or asserted
with respect to a beneficial interest, the Trustee shall be entitled, at its sole election, to refuse to
comply with any such conflicting claims or demands. In so refusing, the Trustee may elect to
make no payment or distribution with respect to the beneficial interest represented by the claims
or demands involved, or any part thereof, and the Trustee shall refer such conflicting claims or
demands to the Bankruptcy Court, which shall have exclusive jurisdiction over resolution of such
conflicting claims or demands. In so doing, the Trustee shall not be or become liable to any
party for his refusal to comply with any of such conflicting claims or demands. The Trustee shall
be entitled to refuse to act until either (a) the rights of the adverse claimants have been
adjudicated by a final order or (b) all differences have been resolved by a written agreement
among all of such parties and the Trustee, which agreement shall include a complete release of
the Trust and the Trustee (the occurrence of either (a) or (b) being referred to as a “Dispute

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Resolution” in this Section 7.5). Until a Dispute Resolution is reached with respect to such
conflicting claims or demands, the Trustee shall hold in a segregated interest-bearing account
with a United States financial institution any payments or distributions from the Trust to be made
with respect to the Beneficial Interest at issue. Promptly after a Dispute Resolution is reached,
the Trustee shall transfer the payments and distributions, if any, held in the segregated account,
together with any interest and income generated thereon, in accordance with the terms of such
Dispute Resolution.

         7.6     Limitation on Transferability. It is understood and agreed that the beneficial
interests in the Trust shall not be assignable, other than by operation of law.

                             ARTICLE VIII
      THIRD PARTY RIGHTS, LIMITATION OF LIABILITY AND INDEMNITY

        8.1    Parties Dealing With the Trustee. In the absence of actual knowledge to the
contrary, any person dealing with the Trust or the Trustee shall be entitled to rely on the
authority of the Trustee or any of the Trustee’s agents to act in connection with the Trust
Property. No person or entity dealing with the Trustee shall have any obligation to inquire into
the validity or expediency or propriety of any transaction by the Trustee or any agent of the
Trustee.

         8.2    Trustee’s Liability. In exercising the rights granted herein, the Trustee shall
exercise his best judgment to the end that the affairs of the Trust shall be properly managed and
the interests of all the Trust Beneficiaries and the Debtors are safeguarded.

         8.3    Indemnity. The Trustee, the members of the Trust Board (other than with respect
to expenses of counsel for the individual members), and each of their respective agents,
employees, officers, directors, professionals, attorneys, accountants, advisors, representatives
and principals (collectively, the “Indemnified Parties”) shall be indemnified and held harmless
by the Trust, to the fullest extent permitted by law, solely from the Trust Property for any losses,
claims, damages, liabilities and expenses, including, without limitation, reasonable attorneys’
fees, disbursements and related expenses which the Indemnified Parties may, incur or to which
the Indemnified Parties may become subject in connection with any action, suit, proceeding or
investigation brought or threatened against one or more of the Indemnified Parties on account of
the acts or omissions of an Indemnified Party solely in its capacity as such; provided, however,
that the Trust shall not be liable to indemnify any Indemnified Party for any act or omission
constituting bad faith, fraud or willful misconduct by such Indemnified Party. Notwithstanding
any provision herein to the contrary, the Indemnified Parties shall be entitled to obtain advances
from the Trust to cover their reasonable expenses of defending themselves in any action brought
against them as a result of the acts or omissions, actual or alleged, of an Indemnified Party in its
capacity as such; provided, however that the Indemnified Parties receiving such advances shall
repay the amounts so advanced to the Trust upon the entry of a Final Order finding that such
Indemnified Parties were not entitled to any indemnity under the provisions of this Section 8.3.
The foregoing indemnity in respect of any Indemnified Party shall survive the termination of
such Indemnified Party from the capacity for which it is indemnified.



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                                ARTICLE IX
              SELECTION, REMOVAL AND COMPENSATION OF TRUSTEE

        9.1    Initial Trustee. The Trustee shall be Mathew Pliskin.

        9.2     Term of Service. The Trustee shall serve until (a) the completion of all the
Trustee’s duties, responsibilities and obligations under this Agreement and the Plan; (b)
termination of the Trustee in accordance with this Agreement; or (c) the Trustee’s death,
resignation or removal.

        9.3     Removal of a Trustee. Any person serving as the Trustee may be removed, with
or without cause, by the Trust Board. The removal shall be effective on the date specified in
such action by the Trust Board, subject to the payment of all amounts owing to the Trustee as of
such date. Additionally, any person serving as Trustee may be removed at any time by an order
of the Bankruptcy Court on notice to the Trustee and the Trust Board, and a determination by the
Bankruptcy Court that such removal is appropriate upon a showing of good cause. The removal
shall be effective on the date specified in the order. In the event of any removal, the Trustee
shall render to the Trust Board a full and complete accounting of monies and Trust Property
received, disbursed, and held during the term of office of that Trustee.

        9.4 Resignation of Trustee. The Trustee may resign at any time by giving the Trust
Board at least ninety (90) days written notice of his intention to do so. In the event of a
resignation, the resigning Trustee shall render to the Trust Board a full and complete accounting
of monies and Trust Property received, disbursed, and held during the term of office of that
Trustee. The resignation shall be effective on the later to occur of: (i) the date specified in the
notice; or (ii) the appointment of a successor Trustee by the Trust Board and the acceptance by
such successor of such appointment; provided, that if a successor Trustee is not appointed or
does not accept his/her appointment within ninety (90) days following delivery of notice of
resignation, the resigning Trustee may petition the Bankruptcy Court for the appointment of a
successor Trustee.

        9.5    Appointment of Successor Trustee. Upon the resignation, death, incapacity, or
removal of the Trustee, the Trust Board shall nominate a successor Trustee to fill the vacancy so
created, which successor Trustee appointment shall be subject to the approval by the Bankruptcy
Court. Any successor Trustee so appointed shall consent to and accept in writing the terms of
this Agreement and agrees that the provisions of this Agreement and the Plan shall be binding
upon and inure to the benefit of the successor Trustee.

         9.6    Powers and Duties of Successor Trustee. A successor Trustee shall have all the
rights, privileges, powers, and duties of his/her predecessor under this Agreement and the Plan.
Notwithstanding anything to the contrary herein, a removed or resigning Trustee shall, when
requested in writing by the successor Trustee, execute and deliver an instrument or instruments
conveying and transferring to such successor Trustee under the Trust Agreement all the estates,
properties, rights, powers, and trusts of such predecessor Trustee.

        9.7   Trust Continuance. The death, resignation or removal of the Trustee shall not
terminate the Trust or revoke any existing agency created pursuant to this Agreement or

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invalidate any action theretofore taken by the Trustee. In the event that a successor Trustee is
not appointed within thirty (30) days of when required under this Agreement, any Trust
Beneficiary may apply to the Bankruptcy Court for appointment of a successor Trustee upon
notice to the Trust Board.

        9.8   Compensation and Costs of Administration. The Trustee shall be entitled to
receive fair and reasonable compensation for his services, subject to Section 5.4 of this
Agreement and the limitations of any order of the Bankruptcy Court setting forth the terms and
conditions of Trustee compensation. Each of the Trust Board Members shall be entitled to
reasonable compensation for their activities on behalf of the Trust as costs of administration as
provided by Section 4.4 of this Agreement.

        9.9    Annual Reporting and Filing Requirements.

               9.9.1     Within 60 days after the end of each calendar year, the Trustee shall
furnish a report to the Trust Board of all Trust Property received by the Trust, all Trust Property
disbursed to Trust Beneficiaries, all Trust Property disbursed for professional fees and costs of
administering the Trust (including compensation paid to the Trustee), and all Trust Property held
by the Trust during the preceding calendar year. The Trustee’s report will be available and
provided to any Trust Beneficiary upon written request.

               9.9.2     The Trustee shall file tax returns for the Trust as a grantor trust pursuant
to Treasury Regulation Section 1.671-4(a) and any other applicable laws or regulations, and shall
furnish information statements to the Trust Beneficiaries setting forth their allocable share of the
income, loss, deduction or credit of the Trust and instruct them to report such items on their
federal income tax returns. The Trustee may withhold from amounts distributable to any Trust
Beneficiary any and all amounts, determined in the Trustee’s reasonable sole discretion, to be
required by any law, regulation, rule, ruling, directive or other governmental requirement. The
Trustee shall have the right to employ an accountant and any other professionals needed to assist
the Trustee for this purpose.

               9.9.3    The tax returns filed by the Trustee shall report all Trust earnings for the
taxable year being reported.

                9.9.4    All of the Trust's income shall be treated as subject to tax on a current
basis. For federal income tax purposes, items of income, gain, loss, and deduction of the Trust
will be allocated to the Trust Beneficiaries in a manner, to be determined by the Trustee, that is
consistent with applicable Treasury Regulations and that reflects the Trust Beneficiaries'
respective contributions and their respective interests in the interim and final distributions to be
made by the Trust, and such Trust Beneficiaries shall be responsible for the payment of taxes on
a current basis that result from such allocations.

         9.10 Confidentiality. The Trustee shall, while serving as Trustee under this Agreement
and for a period of twelve (12) months following the termination of this Agreement or following
his removal or resignation hereunder, hold strictly confidential and not use for personal gain any
material, non-public information of or pertaining to any entity to which any of the Trust Property
relate or of which he/she has become aware in his capacity as Trustee.

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                                     ARTICLE X
                               MAINTENANCE OF RECORDS

          10.1 The Trustee shall maintain books and records containing a description of all
property from time to time constituting the Trust Property and an accounting of all receipts and
disbursements. Upon 60 days’ prior written notice delivered to the Trustee, said books and
records shall be open to inspection by any Trust Beneficiary at any reasonable time during
normal business hours; provided that, if so requested, such Trust Beneficiary shall have entered
into a confidentiality agreement satisfactory in form and substance to the Trustee. The Trustee
shall furnish to any Trust Beneficiary upon written request an annual statement of receipts and
disbursements of the Trust. Such books and records may be destroyed without further notice to
parties or approval of the Bankruptcy Court five (5) years after the final report to the Bankruptcy
Court has been rendered by the Trustee (unless such records and documents are necessary to
fulfill the Trustee’s obligations pursuant to this Agreement).

                                       ARTICLE XI
                                    DURATION OF TRUST

        11.1 Duration. The Trust shall become effective upon the Effective Date of the Plan.
Thereupon, this Agreement shall remain and continue in full force and effect until the Trust is
terminated in accordance with the provisions of this Agreement and the Plan.

         11.2 Termination of the Trust. The Trust (and the duties, responsibilities and powers
of the Trustee) shall terminate on the later of (a) the date which is 5 years after the Effective
Date; and (b) the date when full resolution of all Trust Property transferred to the Trust have
occurred, including distribution of the Trust Property and the net proceeds thereof, in accordance
with the Plan and this Agreement, provided however, that for cause the Trustee may seek earlier
termination of the Trust upon application to the Bankruptcy Court. The Trustee shall not unduly
prolong the duration of the Trust and, subject to the proviso contained in Section 5.1.2 of this
Agreement, shall at all times endeavor to resolve, settle, or otherwise dispose of all claims that
constitute Trust Property and to effect the distribution of the Trust Property to the Trust
Beneficiaries in accordance with the Plan and terminate the Trust as soon as practicable. Upon
such termination, except as set forth in Section 11.3 below, the Trustee shall be discharged from
his position as Trustee and from all further duties, obligations and responsibilities under the Plan.

         11.3 Continuance of Trust for Winding Up. After the termination of the Trust and for
the purpose of liquidating and winding up the affairs of the Trust, the Trustee shall continue to
act as such until his duties have been fully performed, including, without limitation, such post-
distribution tasks as necessary to windup the affairs of the Trust. After the termination of the
Trust, the Trustee shall retain for a period of five (5) years the books, records, Beneficiary lists,
and certificates and other documents and files which shall have been delivered to or created by
the Trustee. At the Trustee’s discretion, all of such records and documents may, but need not, be
destroyed at any time after five (5) years from the completion and winding up of the affairs of
the Trust. Except as otherwise specifically provided herein, upon the discharge of all liabilities
of the Trust and final distribution of the Trust, the Trustee shall have no further duties or
obligations hereunder. The Trustee may pay in advance from the Trust Property all costs of
document management.

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                                          ARTICLE XII
                                        MISCELLANEOUS

         12.1 Preservation of Privilege. In connection with the rights, claims, and causes of
action that constitute the Trust Property, any attorney-client privilege, work product privilege, or
other privilege or immunity attaching to any documents or communications (whether written or oral)
transferred to the Trust pursuant to the terms of the Plan or otherwise shall vest in the Trustee and
his representatives, and the Debtors, the Liquidating Debtor, and the Trustee are authorized to
take all necessary actions to effectuate the transfer of such privileges, as necessary.

        12.2 Notices. Any notice or other communication which may be or is required to be
given, served, or sent to the Trustee or the Trust Board, as applicable, shall be in writing and
shall be sent by Federal Express and email, or transmitted by hand delivery, addressed as
follows:

               If to the Trustee:

                       Matthew Pliskin
                       2718 West Terrace Drive
                       Tampa, Florida 33609
                       Or e-mail: matthewpliskin@gmail.com

                       With a copy to:

                       Dentons US LLP
                       601 South Figueroa Street, Suite 2500
                       Los Angeles, California 90017-5704
                       Telephone: (213) 623-9300; Facsimile: (213) 623-9924
                       Attn: Samuel R. Maizel/Tania M. Moyron
                       Email: samuel.maizel@dentons.com; tania.moyron@dentons.com

               If to the Trust Board:

                       Attn: Scott Jarus
                       938 Duncan Avenue
                       Manhattan Beach, CA 90266
                       Email: scott.jarus@verizon.net


                       With a copy to:

                       Dentons US LLP
                       601 South Figueroa Street, Suite 2500
                       Los Angeles, California 90017-5704
                       Telephone: (213) 623-9300; Facsimile: (213) 623-9924
                       Attn: Samuel R. Maizel/Tania Moyron
                       Email: samuel.maizel@dentons.com; tania.moyron@dentons.com

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       12.3 No Bond. Notwithstanding any state law to the contrary, the Trustee (including
any successor) shall be exempt from giving any bond or other security in any jurisdiction.

       12.4 Governing Law. This Agreement shall be governed by and construed in
accordance with the laws of the State of California without regard to principles of conflicts of
law.

        12.5 Successors and Assigns. This Agreement shall inure to the benefit of and shall be
binding upon the parties hereto and their respective successors and assigns.

        12.6 Headings. The various headings of this Agreement are inserted for convenience
only and shall not affect the meaning or understanding of this Agreement or any provision
hereof.

        12.7 No Execution. All Trust Property shall be deemed in custodia legis until such
times as the Trust Property has actually been paid to or for the benefit of a Beneficiary, and no
Beneficiary or any other Person can execute upon, garnish or attach the Trust Property or the
Trust in any manner or compel payment from the Trust except by an order of the Bankruptcy
Court that becomes a final order. Payment will be solely governed by this Agreement and the
Plan.

         12.8 Intention of Parties to Establish Grantor Trust. This Agreement is intended to
create a grantor trust for United States federal income tax purposes and, to the extent provided by
law, shall be governed and construed in all respects as such a grantor trust.

        12.9 Amendment. This Agreement may be amended at any time by written agreement
of the majority of the Trust Board Members, or by order of the Bankruptcy Court after motion by
the Trustee.

        12.10 Severability. If any term, provision covenant or restriction contained in this
Agreement is held by a court of competent jurisdiction or other authority to be invalid, void,
unenforceable or against its regulatory policy, the remainder of the terms, provisions, covenants
and restrictions contained in this Agreement shall remain in full force and effect and shall in no
way be affected, impaired or invalidated.

         12.11 Counterparts and Facsimile Signatures. This Agreement (or any amendment
thereto) may be executed in counterparts and a facsimile or other electronic form of signature
shall be of the same force and effect as an original.




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       IN WITNESS WHEREOF, the parties have executed this Agreement as of the day and
year written above.

                                ICPW NEVADA, INC.


                                By:_________________________________
                                Name: L. Geoffrey Greulich
                                Title: President and Chief Executive Officer


                                TRUSTEE

                                By:_________________________________
                                Name: Mathew Pliskin




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                    EXHIBIT "2"
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                 AGREEMENT FOR TRUSTEE SERVICES - DRAFT


      This Agreement for Trustee Services (“Agreement”), dated as of February _____,
2018, is made by and between the Trust Board (defined below) and Matthew Pliskin
(“Mr. Pliskin” or the “Trustee”').

      WHEREAS, Mr. Pliskin served as the Chief Financial Officer of ICPW Liquidation
Corporation, Inc., a California corporation (“ICPW CA”), and ICPW Liquidation
Corporation, a Nevada corporation (“ICPW NV” and, together with ICPW CA, “ICPW”),
during their chapter 11 bankruptcy cases (the “Cases”);

     WHEREAS, an Official Committee of Equity Security Holders (the “Equity
Committee”) was formed in the Cases to represent the interests of the shareholders of
ICPW NV;

      WHEREAS, ICPW and the Equity Committee filed the Debtors And Official
Committee Of Equity Security Holders Joint Plan Of Liquidation Dated January 12, 2018
(the “Plan”), which was confirmed by the Bankruptcy Court at a hearing held on
February 12, 2018 pursuant to an order entered on February __, 2018 as Docket
Number __;

      WHEREAS, a Trust was created pursuant to the confirmed Plan. A copy of the
related trust agreement (the “Trust Agreement”) is attached hereto as Exhibit “1”;

      WHEREAS, the Trust Agreement contains specific terms regarding, among other
things, the services to be performed by the Trustee and his indemnification related
thereto;

      WHEREAS, a Trust Board has been created to assist in the administration of the
Trust. The members of the Trust Board (the “Trust Board Members”) consist of the
three men who served as the members of the Equity Committee;

      WHEREAS, the Trust Board Members have requested Mr. Pliskin to serve as the
Trustee of the Trust in accordance with the terms of this Agreement, with such
services to commence concurrently with the Effective Date of the confirmed Plan;

      WHEREAS, Mr. Pliskin is willing to serve as the Trustee in accordance with the
terms of this Agreement, and to perform the services fully set forth in the Trust
Agreement, including, but not limited to, winding up and dissolving ICPW, pursuing
certain claims against third parties, and making distributions to shareholders; and

      WHEREAS, the Trust Board and Mr. Pliskin wish to enter into this Agreement
which, subject to the confirmation of the Plan and approval of this Agreement by the
Bankrupcy Court, sets forth Mr. Pliskin’s compensation and other terms and
conditions related to his engagement as the Trustee.

      NOW, THEREFORE, subject to the confirmation of the Plan and approval of this
                                      1
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Agreement by the Bankruptcy Court, the Trust Board and Mr. Pliskin hereby agree as
follows:

      1.    Engagement. Upon the entry of an order of the Bankruptcy Court granting
the motion to approve this Agreement and the occurrence of the Effective Date of the
confirmed Plan, Mr. Pliskin hereby agrees to serve as the Trustee and to provide
services to the Trust (the “Trustee Services”) in accordance with the terms and
conditions set forth herein and in the Trust Agreement, and as the Trust Board may
reasonably request from time to time.

       2.     Extent of Services. Mr. Pliskin agrees to perform such services to the best
of his ability and in a diligent and conscientious manner and to devote the appropriate
time, energy and skill to those duties called for hereunder during the term of this
Agreement and in connection with the performance of such duties and to act in a
manner consistent with the primary objectives of the Plan and the Trust Agreement.
Mr. Pliskin agrees to devote such time as is reasonably required to fulfill his duties
hereunder.

       3.    Term of Service. The engagement of Mr. Pliskin hereunder shall commence
on the Effective Date of the Plan and shall continue until: (a) the completion of all of
the Trustee’s duties, responsibilities and obligations under this Agreement and the
Plan; (b) termination of the Trustee in accordance with the Trust Agreement; or (c) the
Trustee’s death, resignation or removal.

      4.   Removal. As fully set forth in the Trust Agreement, the Trustee may be
removed, with or without cause, by the Trust Board. The removal shall be effective on
the date specified in such action by the Trust Board, subject to the payment of all
amounts owing to the Trustee as of such date.

      5.    Compensation.

            (a) As compensation for the services contemplated herein and for
      performance rendered by Mr. Pliskin of his duties and obligations hereunder,
      Mr. Pliskin shall be paid by the Trust $300 per hour plus expenses incurred by
      Mr. Pliskin in connection with serving as the Trustee, with payment to be made
      by the Trust on a monthly basis, with each such monthly payment to be made
      within the later of (i) five business days following the completion of each monthly
      period, and (ii) five business days following Mr. Pliskin’s submission to the Trust
      Board of his monthly invoice.

            (b) The fees and expenses described in Section 5(a) will be the sole
      compensation to which Mr. Pliskin will be entitled for the performance of the
      services set forth in this Agreement.

      6.   Reimbursement for Expenses. Mr. Pliskin shall be reimbursed by the
Trust for all expenses reasonably incurred by him in furtherance of his duties
hereunder, including, without limitation, expenses for traveling, meals, hotel
accommodations, telephone charges and the like. Mr. Pliskin shall not be entitled to
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reimbursement for individual expenses in excess of $750 or expenses collectively in
any one-month period in excess of $2,000, unless those expenses are approved, in
advance and in writing, by the Trust Board (with any one Trust Board Member having
the power to bind the Trust Board). Mr. Pliskin will be reimbursed by the Trust for all
such expenses on a monthly basis, with each such monthly expense reimbursement to
be made by the Trust on a monthly basis, with each such monthly reimbursement
payment to be made within the later of (i) five business days following the completion
of each monthly period, and (ii) five business days following Mr. Pliskin’s submission
of his proposed expense reimbursement to the Trust Board.

      7. Independent Contractor. Mr. Pliskin is and will at all times be an
independent contractor of the Trust and not an employee of the Trust. The Trust will
not be obligated to withhold any compensation from Mr. Pliskin for income taxes,
employment taxes and other amounts that an employer is required to withhold or pay
on behalf of employees.     Mr. Pliskin understands and agrees that he will be
responsible for the payment of all income taxes, social security, Medicare and other
payment obligations incurred based on receipt of the fees.

      8. Termination.    This Agreement shall be terminated as follows:

            (a) written notice of termination is given by either party in accordance with
      the Trust Agreement;

            (b) On such date as is mutually agreed by the parties in writing; or

            (c) Upon expiration of the Term as set forth in Section 3.

      Upon termination of this Agreement, pursuant to this Section 8, the Trustee
shall be entitled to payment of only that portion of the fees earned and expenses
incurred through the effective date of such termination.

       9.    Confidential Information. Mr. Pliskin shall not, at any time during or
following the expiration or termination of his engagement hereunder (regardless of the
manner, reason, time or cause thereof), directly or indirectly, disclose or furnish to any
person not entitled to receive the same any trade secrets or confidential information
including, without limitation, information as to any litigation and the business
methods, operations and affairs of the Trust. All such trade secrets and confidential
information shall be the exclusive property of the Trust. Mr. Pliskin shall have the
right, in his discretion, in general consultation with the Trust Board, to communicate
with, and share information with or deliver information to, the Trust Beneficiaries (i.e.,
the former Shareholders of ICPW NV) as Mr. Pliskin deems appropriate.

      10. Covenants. Mr. Pliskin agrees to (a) faithfully and diligently do and
perform the acts and duties required in connection with his engagement hereunder,
and (b) not engage in any activity which is or likely is contrary to the welfare, interest
or benefit of the business now or hereafter conducted by the Trust.

      11.   Binding Effect. This Agreement will inure to the benefit of and shall be
                                         3
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binding upon the parties hereto and their respective successors or assigns.

       12. Entire Agreement. This Agreement contains the entire agreement and
understanding of the parties with respect to the subject matter hereof, and supersedes
all prior agreements and understandings with respect thereto and cannot be modified,
amended, waived or terminated, in whole or in part, except in writing signed by the
party to be charged.

       13. Construction. While the parties hereto believe that the terms hereof are,
subject to the approval of the Bankruptcy Court, fair, reasonable and enforceable in all
respects, it is agreed that any provision of this Agreement which is held to be
prohibited or unenforceable in any jurisdiction shall, as to such jurisdiction, be
ineffective to the extent of such prohibition or unenforceability without invalidating the
remaining provisions hereof, and any such prohibition or unenforceability in any
jurisdiction shall not invalidate or render unenforceable such provision in any other
jurisdiction. In addition to any other remedy, which the Trust may have at law or in
equity, the Trust shall be entitled to injunctive relief for a breach of Section and 9 of
this Agreement by the Trustee.

       14. Legal Fees and Dispute Resolution.         Any disputes relating to this
Agreement or the Trust involving the Trustee shall be resolved exclusively by the
Bankruptcy Court with no right to appeal, including any dispute regarding the fees or
expenses requested by Mr. Pliskin. In the event that any dispute arises between Mr.
Pliskin and the Trust regarding any fees or expenses requested by Mr. Pliskin and Mr.
Pliskin elects to employ counsel to assist him in resolving such dispute, Mr. Pliskin
shall be entitled to be reimbursed by the Trust for all attorneys’ fees and expenses
incurred by counsel employed by Mr. Pliskin if Mr. Pliskin is determined by the
Bankruptcy Court to be the prevailing party in any such dispute.

       15. Notices. All notices required to be given under the terms of this Agreement
or which any of the parties desire to give hereunder shall be in writing and personally
delivered or sent by registered or certified mail, return receipt requested, or sent by e-
mail transmission, addressed as follows (with any such transmission to be by email in
addition to any other means of transmission utilized):

          (a) If to the Trustee, addressed to:

            Matthew Pliskin
            2718 West Terrace Drive
            Tampa, Florida 33609
            Or e-mail: matthewpliskin@gmail.com

          (b) If to the Trust Board, addressed to:

              ICPW Liquidation Trust
              Scott Jarus, Chairman of the Board
              938 Duncan Avenue
              Manhattan Beach, CA 90266
                                          4
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               Or e-mail: scott.jarus@verizon.net

      Any party may designate a change of address at any time by giving written
notice thereof to the other parties.

     16.      Miscellaneous. This Agreement:

           (a) may not (except as provided in Section 11 hereof) be assigned by either
     party hereto without the prior written consent of the other party (any purported
     assignment hereof in violation of this provision being null and void);

           (b) may be executed in any number of counterparts, and by any party on
     separate counterparts, each of which as so executed and delivered shall be
     deemed an original but all of which together shall constitute one and the same
     instrument, and it shall not be necessary in making proof of this Agreement as
     to any party hereto to produce or account for more than one such counterpart
     executed and delivered by such party;

           (c) may be amended, modified or supplemented only by a written
     instrument executed by all of the parties hereto;

           (d) embodies the entire agreement and understanding of the parties hereto
     in respect of the transactions contemplated hereby and supersedes all prior
     agreements and understandings among the parties with respect thereto;

           (e) shall be governed by and construed in accordance with the laws of the
     State of California without regard to the conflict of laws principles thereof; and

           (f) will have an Effective Date which will be the same date as the Effective
     Date of the confirmed Plan regardless of the actual date that this Agreement is
     signed by the parties hereto.


       IN WITNESS WHEREOF, the parties hereto have executed this Agreement as
of the date first above written.


Trust Board


                   By:
                   ---------------------------------------------------
                   Patrick O'Brien, Member of the Trust Board




                   By:
                                               5
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                 ---------------------------------------------------
                 Scott Jarus, Member of the Trust Board


                By:
                ---------------------------------------------------
                Ron Chez, Member of the Trust Board

Trustee


              By:
                ---------------------------------------------------
                Matthew Pliskin




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                    EXHIBIT "3"
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Case 1:17-bk-12408-MB   Doc 417 Filed 01/22/18 Entered 01/22/18 16:47:03   Desc
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Case 1:17-bk-12408-MB   Doc 417 Filed 01/22/18 Entered 01/22/18 16:47:03   Desc
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Case 1:17-bk-12408-MB                Doc 417 Filed 01/22/18 Entered 01/22/18 16:47:03                                       Desc
                                      Main Document    Page 53 of 92
                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled NOTICE OF HEARING ON MOTION AND
      MOTION FOR ENTRY OF ORDER: (1) APPROVING AGREEMENT WITH MATTHEW PLISKIN FOR
  4   TRUSTEE SERVICES; AND (2) APPROVING TRUST BOARD COMPENSATION; DECLARATIONS
      OF SCOTT JARUS AND MATTHEW PLISKIN IN SUPPORT THEREOF (WITH EXHIBITS) will
  5   be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
      2(d); and (b) in the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On January 22, 2018, I checked the CM/ECF docket for this bankruptcy case
  8   or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
      to receive NEF transmission at the email addresses stated below:
  9
               Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
 10            Ron Bender rb@lnbyb.com
               Cathrine M Castaldi ccastaldi@brownrudnick.com
 11            Russell Clementson russell.clementson@usdoj.gov
               Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 12            Matthew A Gold courts@argopartners.net
               Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 13            Jeffrey A Krieger jkrieger@ggfirm.com,
                kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
 14             usker.com
               Samuel R Maizel samuel.maizel@dentons.com,
 15             alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
                .com;kathryn.howard@dentons.com
 16            Krikor J Meshefejian kjm@lnbrb.com
               Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
 17            S Margaux Ross margaux.ross@usdoj.gov
               Susan K Seflin sseflin@brutzkusgubner.com
 18            John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
               United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 19            Sharon Z. Weiss sharon.weiss@bryancave.com,
                raul.morales@bryancave.com;geri.anderson@bryancave.com
 20            Douglas Wolfe dwolfe@asmcapital.com

 21
      2. SERVED BY UNITED STATES MAIL: On January 22, 2018, I served the following persons and/or
 22   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 23   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 24
 25                                                                           Service information continued on attached page

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
Case 1:17-bk-12408-MB                Doc 417 Filed 01/22/18 Entered 01/22/18 16:47:03                                       Desc
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      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
  1   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on January 22, 2018, I served the following persons and/or entities by personal delivery, overnight mail
  2   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
  3   mail to, the judge will be completed no later than 24 hours after the document is filed.

  4   Served via Overnight Mail
      Hon. Martin R. Barash
  5   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  6   Woodland Hills, CA 91367

  7   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  8
       January 22, 2018                      Lourdes Cruz                                /s/ Lourdes Cruz
  9    Date                                  Type Name                                   Signature

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      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
        Case 1:17-bk-12408-MB           Doc 417 Filed 01/22/18 Entered 01/22/18 16:47:03                  Desc
                                         Main Document    Page 55 of 92
Ironclad Performance Wear (8300)          United States Trustee                        RSN
                                          915 Wilshire Blvd., Suite 1850               John Stern, Asst Attorney General
                                          Los Angeles, California 90017                Attorney General's Office
                                                                                       Bankruptcy & Collections Division
                                                                                       P.O. Box 12548
                                                                                       Austin, TX 78711-2548



Creditors Committee:



Committee Counsel                         Resources Global Professionals               Winspeed Sports (Shanghai) Co., LTD
Brown Rudnick LLP                         c/o Brent Waters                             c/o Brian Mitteldorf
Attn: Cathrine M Castaldi                 17101 Armstrong Ave                          Creditors Adjustment Bureau
2211 Michelson Dr 7th Fl                  Irvine, CA 92614                             14226 Ventura Blvd.
Irvine, CA 92612                                                                       Sherman Oaks, CA 91423

PT Sport Glove Indonesia
c/o Mark C. Robba
Kranoon Desa Pandowoharjo
Sleman Yogyakarta 55512
Indonesia




Equity Committee:



Equity Committee Counsel                  Patrick W O’Brien                            Ronald Chez
Dentons US LLP                            301 Whitmore Lane                            1524 N. Astor Street
Attn: Samuel Maizel & Tania Moyron        Lake Forrest, IL 60045-4707                  Chicago, IL 60610
601 South Figueroa St., Suite 2500
Los Angeles, CA 90017-5704

Scott Jarus
938 Duncan Avenue
Manhattan Beach, CA 90266




W.W. Grainger, Inc.                       Grainger Global Sourcing                     Glenn Kurosaki
Attn: Leah Wardak                         A division of Grainger International, Inc.   Kurosaki & Parker, P.C.
100 Grainger Parkway                      Attn: D.G. Macpherson, CEO                   Petroleum Building
Lake Forest, IL 60045                     100 Grainger Parkway                         714 West Olympic Blvd., Suite 1011
                                          Lake Forest, IL 60045                        Los Angeles, California 90015

Jeffrey A. Krieger
Greenberg Glusker Fields Claman &
Machtinger LLP
1900 Avenue of the Stars, 21st Floor,
Los Angeles, CA 90067

Secured Creditor                          Counsel to Radians Wareham Holdings          Counsel to Radians Wareham Holdings
Radians Wareham Holding, Inc.             E. Franklin Childress, Jr.                   Sharon Z. Weiss
Attn: Mike Tutor, CEO                     Baker, Donelson, Bearman, Caldwell &         Bryan Cave
5305 Distriplex Farms                     Berkowitz, PC                                120 Broadway, Suite 300
Memphis, TN 38141                         165 Madison Ave, Suite 2000                  Santa Monica, CA 90401
                                          Memphis, TN 38103
Case 1:17-bk-12408-MB                Doc 417 Filed 01/22/18 Entered 01/22/18 16:47:03                                       Desc
                                      Main Document    Page 56 of 92
                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled NOTICE OF HEARING ON MOTION AND
      MOTION FOR ENTRY OF ORDER: (1) APPROVING AGREEMENT WITH MATTHEW PLISKIN FOR
  4   TRUSTEE SERVICES; AND (2) APPROVING TRUST BOARD COMPENSATION; DECLARATIONS
      OF       SCOTT     JARUS        AND      MATTHEW          PLISKIN        IN    SUPPORT         THEREOF          (WITHOUT
  5
      EXHIBITS)       will be served or was served (a) on the judge in chambers in the form and manner
  6   required by LBR 5005-2(d); and (b) in the manner stated below:

  7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On January 22, 2018, I checked the CM/ECF docket for this bankruptcy case
  8   or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
      to receive NEF transmission at the email addresses stated below:
  9
               Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
 10            Ron Bender rb@lnbyb.com
               Cathrine M Castaldi ccastaldi@brownrudnick.com
 11            Russell Clementson russell.clementson@usdoj.gov
               Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 12
               Matthew A Gold courts@argopartners.net
               Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 13
               Jeffrey A Krieger jkrieger@ggfirm.com,
                kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
 14             usker.com
               Samuel R Maizel samuel.maizel@dentons.com,
 15             alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
                .com;kathryn.howard@dentons.com
 16            Krikor J Meshefejian kjm@lnbrb.com
               Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
 17            S Margaux Ross margaux.ross@usdoj.gov
               Susan K Seflin sseflin@brutzkusgubner.com
 18            John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
               United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 19            Sharon Z. Weiss sharon.weiss@bryancave.com,
                raul.morales@bryancave.com;geri.anderson@bryancave.com
 20            Douglas Wolfe dwolfe@asmcapital.com
 21
      2. SERVED BY UNITED STATES MAIL: On January 22, 2018, I served the following persons and/or
 22   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 23   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 24
 25                                                                           Service information continued on attached page

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                     F 9013-3.1.PROOF.SERVICE
Case 1:17-bk-12408-MB                Doc 417 Filed 01/22/18 Entered 01/22/18 16:47:03                                       Desc
                                      Main Document    Page 57 of 92
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
  1   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on January 22, 2018, I served the following persons and/or entities by personal delivery, overnight mail
  2   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
  3   mail to, the judge will be completed no later than 24 hours after the document is filed.

  4   Served via Overnight Mail
      Hon. Martin R. Barash
  5   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  6   Woodland Hills, CA 91367

  7   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  8
       January 22, 2018                      Lourdes Cruz                                /s/ Lourdes Cruz
  9    Date                                  Type Name                                   Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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0973-1                                          Main   Document           Page
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Case 1:17-bk-12408-MB                           New York, NY 10018-7381                        Cresskill, NJ 07626-2141
Central District of California
San Fernando Valley
Fri Dec 15 13:02:11 PST 2017
Dentons US LLP                                  ICPW Liquidation Corporation, a California c   Office of Unemployment Compensation Tax Serv
Successor by merger to McKenna Long etc         15260 Ventura Blvd.                            Department of Labor and Industry
2030 Main Street #1000                          20th Floor                                     Commonwealth of Pennsylvania
Irvine, CA 92614-7239                           Sherman Oaks, CA 91403-5303                    651 Boas Street, Room 702
                                                                                               Harrisburg, PA 17121-0751

Official Committee of Equity Security Holder    Texas Comptroller of Public Accounts           San Fernando Valley Division
DENTONS US LLP                                  John Stern                                     21041 Burbank Blvd,
601 S. Figueroa Street                          c/o Megan Becker, Paralegal                    Woodland Hills, CA 91367-6606
25th Floor                                      P.O. Box 12548
Los Angeles, CA 90017-5704                      Austin, TX 78711-2548

1920 Hutton Court Inwood National Bank          ALL IN THE BEHL FAMILY RLLP                    AMERICAN ALTERNATIVE INSURANCE CORPORATION
P O Box 857                                     37271 S STONEY CLIFF DR                        1475 E WOODFIELD RD SUITE 500
Richardson, TX 75085                            TUCSON , AZ 85739-1406                         SSCHAUMBURG, IL 60173-4903



AML UNITED LIMITED                              ANNALOUISE JAEGER & KEITH VERWOEST             ANTHONY KEATS
29TH FLOOR, NANYANG PLAZA                       532 PAUMAKUA PL                                15260 VENTURA BLVD
57 HUNG TO ROAD, KWUN TONG                      KAILUS , HI 96734-3157                         20TH FLOOR
KOWLOON, HONG KONG, CHINA                                                                      SHERMAN OAKS , CA 91403-5303


ARTHUR GERRICK                                  Aaron Zhang                                    Abel Unlimted Inc. (Ironwear)
l72 WILD LILAC                                  Room 1202 Building 12 ,Biguiyuan               2020 Seabird Way
IRVINE , CA 92620                               Renming Middle Road NO.527, Qidong             Riviera Beach, FL 33404-5009
                                                County Nantong City, China 226200


Account Temps                                   Accountemps                                    Ace Hardware
P.O. BOX 743295                                 Robert Half/Attn: Karen Lima                   2222 Kensington St.
Los Angeles, CA 90074-3295                      PO Box 5024                                    Oak Brook, IL 60523-2108
                                                San Ramon, CA 94583-5024


Acklands Grainger                               Advantage Media Services Inc                   Advantage Media Services, Inc.
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Thornhill, Ontario, L3T 7W, Canada              Valnecia, CA 91355-4188                        Valencia, CA 91355-4188



Amazon                                          Amster, Rothstein & Ebenstein, LLP             Argo Partners
410 Terry Ave. North                            90 Park Avenue                                 12 West 37th St., 9h Fl.
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5430 LBJ Freeway                                Dallas, TX 75267-7973                          Baton Rouge, LA 70835-0166
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BIRCH FAMILY TRUST                     Doc
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                                        75 Remittance Dr. Ste. 1748    59 of 92 1600 Lakeside Parkway #100
SANTA BARBARA, CA 93101-1216            Chicago, IL 60675-1748                         Flower Mound, TX 75028-4012



BRIAN SHEENY                            BROCK GANELES                                  BRUCE G KLASS
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LOS ANGELES , CA 90049-5521             APT 14A                                        CORDILERA, CO 81632-6271
                                        NEW YORK , NY 10023-3477


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PO Box 1993                             2 Wilbanks Road SE                             P.O. Box 416423
Manhattan Beach, CA 90267-1993          Rome, GA 30161-8475                            Boston, MA 02241-6423



Broussard,Ronald Roy                    Bunzl USA Holdings, LLC                        Burkhard,Kerri
3001 Oak Meadow Drive                   Cordova Safety Products, John Tillman Co       4405 Glenbrook Court
Flower Mound, TX 75028-7625             Once City Place Drive                          Mansfield, TX 76063-3500
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                                        St. Louis, MO 63141

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Lawson, MO 64062-0495                   WACONIA , MN 55387-4544                        JERSEY CITY , NJ 07310-1617



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CAMAS, WA 98607-8243                    Boulder, CO 80304-4150                         BOULDER , CO 80303-4328



CIS Custom Information Services         CLAYTON WYOMING LLC                            Cabela’s
1201 N. Watson Rd., Ste. 110            1364 NORTHPARK DRIVE                           1 Cabela Dr.
Arlington, TX 76006-6122                LAFAYETTE, CO 80026-3441                       Sidney, NE 69160-0001



California Board of Equalization        California Dept of Tax and Fee Administratio   Capital One Bank
Acct. Analysis & Control Sec. MIC 2     PO Box 942879                                  P. O. BOX 1917
PO Box 942879                           Sacramento, CA 94279-0055                      Merrifield, VA 22116-1917
Sacramento, CA 94279-0029


Cestusline, Inc.                        Chang Bang Gloves (Hong Kong) Co., Limited     Charles Giffen
13818 NE Airport Way                    c/o W. Steven Bryant                           6000 Elba Place
Portland, OR 97230-3440                 Locke Lord LLP                                 Woodland Hills, CA 91367-2929
                                        600 Congress Avenue, Suite 2200
                                        Austin, Texas 78701-3055
               Case 1:17-bk-12408-MB
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                                        Commerce     Filed 01/22/18
                                                              Inc.     Entered 01/22/18
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                                        25736 Network Place      Page 60 of 92     REVENUE ACCOUNTING DIV - BANKRUPTCY SECTION
Irving, TX 75062-7804                   Chicago, IL 60673-1257                         PO BOX 13528
                                                                                       AUSTIN TX 78711-3528


Custom Information Services             Custom Leathercraft Mfg. LLC                   DANIEL THOMAS GIEBER
1201 N Watson Rd #110                   10240 S. Alameda Street                        PO BOX 7298
Arlington, TX 76006-6122                South Gate, CA 90280-5551                      MENLO PARK, CA 94026-7298



DAVID G HILL                            DAVID J COOK 2163 LIMA LOOP                    DAVID L JACOBS
1712 PEARL ST                           PMB 071156                                     335 LEE HILL DRIVE
BOULDER , CO 80302-5517                 LAREDO, TX 78045-6420                          BOULDER , CO 80302-9492



DENNIS TORRES & AVERI TORRES            DENNIS TORRES & AVERI TORRES TRUST             DESIGN GALLERY PVT. LTD.
6779 LAS OLAS WAY                       6779 LAS OLAS WAY                              PLOT #322/B, MEDICAL ROAD
MALIBU, CA 90265-4137                   MAILBU , CA 90265-4137                         HELAL MARKET, UTTARKHAN
                                                                                       DHAKA-1230, Bangladesh


DESUN GARMENTS, LTD.                    DNOW                                           DNOW L.P. (Skatiq Gloves)
89/1, Birulia Road, Savar, Dhaka        PO Box 40985                                   7402 N. Eldridge Parkway
Dhaka                                   Houston, TX 77240-0985                         Houston, TX 77041-1902
Savar-1340, Bangladesh


DONALD P ELLIOTT                        DRG Strategic, LLC - Bob Goldstein             DTM Sales
9400 E ILIFF AVE #361                   P O BOX 191981                                 391 Gingercake Road
DENVER , CO 80231-3490                  Dallas, TX 75219-8510                          Fayetteville, GA 30214-1037



DXP Enterprises                         David Jacobs                                   Daylight Transport
P.O. Box 1697                           335 Lee Hill Drive                             P O Box 93155
Houston, TX 77251-1697                  Boulder, CO 80302-9492                         Long Beach, CA 90809-3155



Dayup Global Co., Ltd.                  Dival Safety & Supplies                        Do It Best
Phum Prey Sala, Sangkat Kakap           1721 Niagra Street                             6502 Nelson Road
Khan Posenchey, Phnom Penh              Buffalo, NY 14207-3188                         Fort Wayne, IN 46803-1947
855, Cambodia


Duluth Trading                          ED WETHERBEE                                   EDUARD ALBERT JAEGER
PO Box 409170                           7269 SIENA WAY                                 443 CONCORD ST
Belleville, WI 53508                    BOULDER , CO 80301-3724                        EL SEGUNDO , CA 90245-3723



EDWIN BALDRIDGE TTEE UA                 ENSCO INC                                      ERIC JAEGER
6O5 SAN ANTONIA AVE                     6820 Indiana Avenue                            1408 CAMBRIDGE CROSSING
MANY LA , LA 71449                      Riverside, CA 92506-7202                       SOUTHLAKE, TX 76092-7001
ETHAN AISENBERG Case 1:17-bk-12408-MB   Doc
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3900 LEGACY TRAIL CIR                    Main   Document
                                         7 Rand Rd.             Page 61 of 92    Emil Iannaccone Seperate Propert Trust
CARROLLTON, TX 75010-6458                Portland, ME 04102-1433                      11855 Woodley Ave
                                                                                      Granada Hills , CA 91344-2839


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Dallas, TX 75219-4603                    Addison, TX 75001-7985                       Deerfield, IL 60015-2559



Expeditors                               FAMILY TRUST OF EARL G LUNCEFORD             FedEx
5757 W. Century Blvd. Ste. 200           8850 E FERNAN LAKE RD                        PO Box 7221
Los Angeles, CA 90045-6405               COEUR DALENE, ID 83814-7782                  Pasadena, CA 91109-7321



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3965 Airways Blvd Module G 3rd Floor     14700 Marsh Ln. Apt. #926                    1722 Ashland Ave.
Memphis TN 38116-5017                    Addison, TX 75001-8061                       Evanston, IL 60201-3546



GEMINI PARTNERS INC                      GLEN K INGALLS & RENEE PACHECO               GREAT PANDA INVESTMENT CO LLLP
10900 WILSHIRE BLVD                      TTEES U/A DTD 4-5-05 THE INGALLS PACHECO     1325 PITKIN AVE
STE 30O                                  747 ROSEMOUNT RD                             SUPERIOR , CO 80027-8131
LOS ANGELES , CA 90024-6536              OAKLAND, CA 94610-2322


GREGORY AKSELRUD                         GT Graphics                                  GT Graphics of Sheboygan LLC
15260 VENTURA BLVD                       826 Michigan Avenue                          826 Michigan Avenue
20TH FL                                  Sheboygan, WI 53081-3438                     Sheboygan, WI 53081-3438
SHERMAN OAKS, CA 91403-5303


Geoff Greulich                           Ginger Collier                               Ginger Hill
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Westlake Village, CA 91361-4819          Irving, TX 75039-3037                        Irving, TX 75039-3037



Glenfir                                  Grainger                                     Greg Akselrud
General French 1948                      100 Grainger Parkway                         C/O Stubbs Alderton & Marki
Montevideo, Uruguay 11500                Lake Forest, IL 60045-5202                   15260 Ventura Blvd 20th Fl.
                                                                                      Sherman Oaks, CA 91403-5303


Guo, Xin                                 HAROLD F SCHAFF                              HAROLD SCHAFF & CHERYL SCHAFF TTEES THE
540 Lake Forest Dr.                      780 GLEN ANNIE RD                            SCHAFF TRUST DTD 1-17-03
Coppell, TX 75019-2882                   GOLETA , CA 93117-1426                       78O GLEN ANNIE RD
                                                                                      GOLETA , CA 93114


HEIDI JAEGER                             HORACE DUNBAR HOSKINS JR &                   Hewlett Packard
26800 PACIFIC COAST HWY                  ANN REID HOSKINS JT TEN                      1501 Page Mill Road
MALIBU, CA 90265-4517                    7 PENENSULA RD                               Palo Alto, CA 94304-1100
                                         BELVEDERE, CA 94920-2325
               CaseCo.,
Huizhou Baijia Glove   1:17-bk-12408-MB
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                                           CENTRALIZED INSOLVENCY OPERATIONS 62 of 92 30 MONTGOMERY STREET
Savar, Dhaka, 1349, Bangladesh             PO BOX 7346                                SUITE 1000
                                           PHILADELPHIA PA 19101-7346                 JERSEY CITY NJ 07302-3865


Impacto Protective Products, Inc.          JAEGER FAMILY LLC                          JAMES R YOUNG
40 Dussek Street                           1408 CAMBRIDGE CROSSING                    2009 RIVERVIEW DR
Belleville, ON K8N 5R8                     SOUTHLAKE , TX 76092-7001                  BERTHOUD , CO 80513-8253
CANADA


JAMES SEIBEL                               JARUS FAMILY TRUST                         JARUS FAMILY TRUST TR SCOTT M JARUS TTEE
1430 N HARPER AVE                          938 DUNCAN AVE                             938 DUCAN AVE
#305                                       MANHATTAN BEACH , CA 90266-6626            MANHATTAN BEACH , CA 90266-6626
W HOLLYWOOD 90046-8412


JARUS FAMILY TRUST U/A DTD 10/19/2007      JEFFREY CORDES                             JEFFREY F GERSH & ARIE J GERSH LIVING TRUST
938 DUNCAN AVE                             GARDERE WYNNE SEWELL, LLP                  DTD 09/26/1991
MANHATTAN BEACH, CA 90266-6626             C/O ALAN J. PERKINS                        5465 ROUND MEADOW RD
                                           2021 MCKINNEY AVE STE 1600                 HIDDEN HILLS , CA 91302-1279
                                           DALLAS TX 75201-4761

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                                                                                      TUSCON , AZ 85715-3023


JOHN MCILVERY                              JONATHAN HODES                             JOSEPH D RYAN
C/O STUBBS ALDERTON & MARKILES             C/O STUBBS ALDERTON & MARKILES             1986 CLOVERDALE AVE
15260 VENTURA BLVD 2OTH FL                 15620 VENTURA BLVD 20TH FL                 HIGHLAND PARK , IL 60035-2108
SHERMAN OAKS, CA 91403-5325                SHERMANOAKS, CA 91436-3129


Jaeger,Eric                                Jeff Carlson                               Joanna Waldear-Lucas As Ttee
1408 CAMBRIDGE CROSSING                    4307 W. 44th Street                        Fbo The Joanna Waldear-Lucas Living Trus
Southlake, TX 76092-7001                   Edina, MN 55424-1063                       P .O . Box l0l
                                                                                      Malibu , CA 90265


KA HUNG GLOVE INUSTRIAL CO. LTD.           KATHERINE BERCI DEFEVERE                   KEALA STANFILL
FUJIAN QUANZHOU JIACHENG LEATHER           TRUSTEE DEFEVERE TRUST                     12049 SW ASKER TERR
CHI FENG ROAD, QUANZHOU CITY               24200 ALBERS STREET                        BEAVERTON , OR 97007
FUJIAN, 362000, China                      WOODLAND HILLS, CA 91367-5704


KLEIN PARTNERS LTD                         KNUTE LEE                                  KONRAD GATIEN
4973 CLUBHOUSE CT                          9109 WILSHIRE COURT NE                     15260 VENTURA BLVD
BOULDER , CO 80301-3728                    ALBUQUERQUE, NM 87122-3051                 2OTH FLOOR
                                                                                      SHERKAN OAKS , CA 91403-5325


KYLE EDLUND                                Kevin Debre                                Kim Woodworth & Bill Woodworth
3893 FAIRWAY DR                            C/O Stubbs Alderton & Markiles LLP 15260   1O1 Valley Hill Rd
WOODBURY , MN 55125-5018                   Sherman Oaks, CA 91403                     Exton , PA 19401
               Case 1:17-bk-12408-MB
Konica Minolta Business Solutions      Doc   417 Agency
                                        LAB Sales    Filed 01/22/18 Entered 01/22/18   16:47:03 Desc
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100 Williams Drive                      Main   Document
                                        58 Regis Drive         Page 63 of 92    230-19 International Airport Ct., S
Ramsey, NJ 07446-2907                   Winnipeg, MB 1K3 Canada                      Springfield Gardens, NY 11413-4116



LOUIS WHARTON                           Laubert,Matthew Palmer                       Levene, Neale, Bender, Yoo & Brill LLP
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SHERMAN OAKS, CA 91403-5325


Liaison Technologies, Inc.              Liberty Glove, Inc.                          Lien Shun Yang Leather Co., Ltd.
Attn: Christopher Evans                 433 Cheryl Lane                              No.48, Mincheng Street, Daliao Dist
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Alpharetta, GA 30022-2484


MARC S PESTER                           MARK HAWKING                                 MARK W FISCHER
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SHORT HILLS , NJ 07078-1513             CAMARILLO, CA 93010-2061                     BOULDER, CO 80303-4215



MARUSAN - MIMASU TSHUSHO CO. LTD.       MATTHEW JUETTEN                              MATTHEW LAUBERT
NO 1 QUEEN’ ROAD CENTRAL                633 HAWKSBILL ISLAND DR                      C/O IRONCLAD PERFORMANCE WEAR CORP
HONG KONG                               SATELL ITE B EA CH , FL 32937-3854           1920 HUTTON COURT #300
CHINA                                                                                FARMERS BRANCH , TX 75234-9004


MCDERMOTT & BULL                        MCR Safety                                   MELISSA DERBY
2 VENTURE SUITE 100                     1255 Schilling Blvd. W                       393 LAUREL AVENUE
IRVINE, CA 92618-7391                   Collierville, TN 38017-7190                  NOVATO , CA 94945-3546



MERCINDO GLOBAL MANUFAKTUR              MERCINDO GLOBAL MANUFAKTUR                   MICHAEL A DIGREGORIO
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50661, Indonesia                        50661, Indonesia


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N HOLLYWOOD, CA 91605-3713              COSTA MESA , CA 92627-2817                   TIBURON , CA 94920-1520



MICHAEL GROSSMAN                        MIKE SALOMON                                 MURRAY MARKILES
5557 GROEHMANN LN                       1440 E 1st Street Ste . l00                  C/O STUBBS ALDERTON & MARKILES
FREDERICKSBURG , TX 78624-6074          SANTA ANA , CA 92701-6301                    15260 VENTURA BLVD 2OTH FLOOR
                                                                                     SHERKAN OAKS, CA 91403-5325


Magpul Industries Copr.                 Matt Pliskin                                 Matt Pliskin
8226 Bee Cave Road                      2718 W Terrace Drive                         2718 W Terrace Drive
Austin, TX 78746-4909                   Farmers Branch, TX 75234                     Tampa FL 33609-4026
Matthew TrusteesCase 1:17-bk-12408-MB   Doc   417 Filed 01/22/18 Entered 01/22/18
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C/O STUBBS ALDERTON & MARKILES           Main    Document
                                         P.O. Box 29976     Page 64 of 92    5101 Menard Dr.
15260 VENTURA BLVD 20TH FL               New York, NY 10087-9976              Eau Claire, WI 54703-9604
SHERMAN OAKS , CA 91403-5303


Metzler,Stacy Marie                      Michael Anthony Digregorio Trustee   Michael DiGregorio
411 Donnell Drive #A                     The Digregorio Revocable Trust       1420 Kingsboro Court
Arlington, TX 76012-5993                 1420 Kingsboro Ct                    Thousand Oaks, CA 91362-4340
                                         Westlake Village, CA 91362-4340


Morris,Chartrice Holt                    Muhammad Deni Indrajaya              Murski Breeding Sales Co.
7313 Tall Road                           Jl.Cilandak KKO, Gg Abbah 3          9212 Chancellor Row
Alvarado, TX 76009-7192                  RT09 RW05 Ragunan Pasar Minggu       Dallas, TX 75247-5325
                                         Jakarta Selatan, 12550


NANTONG CHANGBANG GLOVES CO.             Nacion,Markham                       Nanang Kuriawan
Flat/RM 1602 Chit Lee Comm               503 Hemphill Drive                   Dsn Jimbaran RT003 RW002
Bldg 30-36, Shau Kei Wan Road            San Marcos, CA 92069-1875            Jimbaran Bandungan
Hong Kong, China                                                              Semarang Jawa Tengah 50651


National Safety Council                  Net Pack                             (p)CITIBANK
P.O. Box 558                             9629 El Poche St                     PO BOX 790034
Itasca, IL 60143-0558                    South El Monte, CA 91733-3030        ST LOUIS MO 63179-0034



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P.O. Box 88040                           PO Box 140                           11601 Interchange Drive
Chicago, IL 60680-1040                   Memphis, TN 38101-0140               Louisville, KY 40229-2159



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PT JJ GLOVES INDO                        PT SEOK HWA INDONESIA                PT SPORT GLOVE INDONESIA
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Bonded Zone, Klaten                      5442-1 Sang Dae Won-Dong, Sung Nam   Sleman
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PT. Eagle Glove Indonesia                Pacific Stock Transfer Company       Patrick W OBrien
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Indonesia                                Las Vegas, NV 89119-3553
Perry HVAC     Case 1:17-bk-12408-MB   Doc   417& Associates
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10000 North Central Expressway          Main   Document
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Suite 400                               Brownfield, ME 04010-4435                     Pittsburg, PA 15250-7887
Dallas, TX 75231-4180


Precision Testing Laboratories          Progroup Incorporated                         Quill Corporation
POB 100268                              P.O. Box 6585                                 P.O. Box 37600
Nashville, TN 37224-0268                Englewood, CO 80155-6585                      Philadelphia, PA 19101-0600



R D Pete Bloomer                        R3 Safety aka Bunzl                           REYHEENA EIDARIUS
7542 Crestview Drive                    P.O. Box 270417                               23436 CAMINITO VALLEY
Longmont, CO 80504-7301                 Saint Louis, MO 63127-0417                    LAGUNA HILLS , CA 92653-1640



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REDONDO BEACH , CA 90277-6724           30111 HARVESTER RD                            WHEEATRIDGE, CO 80033-5356
                                        MAILBU , CA 90265-3733


ROBERT F CHARLES JR                     ROBERT H KEELEY & SANDRA KEELEY               ROBERT MEOTTLE
2955 PARK LAKE DR                       JT TEN                                        2 /909 SMYTH DR
BOULDER, CO 80301-5138                  17245 ELBERT ROAD                             VALENCIA , CA 91355
                                        PEYTON, CO 80831-9566


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SANTA MONICA , CA 90402-2722            Wolfforth, TX 79382-5402                      Thousand Oaks, CA 91360-2330



Radians Wareham Holding, Inc.           Rebecca D Jarus & Scott M Jarus Ttees         Refrigiwear, Inc.
Attn: Mike Tutor, CEO                   U/A Dtd 10/19/2007                            54 Breakstone Drive
5305 Distriplex Farms                   Jarus Family Family Trust                     Dahlongega, GA 30533-7603
Memphis, TN 38141-8231                  938 Ducan Ave
                                        Manhattan Beach , CA 90266-6626

Republic Services                       Resources Global Professionals                Resources Global Professionals
4200 East 14th Street                   17101 Armstrong Ave                           P O BOX 740909
Plano, TX 75074-7102                    Irvine, CA 92614-5742                         LOS ANGELES, CA 90074-0909



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Malibu , CA 90265-3733                  Houston, TX 77064-2305                        Chicago, IL 60673-1247



Robert Steckler                         Ronald Chez                                   Russ MacDonald
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Spicewood, TX 78669-5135                Chicago, IL 60610-2057                        Maple Ridge, BC V2W 1E6
                                                                                      Canada
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Maple Ridge, B.C. V2W1 E6, Canada           CHATSWORTH, CA 91311-1935                    #115
                                                                                         CHADDS FORD , PA 19317-9007


SEGAL FAMILY TRUST                          SPM CENTER LLC                               SPRING HILL INC
10100 SANTA MONICA BLVD #1300               27909 SMYTH DR                               9629 El Poche St.
LOS ANGELES, CA 90067-4114                  VALENCIA , CA 91355-4034                     South El Monte, CA 91733-3030



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333 South Seventh St. Ste. 1000             44 COCOANUT ROW STE Bl03                     2O3 STAR CARLISLE
Minneapolis, MN 55402-2421                  PALM BEACH, FL 33480-4069                    W AUSTRALIA , 6101
                                                                                         AUSTRAILIA


STEVE FEDEA                                 STEVEN C EARNSHAW                            STEVEN W TOWN
2040 W BELMONT, #201                        5679 POLAR WAY                               6301 E CRESTLINE AVE
CHICAGO, IL 60618-6464                      PARK CITY , UT 84098-7765                    GREENWOOD VILLAGE , CO 80111-1459



STUBBS ALDERTON & MARKILES LLP              Saf-T-Glove                                  Safeco Building Maintenance
15260 VENTURA BLVD                          1121 Fountain Parkway                        5013 Brandenburg Lane
26TH FL                                     Grand Prairie, TX 75050-1514                 The Colony, TX 75056-2043
SHERMAN OAKS , CA 91403-5307


Safety Supply Corporation (Radians)         Sam’s Club                                   Scott Jarus
880 North Hills Blvd.                       Attn: General Merchandise Manager            938 Duncan Avenue
Suite 505                                   2101 SE Simple Savings Drive                 Manhattan Beach, CA 90266-6626
Reno, NV 89506-5710                         Bentonville, AR 72716-0001


Select Nantong Safety Products Co           Shur-Sales & Marketing, Inc.                 Skadden Arps Slate Meagher & Flom LLP
No. 198 Youyi Road W                        3830 S Windermere St.                        P O Box 1764
Jueguang, Rudong, Jiangsu                   Englewood, CO 80110-3452                     White Plains, NY 10602-1764
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Skadden, Arps, State, Meagher & Flom LLP    Snap-On                                      Southern Glove
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State Board of Equalization                 State Board of Equalization                  Stauffer Glove & Safety
Account Information Group, MIC: 29          Special Operations Bankruptcy Team           361 East Sixth Street
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Sherman Oaks, CA 91403-5303                                                              Southlake, TX 76092-5252
               Case 1:17-bk-12408-MB
TAB Sales Solutions                           Doc   417 PARTNERS
                                               TAMALPAIS    Filed 01/22/18 Entered 01/22/18   16:47:03
                                                                                       TARBY BRYANT         Desc
12109-94A Street                               Main   Document
                                               24 TAMALPAIS AVE       Page 67 of 92    4 HAWTHORNE CIR
Grand Prairie, AB T8V 5C2 Canada               MILL VALLEY, CA 94941-1823              SANTA FE, NM 87506-7903



THE ELLEN IDELSON TRUST DATED MARCH 20 2003    THE ORCUTT FAMILY TRUST                 THE SASSOLA III FAMILY TRUST
710 BROOKTREE ROAD                             3221 N SAN SEBASTIAN DRIVE              7771 HERON COURT
PACIFIC PALISADES, CA 90272-3901               TUSCON, AZ 85715-3023                   GOLETA , CA 93117-2477



THOMAS ELLIOTT                                 THOMAS FELTON                           THOMAS KENDALL
ll5 BROOKS AVE                                 2006 TOUCH GOLD COURT                   1112 MONTANA AVENUE # 7l6
VENICE , CA 90291                              ROWLETT , TX 75088-2940                 SANTA MONICA , CA 90403-1652



THOMAS MASON & LISA L . MASON                  THOMAS W . MASON                        TODD GITLIN
JT TEN                                         6856 WISH AVENUE                        269 S BEVERY DR STE 1213
6856 WISH AVENUE                               LAKE BALBOA , CA 91406-4440             BEVERLY HILLS, CA 90212-3851
LAKE BALBOA , CA 91406-4440


TRI/AUSTIN, INC                                (p)TXU ENERGY RETAIL COMPANY LP         TXU Energy Retail Company LLC
P O BOX 207097                                 CO BANKRUPTCY DEPARTMENT                C/O Bankruptcy Department
DALLAS, TX 75320-7097                          PO BOX 650393                           PO Box 650393
                                               DALLAS TX 75265-0393                    Dallas TX 75265-0393


Tamer Shiha                                    The William J . & Seemah W . Idelson    Three Part Advisors, LLC
P.O.Box 117893                                 Family Trust Dated April 29, 1997       P O Box 92698
300                                            7lO Brooktree Road                      Southlake, TX 76092-0698
Carrollton, TX 75011-7893                      Pacific Palisades, CA 90272


True Value                                     Tyco Integrated Security, LLC           U. S. Securities and Exchange Commission
8600 W. Bryn Mawr Avenue                       P.O. Box 371967                         Attn: Bankruptcy Counsel
Chicago, IL 60631-3505                         Pittsburgh, PA 15250-7967               444 South Flower Street, Suite 900
                                                                                       Los Angeles, CA 90071-2934


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Suite 1850                                     Pico Rivera, CA 90660-4309              Ontario, CA 91761-2936
Los Angeles, CA 90017-3560


United States Trustee (SV)                     University of Milwaukee                 Urena,Daniel
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Los Angeles, CA 90017-3560                     University of Wisconsin - Milwaukee     Farmers Branch, TX 75234-4831
                                               Milwaukee, WI 53201-0500


V JOSEPH STUBBS                                VALORIE STANSBERRY                      VANE CLAYTON
C/O STUBBS ALDERTON & MARKILES                 3227 N RICHMOND                         1364 NORTH PARK DRIVE
15260 VENTURA BLVD 2OTH FL                     CHICAGO, IL 60618-5817                  LAFAYETTE, CO 80026-3441
SHERKAN OAKS, CA 91403-5325
Vane Clayton Case 1:17-bk-12408-MB   Doc   417
                                      Vincent      Filed &01/22/18
                                              A. Pestilli                 Entered 01/22/18
                                                            Associates, Inc.                 16:47:03
                                                                                      Vonalman,Turner J     Desc
1364 Northpark Drive                  Main    Document
                                      193 Sam Brown Hill Road   Page    68   of 92    5225 Las Colinas Blvd
Lafayette, CO 80026-3441              Brownfield, ME 04010-4435                       Apt 2301
                                                                                      Irving, TX 75039-4564


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CRATSWORTH , CA 91311-1617            11027 LIMERICK AVENUE                           SHERMAN OAKS, CA 91423-2715
                                      CHATSWORTH , CA 91311-1617


WINSPEED SPORTS SHANGHAI CO., LTD.    WONEEL MIDAS LEATHERS                           Washington,Cheryl
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        Case 1:17-bk-12408-MB     Doc 417 Filed 01/22/18 Entered 01/22/18 16:47:03      Desc
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         Case 1:17-bk-12408-MB             Doc 417 Filed 01/22/18 Entered 01/22/18 16:47:03           Desc
                                            Main Document    Page 70 of 92
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                                                                                  Hong Kong, China

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Pangkalan Jati Baru Cinere                   Jl. Raya Semarang-Bawen Km.29        Krandon Desa Pandowoharjo Sleman
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Valencia, CA 91355                           Bonded Zone, Klaten                  Suite 200
                                             Central Java, Indonesia, 57463       Southlake, TX 76092

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Attn: Ms. Vicz Yue                           Attn: Johnny Clark                   Attn: Bradley J. S. Weiss
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Chi Feng Road, Quanzhou City                 P O Box 857413                       Shanghai
Fujian, 362000, China                        Richardson, TX 75085                 China, 00020-1702
        Case 1:17-bk-12408-MB             Doc 417 Filed 01/22/18 Entered 01/22/18 16:47:03          Desc
                                           Main Document    Page 71 of 92
Marusan - Mimasu Tshusho Co. Ltd.           DESIGN GALLERY (PVT.) LTD.         Sees Global Inc.
Attn: Sky Lin                               PLOT #322/B, MEDICAL ROAD          #612 Suntec City 307-2
No 1 Queen' Road Central                    HELAL MARKET, UTTARKHAN            Sandaewon-dong, Jungwon-gu
Hong Kong                                   DHAKA-1230, Bangladesh,            Seongnam, Kyunggi, KO, 46273-6000
China

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Tangerang                                   Irving, TX 75039                   4700 Exchange Court, Suite 300
Banten, Indonesia, 15135                                                       Boca Raton, FL 33431

Republic Services                           Atmos Energy Corporation           Franchise Tax Board
Attn: Donald W. Slager, President & CEO     Attn: Kim R. Cocklin, CEO          Bankruptcy Section, MS: A-340
18500 North Allied Way                      Three Lincoln Centre, Suite 1800   P. O. Box 2952
Phoenix, AZ 85054                           5430 LBJ Freeway                   Sacramento, CA 95812-2952
                                            Dallas, TX 75240

Windstream                                  Hewlett Packard Enterprise         Hewlett Packard Enterprise
Attn: Tony Thomas, President & CEO          Attn: Meg Whitman, CEO             Attn: Nicole Head, Senior Credit Analyst
4001 North Rodney Parham Road               1501 Page Mill Road                305 S. Rockrimmon Blvd.
Little Rock, Arkansas 72212                 Palo Alto, CA 94304                Colorado Springs, CA 80919


Hewlett Packard Enterprise Company          THE ELLEN IDELSON TRUST DATED      ETHAN AISENBERG
SCA Express                                 MARCH 20 2003                      3900 LEGACY TRAIL CIR
8000 Foothills Blvd NS 5538                 710 BROOKTREE ROAD                 CARROLLTON, TX 75010
Roseville, CA 95747                         PACIFIC PALISADES, CA 90272


WILLIAM AISENBERG                           GREG AKSELRUD                      GREGORY AKSELRUD
3900 LEGACY TRAIL CIR                       C/O STUBBS ALDERTON &              15260 VENTURA BLVD
CARROLLTON, TX 75010                        MARKILES LLP                       20TH FL
                                            15260 VENTURA BLVD 20TH FL         SHERMAN OAKS, CA 91403
                                            SHERMAN OAKS, CA 91403

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CHATSWORTH, CA 91311                        AGOURA, CA 91301                   CLOVIS, CA 93619



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1137 Calle Elaina                           5750 SOUTH BEECH CT                104 Saratoga Drive
Thousand Oaks, CA 91630                     GREENWOOD VILLAGE, CO 80121        Belle Chasse, LA 70037



R D PETE BLOOMER                            RONALD D BLOOMER                   WILLIAM L BOETTCHER
7542 CRESTVIEW DRIVE                        7542 CRESTVIEW DR                  727 HAYS CIR
LONGMONT, CO 80504                          NIWOT, CO 80504                    LONGMONT, CO 80501



HUBERT L BROWN III & ANNABELLE              TARBY BRYANT                       MCDERMOTT & BULL
BROWN FOWLKES                               4 HAWTHORNE CIR                    2 VENTURE
H L BROWN JR CHARITABLE LEAD              SANTA FE, NM 87506                   SUITE 100
ANNUITY TRUST                                                                  IRVINE, CA 92618
PO BOX 2237
MIDLAND, TX 79702
       Case 1:17-bk-12408-MB     Doc 417 Filed 01/22/18 Entered 01/22/18 16:47:03   Desc
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CHERYL WASHINGTON                  ROBERT C CLARK                   VANE CLAYTON
1920 HUTTON CT                     12151 WEST 32ND DR               270 W PEARL
STE 300                            WHEEATRIDGE, CO 80033            SUITE 103
FARMERS BRANCH, TX 75234                                            JACKSON, WY 83001


CLAYTON WYOMING LLC                DAVID J COOK                     JEFFREY D CORDES
1364 NORTHPARK DRIVE               2163 LIMA LOOP                   1570 BENT CREEK DRIVE
LAFAYETTE, CO 80026                PMB 071156                       SOUTHLAKE, TX 76092
                                   LAREDO, TX 78045


KEVIN DEBRE                        MELISSA DERBY                    MICHAEL ANTHONY DIGREGORIO
C/O STUBBS ALDERTON &              393 LAUREL AVENUE                TRUSTEE
MARKILES LLP                       NOVATO, CA 94945                 THE DIGREGORIO REVOCABLE
15260 VENRUA BLVD 20TH FL                                           TRUST
SHERMAN OAKS, CA 91403                                              1420 KINGSBORO CT
                                                                    WESTLAKE VILLAGE, CA 91362
GLEN K INGALLS & RENEE             JEFFREY F GERSH & ARIE J GERSH   STEVEN C EARNSHAW
PACHECO TTEES                      LIVING TRUST DTD                 5679 POLAR WAY
THE INGALLS PACHECO 2005 TRUST     09/26/1991                       PARK CITY, UT 84098
747 ROSEMOUNT RD                   5465 ROUND MEADOW RD
OAKLAND, CA 94610                  HIDDEN HILLS, CA 91302

KYLE EDLUND                        REYHEENA EIDARIUS                DONALD P ELLIOTT
3893 FAIRWAY DR                    23436 CAMINITO VALLE             9400 E CLIFF AVE
WOODBURY, MN 55125                 LAGUNA HILLS, CA 92563           #361
                                                                    DENVER, CO 80231


THOMAS ELLIOTT                     CEDE & CO (FAST)                 RICHARD KRONMAN & IAN
115 BROOKS AVE                     570 WASHINGTON BLVD              MATTHEW TRUSTEES FBO
VENICE, CA 90291                   JERSEY CITY, NJ 07310            KRONMAN MATTHEW & ASSOC
                                                                    30111 HARVESTER RD
                                                                    MALIBU, CA 90265

STEVE FEDEA                        THOMAS FELTON                    MARK W FISCHER
2040 W BELMONT                     2006 TOUCH GOLD COURT            285 IROQUOIS DR
#201                               ROWLETT, TX 75088                BOULDER, CO 80303
CHICAGO, IL 60618


SCOTT GALER                        BROCK GANELES                    KONRAD GATIEN
C/O STUBBS ALDERTON &              41 W 72ND ST                     15260 VENTURA BLVD
MARKILES                           APT 14A                          20TH FLOOR
15260 VENTURA BLVD 20TH FL         NEW YORK, NY 10023               SHERMAN OAKS, CA 91403
SHERMAN OAKS, CA 91403

GEMINI PARTNERS INC                ARTHUR GERRICK                   DANIEL THOMAS GIEBER
10900 WILSHIRE BLVD                172 WILD LILAC                   763 B LOMA VERDE AVENUE
STE 300                            IRVINE, CA 92620                 PALO ALTO, CA94303
LOS ANGELES, CA 90024


CHARLES H GIFFEN                   TODD GITLIN                      STEPHEN GOODHUE
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                                                                    AUSTRAILIA
        Case 1:17-bk-12408-MB    Doc 417 Filed 01/22/18 Entered 01/22/18 16:47:03   Desc
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MICHAEL GRANT                      MICHAEL GROSSMAN                 XIN GUO
222 ROUND HILL RD                  5557 GROEHMANN LN                540 LAKE FOREST DR
TIBURON, CA 94920                  FREDERICKSBURG, TX 78624         COPPELL, TX 75019



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COSTA MESA, CA 92627               MARKILES                         REDONDO BEACH, CA 90277
                                   15620 VENTURA BLVD 20TH FL
                                   SHERMAN OAKS, CA 91403

EMIL IANNACCONE TTEE               ENSCO INC                        DAVID L JACOBS
EMIL IANNACCONE SEPERATE           3110 FAIRVIEW PARK DR STE 300    335 LEE HILL DRIVE
PROPERT TRUST                      FALLS CHURCH, VA 22042           BOULDER, CO 80302
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EL SEGUNDO, CA 90245               SOUTHLAKE, TX 76092              MALIBY, CA 90265



JARUS FAMILY TRUST                 JARUS FAMILY TRUST TR SCOTT M    JARUS FAMILY TRUST U/A DTD
938 DUNCAN AVE                     JARUS TTEE                       10/19/2007
MANHATTAN BEACH, CA 90266          938 DUCAN AVE                    938 DUNCAN AVE
                                   MANHATTAN BEACH, CA 90266        MANHATTAN BEACH, CA 90266


REBECCA D JARUS & SCOTT M          JOANNA WALDEAR-LUCAS AS TTEE     MICHAEL B JOHNSON
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                                   SHERMAN OAKS, CA 91403
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BRUCE G KLASS                   MATTHEW LAUBERT                  KNUTE LEE
447 KENSINGTON DR               C/O IRONCLAD PERFORMANCE         9109 WILSHIRE COURT NE
CORDILERA, CO 81632             WEAR CORP                        ALBUQUERQUE, NM 87122
                                1920 HUTTON COURT #300
                                FARMERS BRANCH, TX 75234

JAEGER FAMILY LLC               GREAT PANDA INVESTMENT CO        SEAMARK FUND LP
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SOUTHLAKE, TX 76092             1325 PITKIN AVE                  #115
                                SUPERIOR, CO 80027               CHADDS FORD, PA 19317


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4973 CLUBHOUSE CT               LUNCEFORD                        C/O STUBBS ALDERTON &
BOULDER, CO 80301               8850 E FERNAN LAKE RD            MARKILES
                                COEUR DALENE, ID 83814           15260 VENTURA BLVD 20TH FLOOR
                                                                 SHERMAN OAKS, CA 91403

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                                                                 SHERMAN OAKS, CA 91403

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1643 OAKPOINT DR                1360 WALNUT ST                   1430 N HARPER AVE
WACONIA, MN 55387               #205                             #305
                                BOULDER, CO 80302                W HOLLYWOOD, CA 90046


BRIAN SHEENY                    SPM CENTER LLC                   KEALA STANFILL
11711 DARLINGTON AVE UNIT 7     27909 SMYTH DR                   12049 SWANUKER TERR
LOS ANGELES, CA 90049           VALENCIA, CA 91355               BEAVERTON, OR 97007
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VALORIE STANSBERRY                STUBBS ALDERTON & MARKILES       V JOSEPH STUBBS
3227 N RICHMOND                   LLP                              C/O STUBBS ALDERTON &
CHICAGO, IL 60618                 15260 VENTURA BLVD               MARKILES
                                  26TH FL                          15260 VENTURA BLVD 20TH FL
                                  SHERMAN OAKS, CA 91403           SHERMAN OAKS, CA 91403

PAMELA SULLIVAN                   EDWIN BALDRIDGE TTEE UA DTD      HORACE DUNBAR HOSKINS JR &
1682 HAYES STREET APT C           10/30/1992 EDWIN T               ANN REID HOSKINS JT
EUGENE, OR 97402                  BALDRIDGE DECLARATION TRUST      TEN
                                  605 SAN ANTONIA AVE              7 PENENSULA RD
                                  MANY LA, LA 71449                BELVEDERE, CA 94920

JOHN E ORCUTT & MARCIA ORCUTT     ROBERT H KEELEY & SANDRA D       THOMAS W. MASON & LISA L.
JT TEN                            KEELEY JT TEN                    MASON JT TEN
3221 N SAN SEBASTIAN DRIVE        PO BOX 240                       6856 WISH AVENUE
TUSCON, AZ 85715                  HILLSIDE, CO 81232               LAKE BALBOA, CA 91406


WILLIAM MECK & TERESA MECK JT     HAROLD F SCHAFF & CHERYL A       DENNIS TORRES & AVERI TORRES
TEN                               SCHAFF TTEES THE                 6779 LAS OLAS WAY
11027 LIMERICK AVENUE             SCHAFF TRUST DTD 1-17-03         MALIBU, CA 90265
CHATSWORTH, CA 91311              780 GLEN ANNIE RD
                                  GOLETA, CA 93114

STEVEN W TOWN                     BIRCH FAMILY TRUST               DENNIS TORRES & AVERI TORRES
6301 E CRESTLINE AVE              1435 OLIVE ST                    TRUST
GREENWOOD VILLAGE, CO 80111       SANTA BARBARA, CA 93101          6779 LAS OLAS WAY
                                                                   MAILBU, CA 90265


KATHERINE BERCI DEFEVERE          RICHARD KRONMAN & MAUREEN        SEGAL FAMILY TRUST
TRUSTEE DEFEVERE TRUST            KRONMAN REVOCABLE TRUST          10100 SANTA MONICA BLVD #1300
24200 ALBERS STREET               30111 HARVESTER RD               LOS ANGELES, CA 90067
WOODLAND HILLS, CA 91367          MAILBU, CA 90265


THE ORCUTT FAMILY TRUST           THE SASSOLA III FAMILY TRUST     THE WILLIAM J. & SEEMAH W.
3221 N SAN SEBASTIAN DRIVE        7771 HERON COURT                 IDELSON FAMILY TRUST
TUSCON, AZ 85715                  GOLETA, CA 93117                 DATED APRIL 29 1997
                                                                   710 BROOKTREE ROAD
                                                                   PACIFIC PALISADES, CA 90272

ANNALOUISE JAEGER & KEITH         ED WETHERBEE                     LOUIS WHARTON
VERWOEST                          7269 SIENA WAY                   15260 VENTURA BLVD
532 PAUMAKUA PL                   BOULDER, CO 80301                20TH FLOOR
KAILUS, HI 96734                                                   SHERMAN OAKS, CA 91403


KIM WOODWORTH & BILL              JOE WORDEN                       JAMES R YOUNG
WOODWORTH                         4335 FOX CIRCLE                  2009 RIVERVIEW DR
101 VALLEY HILL RD                MESA, AZ 85205                   BERTHOUD, CO 80513
EXTON, PA 19401


CHARLES SCHWAB & CO INC           MORGAN STANLEY SMITH BARNEY
2423 E LINCOLN DR                 1 NEW YORK PLAZA - 39TH FL
PHOENIX, AZ 85016                 NEW YORK, NY 10004
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Ironclad Performance Wear (8300)
Equity Holders – Supplemental List




AAION PARTNERS INC                   AARON K HALE CUST                 ALAN DEMETER
PO BOX 3034                          OWEN S HALE UTMA CA               2560 THUNDERBIRD LN
MANHATTAN BEACH, CA 90266            725 W OAK AVE                     SAPULPA, OK 74066
                                     EL SEGUNDO, CA 90245



ALEX ANTONUK &                       ALEX KAWAKAMI                     ALEX ROTONEN
MICHAL ANTONUK JTWROS                2812 KAHAWAI ST                   1008 CLEMSON DR
390 E SEQUOIA ST                     HONOLULU, HI 96822                ARLINGTON, TX 76012
REPUBLIC, MO 65738



AMANDA RAE REGAN                     ANDREA JANELLE SIMON              ANDREW DARKO
12 COUNTRY PLACE LANE                2201 N CALIFORNIA ST. #32         3104 WILSON ROAD
ROCHESTER, NY 14612                  SAN FRANCISCO, CA 94115           CONROE, TX 77304




ANDREW G BANYAS                      ANDREW J CRYER                    ANDREW J RAYKOVICS
ROTH IRA ETRADE CUSTODIAN            2828 LEMMON AVE APT 5131          IRA R/O ETRADE CUSTODIAN
10708 SILVER LEAF WAY APT 208        DALLAS, TX 75204                  8558 S LAKE CIR
KNOXVILLE, TN 37931                                                    FORT MYERS, FL 33908



ANDREW THUNG &                       ANNIE EVANS                       ANTHONY A SHORTT
LISA M THUNG JTWROS                  CHARLES SCHWAB & CO INC CUST      SEP IRA ETRADE CUSTODIAN
45 E 89TH ST APT 20D                 970 PACIFIC STRAND PL , APT 203   3044 NORWELL COURT
NEW YORK, NY 10128                   VENTURA, CA 93003                 LOCUST GROVE, GA 30248



ANTHONY A SIENKOWSKI IRA             ANTHONY ROBERT HURD               ANTHONY SIENKOWSKI
WFCS AS CUSTODIAN                    CHARLES SCHWAB & CO INC CUST      1757 EAGLE DR
1757 EAGLE DRIVE                     425 W TRADE ST APT 704            LAKE GENEVA, WI 53147
LAKE GENEVA, WI 53147                CHARLOTTE, NC 28202



ATC AS CUST FOR IRA R/O              AUDREY G BEYER                    BARBARA ANN CARBERRY
WILLIAM P BORDUIN                    5400 KENRICK PARK DRIVE           8012 GOODHURST DR
2406 FALBROOK LN                     SAINT LOUIS, MO 63119             GAITHERSBURG, MD 20882
CROFTON, MD 21114



BARBARA JOAN DEGEORGE &              BARBARA KLEEMANN TTEE             BARBARA LIEB STROUGO
M DEGEORGE KELLY JT TEN              BYPASS TST SUBTST KLEEMANN        60 E 42ND ST STE 2215
9304 VILLA RIDGE DR                  526 VIA SINUOSA                   NEW YORK, NY 10165
LAS VEGAS, NV 89134                  SANTA BARBARA, CA 93110



BARBARA RIEBACK TOD                  BEN KING                          BENJAMIN L PADNOS
SUBJECT TO STA TOD RULES             217 32ND PL                       221 34TH ST
11267 YOLANDA AVE                    MANHATTAN BEACH, CA 90266         MANHATTAN BEACH, CA 90266
PORTER RANCH, CA 91326
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BEVERLY A SHACTER & BURTON B          BILL HAUCK                         BILL MECK &
SHACTER REVOC TRUST 2/5/98            214 STRAWBERRY CIR                 TERESA MECK JT TEN
5800 ARBOUR AVENUE                    CRANBERRY TOWNSHIP, PA 16066       11027 LIMERICK AVENUE
EDINA, MN 55436                                                          CHATSWORTH, CA 91311



BILL POINTER ROLLOVER IRA             BILL R TAYLOR & (1D1)              BLAYNE M NAGATA & HEIDI K KIMURA
TD AMERITRADE CLEARING INC            DEBRA H TAYLOR JTTEN               JTWROS
CUSTODIAN                             186 CEDARWOOD PLACE                1874 HOOKUPA ST
22065 LAUREL OAK DR                   MOCKSVILLE, NC 27028               PEARL CITY, HI 96782
PARKER, CO 80138


BRENDA MAE ENGEL ROLLOVER IRA         BRENT S MORRISON (ROTH IRA)        BRIAN L WILLIAMS
TD AMERITRADE CLEARING CUSTODIAN      WFCS AS CUSTODIAN                  6742 CLYBOURN AVENUE
1004 W 86TH ST                        1400 KELTON AVE #201               NORTH HOLLYWOOD, CA 91606
KANSAS CITY, MO 64114                 LOS ANGELES, CA 90024



BRIAN VANGUNTEN                       C NEUHAUSER CUST FOR               CALVIN CHENG CHIEN & KAREN KUO
132 DEVRON CIR                        C NEUHAUSER UNYUTMA                CHIEN
EAST PEORIA, IL 61611                 4 STABLE RD                        DESIGNATED BENE PLAN/TOD
                                      TUXEDO PARK, NY 10987              4905 MARION AVE
                                                                         TORRANCE, CA 90505


CANACCORD GENUITY INC                 CAPITAL ONE INVESTING LLC.         CARL C HSU TTEE
IEG TRADING DESK BOOK                 -OMNIBUS ACCOUNT--                 DR CARL C HSU REV LIV TRUST
1210SP ASIA REGION, 535 MADISON AVE   83 SOUTH KING STREET STE 700       4559 BAILEY WAY
NEW YORK, NY 10022                    SEATTLE, WA 98104                  SACRAMENTO, CA 95864



CAROLE M. ORMISTON                    CARRIE LELO                        CATHERINE BEDROS BRUNICK &
1700 RIVIERE AVE.                     8380 S 36TH ST                     RICHARD R BRUNICK JT WROS
METAIRIE, LA 70003                    FRANKLIN, WI 53132                 1136 THIRD STREET
                                                                         HERMOSA BEACH, CA 90254



CECILIA BACON ROLLOVER IRA TD         CHARLES ALEXANDER WILLHOIT         CHARLES ALLAN DAVIS
AMERITRADE CLEARING CUSTODIAN         246 RACE ST                        CHARLES SCHWAB & CO INC CUST
1801 N GREENVILLE AVE APT 3132        DENVER, CO 80206                   1850 ADOBE CREEK DR
RICHARDSON, TX 75081                                                     PETALUMA, CA 94954



CHARLES DUFFY                         CHARLES H MAHER JR IRA             CHARLES JEFFERSON PIPPIN
2601 52ND AVE N                       TD AMERITRADE CLEARING CUSTODIAN   CHARLES SCHWAB & CO INC CUST
ST PETERSBURG, FL 33714               PO BOX 39                          1948 ELMSBURY RD
                                      MONUMENT, CO 80132                 WESTLAKE VILLAGE, CA 91361



CHARLES P CUSUMANO 1992 TR            CHARLES SCHWAB BANK TTEE           CHARLES W DIER AND
CHARLES P CUSUMANO TTEE               FBO JEFFREY W WESSEL               LISETTE M DIER JTWROS
101 S FIRST ST # 400                  3222 NW CHAPIN DR                  106 BIRMINGHAM WALK
BURBANK, CA 91502                     PORTLAND, OR 97229                 ALPHARETTA, GA 30004



CHARLES W HUNTER                      CHARLES WILLIAM NEUHAUSER          CHIEF A DOWNS ROTH IRA TD
WFCS CUSTODIAN ROTH IRA               CHARLES SCHWAB & CO INC CUST       AMERITRADE CLEARING CUSTODIAN
2958 CARRILLO WAY                     4 STABLE RD                        7322 W 36TH ST
CARLSBAD, CA 92009                    TUXEDO PARK, NY 10987              TULSA, OK 74107
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CHRIS KRANZLER ROTH IRA TD        CHRISTIAN M WARREN &               CHRISTOPHER D EDWARDS
AMERITRAD                         BARBARA A BOIGEGRAIN JT TEN        CHARLES SCHWAB & CO INC CUST
INC CUSTODIAN                     2524 VIRGINIA LN                   PO BOX 4752
8000 W 32ND ST                    NORTHBROOK, IL 60062               FRISCO, CO 80443
SIOUX FALLS, SD 57106


CHRISTOPHER DAY                   CHRISTOPHER E BARRETT ROTH IRA     CHRISTOPHER J ADAMSKI
2112 BUCKSKIN CIR                 JPMS LLC CUST.                     CHRISTINA B ADAMSKI
CARROLLTON, TX 75006              426 WHITING ST                     1571 RED STEM DR
                                  EL SEGUNDO, CA 90245               HOLLAND, MI 49424



CHRISTOPHER J CALLAGHAN           CHUN CHAN ROTH IRA TD AMERITRADE   CRAIG CHLADNY
949 PALMER ROAD APT 2H            INC                                210 E RIDGE RD
BRONXVILLE, NY 10708              CUSTODIAN                          EAST PEORIA, IL 61611
                                  2519 28TH AVE
                                  SAN FRANCISCO, CA 94116


CRAIG EDWARD REED &               CRAIG L WHITE                      CRAIG WAGNER BENEFICIARY IRA OF
SHANNON ELLIOTT REED JT/TIC       28851 DEODAR PL                    SEBASTIAN WAGNER IRA
4482 PARK PLACE TERRACE           SAUGUS, CA 91390                   17501 72ND PLACE
MARIETTA, GA 30066                                                   MAPLE GROVE, MN 55311



CYNTHIA DAVID                     DALE H NORFOLK                     DALE SCHAEFER & DEBORAH SCHAEFER
4682 WARNER AVE                   ANN M NORFOLK JT TEN               JT
C113                              5345 BUENA VISTA RD                TEN
HUNTINGTON BEACH, CA 92649        PRINCE FREDERICK, MD 20678         8691 COOKS MILL RD
                                                                     GEORGETOWN, IN 47122


DAN CHIER                         DAN WILLEY SPALT                   DANIEL J FLEMING
19175 RIOUX GROVE CT              4 STONEHENGE LN.                   1531 JACKSON ST
NOBLESVILLE, IN 46062             APT. 11B                           HOLLYWOOD, FL 33020
                                  ALBANY, NY 12203



DANIEL M MARTIN                   DANNY L BACON ROLLOVER IRA TD      DANNY L BACON ROTH IRA TD
3112 KISDON HILL DRIVE            AMERITRADE CLEARING CUSTODIAN      AMERITRADE CLEARING CUSTODIAN
WAUKESHA, WI 53188                1801 N GREENVILLE AVE APT 3132     1801 N GREENVILLE AVE APT 3132
                                  RICHARDSON, TX 75081               RICHARDSON, TX 75081



DANNY LESHIKAR ROTH IRA TD        DAVE PONCIA                        DAVID CARUSO
AMERITRADE CLEARING CUSTODIAN     6819 ABBOTTSWOOD DR                4442 S 5TH ST
1412 TELFORD DR                   RANCHO PALOS VERDES, CA 90275      MILWAUKEE, WI 53207
LIBERTY, MO 64068



DAVID CHICHESTER                  DAVID E LAMONTAGNE                 DAVID HAMMOND SOYSTER
PO BOX 27                         3901 WHOOPING CRANE CR             18525 NE MARINE DR
LOWELL, OH 45744                  VIRGINIA BEACH, VA 23455           APT A7
                                                                     PORTLAND, OR 97230



DAVID KENNETH KELCHLIN            DAVID L JACOBS                     DAVID W. NORFOLK
13237 COLONIAL WOODS DR           335 LEE HILL DR.                   289 FIBICH LN
ALDEN, NY 14004                   BOULDER, CO 80302                  WEST RIVER, MD 20778
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DAVID WAYNE THOMAS & JOANNE       DEBRA BETH STROUGO                DELFONDO HERRON &
LEIGH                             1755 YORK AVE APT 36B             MELINDA CHENAULT-HERRON JTWROS
JAKUB THOMAS JT TEN               NEW YORK, NY 10128                10425 S. MANSFIELD
223 N GUADALUPE ST                                                  OAK LAWN, IL 60453
SANTA FE, NM 87501


DELIA V LAZZARI                   DENISE M COLLINASH ROTH IRA       DEREK WOODWORTH
96 SCENIC DRIVE                   TD AMERITRADE CLEARING INC        5728 SILVERTON AVE
SOUTHINGTON, CT 06489             CUSTODIAN                         MCKINNEY, TX 75070
                                  1700 GALLUP RD
                                  CHAPEL HILL, NC 27517


DIANE K CARTER TR FBO             DIANE MATTHEW                     DMITRI PECHERSKI &
DIANE K CARTER LIVING TRUST       PO BOX 470                        LIUDMILA PECHERSKI JT TEN
3519 MALIBU COUNTRY DR            LAGUNITAS, CA 94938               5136 W TROTTER TRL
MALIBU, CA 90265                                                    PHOENIX, AZ 85083



DOROTHY ZIMMERMAN BENSON TTEE     DOROTHY ZIMMERMAN BENSON TTEE     DOUG KUHN & MARLAINA N KUHN
WILLIAM W&DOROTHY Z BENSON TRT    WM/DOROTHY BENSON REV TRUST       PO BOX 103
101 EVERGREEN LN APT 145          101 EVERGREEN LN APT 145          606 LINCOLN
GLEN CARBON, IL 62034             MERIDIAN VILLAGE, IL 62034        VICTORIA, KS 67671



DOUGLAS RICHARD LALLY             EDEN J. MACKNIN TRUST             EDMUND R T FLANIGAN
MARGARET SUSAN LALLY JT TEN       C/O: ELIZABETH A. CHEZ TRUSTEE    60 S GARFIELD ST
PO BOX 216                        2039 BURR OAK LANE                DENVER, CO 80209
CAMAS VALLEY, OR 97416            HIGHLAND PARK, IL 60035



EDUARD JAEGER                     EDWIN VANCE ROGERS ROLLOVER IRA   ELIEZER S C AKERMAN
443 CONCORD ST                    TD                                1020 DITMAS AVE
EL SEGUNDO, CA 90245              AMERITRADE CLEARING CUSTODIAN     BROOKLYN, NY 11218
                                  130 WEST RD
                                  BELTON, SC 29627


ELIZABETH CHEZ                    ELIZABETH ROSNER SILBER           ELIZABETH ROSNER SILBER
2039 BURR OAKS LANE               1138 PORTNER RD                   578 LORNA LANE
HIGHLAND PARK, IL 60035           ALEXANDRIA, VA 22314              LOS ANGELES, CA 90049




ELIZABETH SIENKOWSKI IRA          ELLEN DENISE MABRY                ELMER M WALLACE ROTH IRA
WFCS AS CUSTODIAN                 CHARLES SCHWAB & CO INC CUST      303 ELM
1757 EAGLE DRIVE                  5203 WHITAKER CIR                 VIDALIA, LA 71373
LAKE GENEVA, WI 53147             LONGVIEW, TX 75605



ERIC CARL HANSEN &                ERIC FREY                         ERIC J. CHEZ
TRACY LYNN HANSEN JT TEN          320 RENWOOD CIRCLE                1758 N. HONORE STREET
7620 2ND AVE W                    LAFAYETTE, LA 70503               CHICAGO, IL 60622
BRADENTON, FL 34209



ERIN O HALLISSY                   ERIN PLASTERAS                    ETHAN CRANE
IRA ETRADE CUSTODIAN              28 KIRKHAM PL                     123 W WARNIMONT AVE
20924 ARCANA RD                   STAMFORD, CT 06906                MILWAUKEE, WI 53207
WOODLAND HILLS, CA 91364
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FAISAL M ALMUTLAQ                 FERNANDO JAUREGUI FBO               FERNANDO JAUREGUI FBO
OLAYA ST                          LUCAS JAUREGUI BENE                 NATHAN JAUREGUI BENE
RIYADH 11565                      504 LARKHALL AVE                    504 LARKHALL AVE
SAUDI ARABIA, SAUDI ARABIA        DUARTE, CA 91010                    DUARTE, CA 91010



FMT CO CUST IRA                   FMT CO CUST IRA                     FMT CO CUST IRA
FBO JAMES A BREEN                 FBO CRAIG STEPHEN WAGNER            FBO KIMIKO ANN SNYDER
167 STOCKADE RD                   10690 ZIEGLERS DR N                 6118 BRAEMAR CT
S GLASTONBURY, CT 06073           MINNEAPOLIS, MN 55443               AGOURA HILLS, CA 91301



FMT CO CUST IRA                   FMT CO CUST IRA                     FMT CO CUST IRA
FBO THOMAS R MCELROY              FBO SACHIKO FARRELL                 FBO SANFORD ROBERT PRICE
30950 MINUTE MAN WAY              191 S WOODROSE CT                   911 AUGUSTA DR
WESTLAKE VILLAGE, CA 91361        ANAHEIM, CA 92807                   BRENTWOOD, CA 94513



FMT CO CUST IRA ROLLOVER          FMT CO CUST IRA ROLLOVER            FMT CO CUST IRA ROLLOVER
FBO DAVID WESSEL                  FBO MARK PUETZER                    FBO RONALD J SCHUETTE
36 GREGORY TER                    49 VIOLA DR                         3209 HUNTER PATH
BLOOMFIELD, NJ 07003              GLEN COVE, NY 11542                 MCHENRY, IL 60050



FMT CO CUST IRA ROLLOVER          FMT CO CUST IRA ROLLOVER            FMT CO CUST IRA ROLLOVER
FBO SUSAN R QUANTE                FBO KENNETH LAIBLE                  FBO PAUL C KENDALL
3849 LOWER SAXTOWN ROAD           10973 SOUTHBURY LN                  1250 NE LOOP 410 STE 203
WATERLOO, IL 62298                FRISCO, TX 75033                    SAN ANTONIO, TX 78209



FMT CO CUST IRA ROLLOVER          FMT CO CUST IRA ROLLOVER            FMT CO CUST IRA ROLLOVER
FBO JAMES R PEARSON               FBO GASPAR C MIRANDA JR             FBO JUSTIN D WALKER
3726 W WHITEHAWK LN               23529 CARLOW RD                     107 ESPLANADE AVE APT 78
ANTHEM, AZ 85086                  TORRANCE, CA 90505                  PACIFICA, CA 94044



FMT CO CUST IRA ROLLOVER          FMT CO CUST IRA ROLLOVER FBO ALEX   FMT CO CUST IRA SEPP
FBO GREGORY CURHAN                JIN                                 FBO DOUGLAS S ROSE
7 VERONA PL                       NO 1030 WST YAN'AN ROAD             161 CHADWICK RD
CORTE MADERA, CA 94925            APARTMENT 36# 802                   TEANECK, NJ 07666
                                  SHANGHAI 200050, CHINA 29414


FMT CO CUST SEPP IRA              FMTC CUSTODIAN - ROTH IRA           FMTC CUSTODIAN - ROTH IRA
FBO WILLIAM J LITWIN              FBO LESLIE C SCHUETTE               FBO RONALD J SCHUETTE
PO BOX 146                        3209 W HUNTER PATH                  3209 HUNTER PATH
HINGHAM, MA 02043                 MCHENRY, IL 60050                   MCHENRY, IL 60050



FMTC CUSTODIAN - ROTH IRA         FMTC CUSTODIAN - ROTH IRA           FMTC CUSTODIAN - ROTH IRA
FBO DOROTHY ZIMMERMAN BENSON      FBO JOSEPH POVERELLI JR             FBO JAMES P BENSON
101 EVERGREEN LN APT 145          2669 CHADWICK DR                    6553 BIG SKY TRL
GLEN CARBON, IL 62034             FORT WORTH, TX 76131                CHEYENNE, WY 82009



FMTC CUSTODIAN - ROTH IRA         FMTC CUSTODIAN - ROTH IRA           FMTC CUSTODIAN - ROTH IRA
FBO JAMES P BENSON                FBO KIMBERLY D BENSON               FBO MARK WILLIAM BENSON
6553 BIG SKY TRL                  6553 BIG SKY TRL                    6553 BIG SKY TRL
CHEYENNE, WY 82009                CHEYENNE, WY 82009                  CHEYENNE, WY 82009
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FMTC CUSTODIAN - ROTH IRA          FMTC CUSTODIAN - ROTH IRA         FMTC CUSTODIAN - SIMPLE
FBO JOSHUA LOUIS CAIN              FBO ROBERT C MICHLIN              FBO LISA CAROL DUDLEY
900 S FIGUEROA ST APT 1201         5846 NORWICH AVE                  117 MARQUIS CT
LOS ANGELES, CA 90015              SHERMAN OAKS, CA 91411            MATTHEWS, NC 28104



FORREST S FULFORD AND              FRANCESCA A MORAN                 FRANCIS J SKALECKI &
MARTHA FULFORD JTWROS              100 DEER RUN                      STEVEN A SKALECKI JT TEN
2202 58TH ST E                     PLANTSVILLE, CT 06479             3151 S LENOX ST
PALMETTO, FL 34221                                                   MILWAUKEE, WI 53207



FRED CATALANO                      G1 EXECUTION SERVICES LLC         GAIL MAHAFFEY
4 LLOYD HAVEN DRIVE                FIRM TRADING ACCOUNT              MIKE MAHAFFEY JT TEN
LLOYD HARBOR, NY 11743             175 W. JACKSON BLVD, SUITE 1700   116 DOGWOOD TERRACE LN
                                   CHICAGO, IL 60604                 CLEMSON, SC 29631



GARY BURTZLAFF                     GARY GIBBS                        GARY MICHAEL MANUSE
HELEN BURTZLAFF                    16610 CARROLL RD                  5975 PEASE RD
823 TURNBERRY DR                   MORRISON, IL 61270                WILLIAMSON, NY 14589
MANSFIELD, TX 76063



GARY W RADA                        GEMINI PARTNERS INC               GEORGE F GOTHOT
904 LUSTED LN                      1100 GLENDON AVE STE 905          CHARLES SCHWAB & CO INC CUST
BATAVIA, IL 60510                  LOS ANGELES, CA 90024             31111 PLANTERS GROVE LN
                                                                     WESTLAKE, OH 44145



GEORGE F GOTHOT                    GEORGE F GOTHOT                   GEORGE F GOTHOT
CHARLES SCHWAB & CO INC CUST       CHARLES SCHWAB & CO INC CUST      31111 PLANTERS GROVE LN
31111 PLANTERS GROVE LN            31111 PLANTERS GROVE LANE         WESTLAKE, OH 44145
WESTLAKE, OH 44145                 WESTLAKE, OH 44145



GEORGE K CROCKETT                  GEORGE KARUTZ                     GLENN D BOLLINGER
VIRGINIA C CROCKETT                SEPERATE PROPERTY                 3025 N GREAT SOUTHWEST PKWY
137 BRANTON DR                     329 E SUNSET RD                   GRAND PRAIRIE, TX 75050
LAFAYETTE, LA 70508                SAN ANTONIO, TX 78209



GLENN R OAKES                      GREG CULLEN                       GREGORY CURHAN TTEE
4204 CYPRESS GROVE LANE            6641 ESPLANADE                    GREGORY & RANDI CURHAN REV TRU
GREENSBORO, NC 27455               PLAYA DEL REY, CA 90293           U/A 6/2/98
                                                                     7 VERONA PL
                                                                     CORTE MADERA, CA 94925


GREGORY J OHARA & SUSAN M OHARA    GREGORY W BATEMAN                 GUY W KEEFER
JTWROS                             9094 MANDARIN LANE                7416 OGELSBY AVE
4727 OAK ROAD                      RIVERSIDE, CA 92508               LOS ANGELES, CA 90045
SHADY SIDE, MD 20764



HAMMAM ALSHAGRA                    HARVEY E GREEN TTEE               HEIDI JAEGER
5500 OWENSMOUTH AVE APT 126        HM GREEN FAMILY TRUST             CHARLES SCHWAB & CO INC CUST
WOODLAND HILLS, CA 91367           11550 LAURELCREST DR              26800 PACIFIC COAST HWY
                                   STUDIO CITY, CA 91604             MALIBU, CA 90265
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HEIDI JAEGER INH IRA                HEIDI JAEGER TTEE                 HUNTINGTON SMITH
BENE OF PEGGY JAEGER                HEIDI JAEGER LIVING TRUST         1052 HANCOCK MILL LN.
26800 PACIFIC COAST HWY             26800 PACIFIC COAST HWY           HEPHZIBAH, GA 30815
MALIBU, CA 90265                    MALIBU, CA 90265



IAN LANDGRAF                        ILYSE R. MARKRACK TRUST           IQBAL SINGH
19 E HULLWOOD CIR                   C/O: ELIZABETH A. CHEZ TRUSTEE    3098 CLOVER ST
THE WOODLANDS, TX 77389             2039 BURR OAK LANE                PITTSFORD, NY 14534
                                    HIGHLAND PARK, IL 60035



J ROSNER & N ROSNER TTEE            JACK JACOB ROSNER                 JACOB YOUNG
J ROSNER & ROSNER FAMILY TRUST      578 LORNA LANE                    3008 S 45TH ST APT D
578 LORNA LANE                      LOS ANGELES, CA 90049             TACOMA, WA 98409
LOS ANGELES, CA 90049



JAKE R MEOTTEL                      JAMES CHADWICK ROTH IRA TD        JAMES D DARLING CUST
30183 VALLEY GLEN ST                AMERITRADE CLEARING CUSTODIAN     CARA D DARLING UNDER THE AZ
CASTAIC, CA 91384                   942 NW SCENIC LAKE DR             2311 FLAT ROCK CT
                                    LAKE CITY, FL 32055               NAPERVILLE, IL 60564



JAMES E COLLINS                     JAMES F RAFFERTY                  JAMES HUANG
27 BEAVER DAM RD                    1665 FAIRFAX AVE                  120 E MAIN ST APT 1912
COLTS NECK, NJ 07722                WEST ISLIP, NY 11795              LEXINGTON, KY 40507




JAMES M HALLISSY                    JAMES P BENSON TR UA 04-05-2001   JAMES P BENSON TTEE
R/O IRA E*TRADE CUSTODIAN           JAMES P BENSON LIVING TRUST       MARK BENSON QUALIFIED MINOR TR
20924 ARCANA ROAD                   6553 BIG SKY TRL                  U/A 12/13/10
WOODLAND HILLS, CA 91364            CHEYENNE, WY 82009                6553 BIG SKY TRL
                                                                      CHEYENNE, WY 82009


JAMES P BENSON TTEE                 JAMES P FRISCHE                   JANE SCHWARTZ
STEPHEN BENSON QUAL MINORS TR U/A   702 VIA PALO LINDA                TOD
12/13/10                            FAIRFIELD, CA 94534               29 GRAND BAY CIR
6553 BIG SKY TRL                                                      JUNO BEACH, FL 33408
CHEYENNE, WY 82009


JANET HAEFEMEYER                    JASON G BARRETT                   JASON H HO
3711 W. GRANGE                      IRA R/O ETRADE CUSTODIAN          5 WHITTEMORE TER
GREENFIELD, WI 53221                3613 REGENCY                      BILLERICA, MA 01821
                                    DEER PARK, TX 77536



JASON M GIRARDIN                    JEANETTE A SWAN                   JEFF BURKEY
1830 S CALUMET PKWY UNIT A          143 W TRIPOLI AVE                 22 SANDPIPER LN
CHICAGO, IL 60616                   MILWAUKEE, WI 53207               PITTSFORD, NY 14534




JEFF T HUBBARD                      JEFFREY D CORDES                  JEFFREY D CORDES AND
369 E CHERRY COVE                   1570 BENT CREEK DRIVE             VALORIE LYNN CORDES JTWROS
ROUND LAKE BEACH, IL 60073          SOUTHLAKE, TX 76092               1570 BENT CREEK DR
                                                                      SOUTHLAKE, TX 76092
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JEFFREY ROBERT JONASEN &               JEFFREY STEIN PSP                JEFFREY WARREN WESSEL
SHELLY LEA JONASEN JT TEN              JEFFREY STEIN TTEE               3222 NW CHAPIN DR
3836 SERAMONTE DR                      4243 GREENWOOD                   PORTLAND, OR 97229
HIGHLANDS RANCH, CO 80129              SKOKIE, IL 60076



JENNIFER COOPER & CARYL COOPER JT      JERRY D CRAWFORD                 JERRY W WILEY
TEN                                    5692 VESTAL LN                   102 W ALLEN ST
1867 SPRUCE ST.                        HONOLULU, HI 96818               IRVINGTON, NJ 07111
HIGHLAND PARK, IL 60035



JERRY WILEY TR FBO 133 MONTICELLO      JILL CHRISTINE BRUNNER           JIMMY E ALLEN
AV                                     1007 LINCOLN BLVD APT 2          1849 EAST 5775 SOUTH
LIMITED LIABILITY IND 401K FBO JERRY   SANTA MONICA, CA 90403           SOUTH OGDEN, UT 84403
WILEY
2 RIVER RUN
LAWNSIDE, NJ 08045

JOAN HOOD JONES TR UA 11-30-2012]      JOAN M TRIEFF                    JOEL CAVNESS
JOAN HOOD JONES LIVING TRUST           778 BRANDENBURG DRIVE            2509 SUTHERLAND ST
853 3RD ST                             CHASKA, MN 55318                 AUSTIN, TX 78746
MANHATTAN BEACH, CA 90266



JOHN CHRISTOPHER ZOTT                  JOHN COLLINASH IRA               JOHN D & MARGARET A ROGERS TTEE
CHARLES SCHWAB & CO INC CUST           TD AMERITRADE CLEARING INC       J D AND M A ROGERS REVOC TRUST U/A
211 DARWIN ST                          CUSTODIAN                        4/26/00
SANTA CRUZ, CA 95062                   1700 GALLUP RD                   5660 ROLLING OAK DR
                                       CHAPEL HILL, NC 27517            SACRAMENTO, CA 95841


JOHN E WHITSETT                        JOHN H FREEMAN                   JOHN HOPPE
203 HASKIN DRIVE                       CHAIA K FREEMAN COMM PROP        740 W. FULTON ST. APT 809
SAN ANTONIO, TX 78209                  20520 BLAIRMOORE ST              CHICAGO, IL 60661
                                       CHATSWORTH, CA 91311



JOHN JAMES DARNELL                     JOHN L EGGERS                    JOHN LERCH
500 NORTH CROFT AVE                    216 39 ST E                      409 IVY CHURCH RD
W HOLLYWOOD, CA 90048                  BRADENTON, FL 34208              TIMONIUM, MD 21093




JOHN MARSHALL                          JOHN PATRICK MCGOWAN             JOHN R FAIRTY JR
SHIRLEY MARSHALL JT TEN                170 SISKIYOU CT                  617 RIVERSVILLE RD
2826 WOODSPRING ACRES DR               SAN BRUNO, CA 94066              GREENWICH, CT 06831
KINGWOOD, TX 77345



JOHN RICHARD BOLTON II                 JOHN THOLLON                     JONATHAN CASTILLO ROTH IRA TD
NANCY ELAINE BOLTON JT TEN             300 E 40TH ST APT 29A            AMERITRADE CLEARING CUSTODIAN
21069 GERTRUDE AVE                     NEW YORK, NY 10016               9807 VENICE BLVD
PORT CHARLOTTE, FL 33952                                                LOS ANGELES, CA 90034



JORGE L NICHO                          JOSE BERNAL                      JOSEPH BEIERLE TTEE
9611 HOLLOW BND                        40 LION LN                       THE BEIERLE FAMILY TRUST U/A 03/26/93
SAN ANTONIO, TX 78250                  WESTBURY, NY 11590               423 NEWCASTLE ST
                                                                        THOUSAND OAKS, CA 91361
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JOSEPH C MAZZOCHI                    JOSEPH ROSNER AND NANCY BETH         JOSHUA CRINKLAW
10 CANDLEWOOD LANE                   ROSNER TTEES                         736 F AVE UNIT 4
FARMINGTON, CT 06032                 THE ROSNER FAMILY TRUST DTD 02-07-   CORONADO, CA 92118
                                     90
                                     578 LORNA LANE
                                     LOS ANGELES, CA 90049

JOSHUA S LOWER C/F                   JUDY FRANK TTEE                      JUSTIN W BALDWIN
JACOB C LOWER UTMA/IL                FRANK FAMILY TRUST DTD 06-08-09      796 COURT ST
39W359 W HALADAY LANE                641 POR LA MAR CIRCLE, UNIT A        UNIT C
GENEVA, IL 60134                     SANTA BARBARA, CA 93103              KEENE, NH 03431



KAREN BURKE                          KATHLEEN BRENNAN &                   KATHLEEN DEFRONZO
6 MILFORD LN                         MICHAEL H STEINBERGER JTWROS         4800 WOODLEY AVE APT 8
GLEN COVE, NY 11542                  14 ARTHUR DRIVE                      ENCINO, CA 91436
                                     HOCKESSIN, DE 19707



KATHY PETROHILOS ROTH IRA            KEITH C VERWOEST &                   KEITH COLIN VERWOEST
TD AMERITRADE CLEARING INC           ANNALOUISE JAEGER JTWROS             532 PAUMAKUA PL
CUSTODIAN                            532 PAUMAKUA PL                      KAILUA, HI 96734
497 SPRINGS DR                       KAILUA, HI 96734
COLUMBUS, OH 43214


KELLY J PORRAS                       KENNETH JOSEPH LAIBLE CUST FOR       KENNETH O HAACK
5080 WOODLAND AVE                    DYLAN WAYNE LAIBLE UTXUTMA           330 E TOWNSHIP ROAD 150
YORBA LINDA, CA 92887                10973 SOUTHBURY LANE                 TIFFIN, OH 44883
                                     FRISCO, TX 75033



KENT ASTLE                           KENT D MILLER                        KENT M ROBINS
5098 ROBERTS DR                      IRA ETRADE CUSTODIAN                 ALLISON A ROBINS
THE COLONY, TX 75056                 705 ILLNI DRIVE                      17207 103RD ST SE
                                     EAST PEORIA, IL 61611                YELM, WA 98597



KENT SIMON                           KEVIN BOJONNY ROTH IRA TD            KEVIN COOPER
576 E 48TH ST                        AMERITRADE CLEARING CUSTODIAN        ROTH IRA ETRADE CUSTODIAN
BROOKLYN, NY 11203                   314 JOHN DUKE TYLER BLVD.            2106 FLAMINGO
                                     CLARKSVILLE, TN 37043                SAN ANTONIO, TX 78209



KEVIN DELIMAT                        KEVIN R THIER                        KEVIN W MARSH
4829 RIVERSIDE DR                    2817 KENSINGTON RD                   DESIGNATED BENE PLAN/TOD
WATERFORD, WI 53185                  MELBOURNE, FL 32935                  1207 MARBLE FALLS CT
                                                                          ALLEN, CT 75013



KIMBERLY D BENSON TTEE               KIMBERLY D BENSON TTEE               KIRK B MOORE
KIMBERLY D BENSON TRUST U/A 4/5/01   KIMBERLY DROSTEN BENSON EXE TR       7614 MACON DR.
6553 BIG SKY TRL                     U/A 8/22/83                          BILOXI, MS 39532
CHEYENNE, WY 82009                   6553 BIG SKY TRL
                                     CHEYENNE, WY 82009


KLEANTHI XENOPOULOS                  KRIS PAOLINO                         KRISTI L DELAGE &
1265 15TH ST APT 9C                  IRA R/O ETRADE CUSTODIAN             GEORGE A DELAGE JTWROS
FORT LEE, NJ 07024                   2591 RED HAWK RIDGE DR               25856 185TH AVENUE SW
                                     CASTLE ROCK, CO 80109                CROOKSTON, MN 56716
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KURT MATTHEW RIEBACK              KYLE J WALKER                    KYLE S MCDORMAN
19237 ITASCA ST                   7 ALEXANDER DR                   8155 CIRCLE DR
NORTHRIDGE, CA 91324              BROOKFIELD, CT 06804             DAYTON, OH 45415




LARRY BARTHEN                     LARRY D MARTIN                   LAURA B PANNIER
218 N CHARLES ST                  TOD                              629 WOODBOURNE TRAIL
WAUKESHA, WI 53186                18249 N 39TH AVE                 DAYTON, OH 45459
                                  GLENDALE, AZ 85308



LAWRENCE ORNE                     LEON BEDROS                      LEONARD JEAN-PAUL
DIANE L ORNE JT TEN               1120 SUN FLARE CT                69333 E PALM CANYON DR SPC 130
161 UNION ST                      LINCOLN, CA 95648                CATHEDRAL CITY, CA 92234
LEOMINSTER, MA 01453



LEONIE M BRITTON                  LIANE LUNNY NEUHAUSER            LLOYD F KAWAKAMI
2543 BEDFORD AVE                  4 STABLE RD                      IRA CONTRIBUTORY DTD 02/10/91
BROOKLYN, NY 11226                TUXEDO PARK, NY 10987            2812 KAHAWAI ST
                                                                   HONOLULU, HI 96822



LOIS B MAY TTEE                   LONNIE & BARBARA A MURRAY TTEE   LORENA GUENY
LOIS B. MAY REVOCABLE TRUST       THE MURRAY FAMILY REVOCABLE TR   3141 S LENOX ST
3919 WESTFALL DR                  214 WESTWIND HARBOUR DR          MILWAUKEE, WI 53207
ENCINO, CA 91436                  ANDERSON, SC 29626



LYNN T RINDERLE                   M DIGREGORIO & A DIGREGORIO TT   MARA ROSNER KEDEM CUST FOR
3148 S PINE AVE                   DIGREGORIO REVOCABLE TRUST       GABRIEL EITAN KEDEM UNYUTMA
MILWAUKEE, WI 53207               1420 KINGSBORO CT                70 E 10TH ST APT 5E
                                  THOUSAND OAKS, CA 91362          NEW YORK, NY 10003



MARCIA A. ORCUTT                  MARCIA TSABARY ROLLOVER IRA TD   MARCUS M WRIGHT
3221 N SAN SEBASTIAN PL           AMERITRADE CLEARING CUSTODIAN    NDAZIONA E NDAFOOKA JT TEN
TUCSON, AZ 85715                  NACHAL SOREK 12/11               704 W BADGER RD 21
                                  BEIT SHEMESH, ISRAEL 99091       MADISON, WI 53713



MARK A AARDSMA & JENNIFER F       MARK D STOKES JR &               MARK JUETTEN
AARDSMA                           DIANE P STOKES                   JANE E JUETTEN JT TEN
JT TEN                            1033 SUNNYSIDE DR                628 WATERS EDGE TER
2107 EMERALD DR                   SOUTH SAN FRANCISCO, CA 94080    MENDOTA HEIGHTS, MN 55120
CHAMPAIGN, IL 61822


MARK PUETZER                      MARK PUETZER CUST                MARK R GOSMAN
6 MILFORD LN                      MICHAEL PUETZER                  DONNA GOSMAN JTTEN
GLEN COVE, NY 11542               49 VIOLA DR                      7483 KORBEL DR
                                  GLEN COVE, NY 11542              GURNEE, IL 60031



MARK S PUETZER                    MARK V MULLER                    MARK VAYDA RICKABAUGH
49 VIOLA DRIVE                    VICTORIA MULLER                  CHARLES SCHWAB & CO INC CUST
GLEN COVE, NY 11542               9723 DOVE SHADOW                 PO BOX 1668
                                  SAN ANTONIO, TX 78230            BOCA GRANDE, FL 33921
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MARSHA K GRANT                    MARTIN H. SZUCS                  MARY C COURTNEY TTEE
158 STRATFORD N                   220 E.HOLT AVE.                  U/A DTD 05/02/2017
ROSLYN HEIGHTS, NY 11577          MILWAUKEE, WI 53207              30W023 JUNIPER COURT
                                                                   WARRENVILLE, IL 60555



MARY PAULETTE SMYTH               MATRIX TRUST COMPANY             MATTHEW D GILES
34 CHERRY ST                      FBO SCOTT ALDERTON               1916 BUNDT ST
GLEN HEAD, NY 11545               19687 LOS ALIMOS STREET          NORTON SHORES, MI 49441
                                  CHATSWORTH, CA 91311



MATTHEW DAVID VAN AHN TOD         MATTHEW J ROTTINO                MATTHEW JOSEPH ROTTINO ROTH IRA
SUBJECT TO STA TOD RULES          152 SAINT ANDREWS LN             TD AMERITRADE CLEARING INC
6308 LOGAN AVE S                  GLEN COVE, NY 11542              CUSTODIAN
RICHFIELD, MN 55423                                                152 SAINT ANDREWS LN
                                                                   GLEN COVE, NY 11542


MATTHEW PALMER LAUBERT            MATTHEW PALMER LAUBERT           MATTHEW T BRUSOE
CHARLES SCHWAB & CO INC CUST      CHARLES SCHWAB & CO INC CUST     1118 BRANLEIGH DR
3201 PECAN MEADOW DR              3201 PECAN MEADOW DR             TOLEDO, OH 43612
GARLAND, TX 75040                 GARLAND, TX 75040



MELINDA WOOD MICHLIN              MELISSA ANN DOMINIAK             MICHAEL C TAYLOR CONWAY II &
DESIGNATED BENE PLAN/TOD          19 WINDEMERE CT NW               MEGAN RAE CONWAY JT TEN
5846 NORWICH AVE                  FT WALTON BCH, FL 32547          853 W Blue Ridge Dr.
SHERMAN OAKS, CA 91411                                             Queen Creek, AZ 85140



MICHAEL J ANDREWS                 MICHAEL J LANDAU                 MICHAEL JACEJKO ROTH IRA TD
135 SHERWOOD LANE                 DESIGNATED BENE PLAN/TOD         AMERITRADE CLEARING CUSTODIAN
RAYNHAM, MA 02767                 23662 INGOMAR ST                 8163 SEHOME RD
                                  WEST HILLS, CA 91304             BLAINE, WA 98230



MICHAEL L LOYD                    MICHAEL LEWIS POCZA              MICHAEL M LEW IRA
STEPHANIE R LOYD                  5371 WILDWOODS DR.               TD AMERITRADE CLEARING INC
2728 GALAXIE                      ROCK CREEK, OH 44084             CUSTODIAN
BARTLETT, TN 38134                                                 11311 AUDELIA RD, APT 167
                                                                   DALLAS, TX 75243


MICHAEL R CICERO                  MICHAEL R SUNDLING &             MICHAEL S BORSETI
WILLIAM M VEAZEY                  LISA M SUNDLING JTWROS           4 RICHARDS RD
7 SOUTH ST                        451 E. 134TH AVENUE              LYNNFIELD, MA 01940
YORK, ME 03909                    THORNTON, CO 80241



MICHAEL SPOSATO                   MICHAEL W AZZARELLO              MICHELE A BELTRAN SELL
IRENA SPOSATO JT TEN              615 BAHNS MILL RD                PO BOX 853
950 NE 27TH AVE                   RED LION, PA 17356               SANTA BARBARA, CA 93102
POMPANO BEACH, FL 33062



MIKE J ANDREWS SEP IRA TD         MILES N GREEN AND                MILES POTEAT EGGART
AMERITRADE CLEARING CUSTODIAN     GREEN FAMILY REVOCABLE LIVING    4401 WESTWAY AVE
135 SHERWOOD LN                   TRUST DTD 08-13-97               DALLAS, TX 75205
RAYNHAM, MA 02767                 3218 ROXANNE AVE
                                  LONG BEACH, CA 90808
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MILLENNIUM TRUST COMPANY LLC      MILWAUKEE DEF COMP BOARD TTEE    MILWAUKEE DEF COMP BOARD TTEE
2001 SPRING ROAD SUITE 700        FBO BURNELL YOUNG                FBO THEOFILOS RAFAELIDYS
OAK BROOK, IL 60523               2502 W CHAMBERS ST               2742 N BARTLETT AVE
                                  MILWAUKEE, WI 53206              MILWAUKEE, WI 53211



MILWAUKEE DEF COMP BOARD TTEE     MILWAUKEE DEF COMP BOARD TTEE    MIRIAM HERRERA
FBO MICHAEL J DORSZYNSKI          CITY OF MILWAUKEE FBO STEVEN A   1621 E EDEN PL
2787 S 58TH ST                    SKALECKI                         SAINT FRANCIS, WI 53235
MILWAUKEE, WI 53219               9026 W BURDICK AVE
                                  MILWAUKEE, WI 53227


MORRIS AKERMAN & SUSAN AKERMAN    MR ROBERTO T VERTHELYI           NAOMI S BROWAR
TEN                               TOD BENEFICIARIES ON FILE        425 SAYRE DR.
COM                               PO BOX 1922                      PRINCETON, NJ 08540
1525 41ST ST                      NEW YORK, NY 10101
BROOKLYN, NY 11218


NELSON JOHN ANDERSON              NELSON JOHN ANDERSON             NFS/FMTC IRA
CHARLES SCHWAB & CO INC CUST      CHARLES SCHWAB & CO INC CUST     FBO PHILIP WERTHMAN
260 S ORANGE DR                   260 S ORANGE DR                  9737 KIRKSIDE RD
LOS ANGELES, CA 90036             LOS ANGELES, CA 90036            LOS ANGELES, CA 90035



NICHOLAS KAWAKAMI                 NICHOLAS R LASSITER              NICHOLAS S EVANS &
1234 KONA ST.                     3375 DONDIS CREEK DR             MARI E MONTGOMERY & ROBERT L
HONOLULU, HI 96814                TRIANGLE, VA 22172               EVANS JT TEN
                                                                   PO BOX 440
                                                                   HEALY, AK 99743


NICHOLAS SCHLEPP                  NICK S GUGLIELMETTI              NIMLEY S TABUE ROTH IRA
10428 KILCHURN CT                 157 WASHINGTON AVE               3207 67TH AVE
CHARLOTTE, NC 28277               KINGSTON                         BROOKLYN CENTER, MN 55429
                                  NEW YORK, NY 12401



OTA MANAGEMENT VBO VFTC AS        OWEN BENNETT MULLER              PABLO E QUEZADA
TRUSTEE                           3919 WESTFALL DR                 146 SEWARD ST
FBO JOHN P HEFFERNAN JR           ENCINO, CA 91436                 BUCHANAN, NY 10511
64 BETSY BROWN CIR
PORT CHESTER, NY 10573


PATRICIA A DUKE                   PATRICIA LYNNE JOHNSON           PATRICK D JUETTEN ROTH IRA
3132 S. TAYLOR AVE                1505 CORINTH AVE APT 105         TD AMERITRADE CLEARING INC
MILWAUKEE, WI 53207               LOS ANGELES, CA 90025            CUSTODIAN
                                                                   238 PENINSULA RD
                                                                   MEDICINE LAKE, MN 55441


PATRICK D WALSH                   PATRICK H NELSON TTEE            PATRICK LIN
SEP IRA E*TRADE CUSTODIAN         THE DIANNE NELSON DECEDENT'S     45 COACHWOOD TER
1623 E HEMINGWAY DR               12017 SE MASA LN                 ORINDA, CA 94563
N PALM BEACH, FL 33408            HAPPY VALLEY, OR 97086



PATRICK M ROGERS                  PATRICK W COYLE                  PAUL STRIGLER
2119 POST RD                      602 S CHURCH                     IRA VFTC AS CUSTODIAN
DARIEN, CT 06820                  APT 4                            35 WELLESLEY ST
                                  BOZEMAN, MT 59715                WESTON, MA 02493
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PETER JAMES BENIGNO                PHILIP PATON & LESLIE PATON JT TEN   PHILIP SHAWN NORFOLK
MICHELE BENIGNO JT TEN             615 THRIFT RD                        8005 ABBOT CT
22 MANITOBA WAY                    MALIBU, CA 90265                     MCKINNEY, TX 75070
MARLBORO, NJ 07746



PHILLIP NUTTER                     PRESTON SOECHTING                    PROGUARD GUARDIAN SVCS GUARD
LYNNE M NUTTER                     8103 DOZIER PLACE                    CAROL A HERGET
7017 W BRANHAM LN                  BRENTWOOD, TN 37027                  13160 W BURLEIGH RD STE 206
LAVEEN, AZ 85339                                                        BROOKFIELD, WI 53005



PTC CUST IRA FBO                   PTC CUST ROLLOVER IRA FBO            PUMA CAPITAL LLC
ALFRED M VENTURINI                 MICAHEL A SHERMAN                    M/M ACCOUNT - KOSSON
7101 DEL RIO DRIVE                 211 S. SPALDING DR PH4N              287 BOWMAN AVENUE 3RD FLOOR
MODESTO, CA 95356                  BEVERLY HILLS, CA 90212              PURCHASE, NY 10577



RANDY SCHREINER                    RAYMOND CHAVEZ                       REGINA CARLSON CUST FOR
305 CHERRY BLOSSOM LN              20954 VANOWEN ST 110                 KAMRYN CARLSON
CAREY, OH 43316                    CANOGA PARK, CA 91303                5301 PINEWOOD TRL
                                                                        MINNEAPOLIS, MN 55436



REX H LEVI                         REX H LEVI                           RF LAFFERTY & CO INC
R/O IRA E*TRADE CUSTODIAN          30446 SIMES LANE                     ATTN EZRA GRAYMAN
30446 SIMES LANE                   AGOURA, CA 91301                     40 WALL STREET SUITE 1901
AGOURA, CA 91301                                                        NEW YORK, NY 10005



RICHARD D JOHNSON                  RICHARD DARIN MELTON &               RICHARD ERVIN TEN HAKEN TTEE
26227 COMMUNITY BLVD               RACHAEL MICHELLE MELTON              ESTATE OF RICHARD E TEN HAKEN
BARSTOW, CA 92311                  197 RAINBOW DR # 9707                4216 DEL MAR VILLAGE DR SW
                                   LIVINGSTON, TX 77399                 GRANDVILLE, MI 49418



RICK L MILLER                      RITA J GRAYBILL                      ROBB C KRUG JR
TD AMERITRADE CLEARING CUSTODIAN   801 W PINE ST                        SOLE & SEPARATE PROPERTY
25530 LONGFELLOW PL                STILLWATER, MN 55082                 1708 FAIRHAVEN LN
STEVENSON RANCH, CA 91381                                               MURFREESBORO, TN 37128



ROBERT ANTHONY MACKIE              ROBERT B GIFFIN & MARY FRANCIS       ROBERT B KRONMAN
102 BELCHER RD                     GIFFIN JT TEN                        8607 TUSCANY AVE APT 105
WARWICK, NY 10990                  4608 46TH ST NW                      PLAYA DEL REY, CA 90293
                                   WASHINGTON, DC 20016



ROBERT BURKE FORSTER               ROBERT BURKE FORSTER                 ROBERT D HERGET
4144 249TH ST                      CHI WANG JT TEN                      3620 OAK VALLEY LANE
LITTLE NECK, NY 11363              4144 249TH ST                        WAUKESHA, WI 53188
                                   LITTLE NECK, NY 11363



ROBERT FORD ERZEN                  ROBERT FORSTER                       ROBERT GLENN COULTER
3160 N LINCOLN AVE                 4144 249TH ST                        3786 E COUNTY ROAD 100 N
UNIT 207                           LITTLE NECK, NY 11363                DANVILLE, IN 46122
CHICAGO, IL 60657
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ROBERT GUILFORD                    ROBERT J KERR                      ROBERT JAMES STECKLER
4916 BALTIC ST NW                  42 PARK                            3000 TRADEWIND DR
GIG HARBOR, WA 98332               LA GRANGE, IL 60525                SPICEWOOD, TX 78669




ROBERT T LEVINE                    ROBERT WILLIAMS                    ROBYN CROWDER
18 NEWPORT DR                      1461 ROBERTSON RD                  9155 STERLING ST STE 120
PLAINVIEW, NY 11803                FRIENDSHIP, TN 38034               IRVING, TX 75063




RODNEY G WHITE                     RONALD D SMITH                     RONALD J SCHUETTE TTEE
4364 BITTERROOT DR                 10107 HEATHERWAY DR                RONALD JAMES SCHUETTE TRUST
WESTERVILLE, OH 43081              PINCKNEY, MI 48169                 3209 W HUNTER PATH
                                                                      MCHENRY, IL 60050



RONALD L CHEZ                      RONALD L HANZLICEK &               RONALD L. CHEZ
1524 NORTH ASTOR                   THERESA MAUREEN HANZLICEK JT TEN   1524 N ASTOR PLACE
CHICAGO, IL 60610                  1004 DEVON DRIVE                   CHICAGO, IL 60610
                                   PAPILLION, NE 68046



RONALD ROBERT BIANCULLI            RONNIE VAUGHN                      RUSSELL J SILVER
3541 LONGVIEW DR                   5308 GREEN TREE BLVD               CHARLES SCHWAB & CO INC CUST
SAN BRUNO, CA 94066                MIDLAND, TX 79707                  1553 DICKINSON DR
                                                                      ROSEVILLE, CA 95747



RUSSELL P FOGG                     RUSSELL S CAZEAULT                 RYAN BROTHERS
521 SUMMIT WAY                     2071 MAIN STREET                   14720 SW BEARD RD APT 202
MOUNT JULIET, TN 37122             BREWSTER, MA 02631                 APARTMENT 202
                                                                      BEAVERTON, OR 97007



RYAN KRAUSE                        RYAN RONALD BIANCULLI              SANDRA M LESHIKAR ROLLOVER IRA TD
PO BOX 481112                      3541 LONGVIEW DR                   AMERITRADE CLEARING CUSTODIAN
LOS ANGELES, CA 90048              SAN BRUNO, CA 94066                1412 TELFORD DR
                                                                      LIBERTY, MO 64068



SCOTT ALLEN FAULKNER ROTH IRA TD   SCOTT BRADLEY SAKAJIAN             SCOTT JARUS &
AMERITRADE CLEARING CUSTODIAN      26893 BOUQUET CANYON RD            REBECCA D JARUS TIC
185 SAINT JAMES DR                 SUITE C456                         938 DUNCAN AVENUE
LEXINGTON, KY 40502                SANTA CLARITA, CA 91350            MANHATTAN BEACH, CA 90266



SCOTT M LAPOFF                     SCOTT NICOLICH                     SCOTT WAYNE IRELAND
79 MOUNTAIN AVE - TALL AVE         14 PROSPECT AVE                    CHARLES SCHWAB & CO INC CUST
SUMMIT, NJ 07901                   GLEN COVE, NY 11542                2007 INDIANA ST
                                                                      HOUSTON, TX 77019



SCOTT WAYNE IRELAND &              SCOTTRADE INC CUST FBO             SCOTTRADE INC CUST FBO
KRISTINA MARIE IRELAND JT TEN      RUDOLPH ROSENBERG INHERITED IR     ALIX KATELYNN ROYSTON ROTH IRA
2007 INDIANA ST                    76 TITUS AVE                       5671 CALEDONIA DRIVE
HOUSTON, TX 77019                  CARLE PLACE, NY 11514              SALISBURY, MD 21801
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SCOTTRADE INC CUST FBO             SCOTTRADE INC CUST FBO               SCOTTRADE INC CUST FBO
JOHN E MORDUS IRA                  KENNETH KLEIN IRA                    BRIAN KNAPP ROLLOVER IRA
11882 HIAWATHA                     126 SIOUX AVE                        4128 N CLEARBROOK PLACE
SHELBY TOWNSHIP, MI 48315          CARPENTERSVILLE, IL 60110            MERIDIAN, ID 83642



SCOTTRADE INC CUST FBO             SCOTTRADE INC CUST FBO               SCOTTRADE INC CUST FBO
ALECIA M KNAPP ROLLOVER IRA        JASON PAUL GIL ROTH IRA              TROY C ZEITLER ROLLOVER IRA
4128 N CLEARBROOK PL               5103 MIRADA DR NW                    830 LONG VALLEY RD
MERIDIAN, ID 83646                 ALBUQUERQUE, NM 87120                GARDNERVILLE, NV 89460



SCOTTRADE INC CUST FBO             SCOTTRADE INC CUST FBO               SEAN CHRISTOPHER BAILEY
DIANE MATTHEW IRA                  THU PHONG PHAN ROTH IRA              4396 HARTER RD
PO BOX 470                         1520 E CAPITOL EXPY SPC 238          AUBURN, NY 13021
LAGUNITAS, CA 94938                SAN JOSE, CA 95121



SEAN S MATSUBAYASHI                SHAMSHA VELANI DORAN &               SHAMSHA VELANI DORAN CUST FOR
5723 MISSION ST # B                KEITH DORAN                          LAYTH EMANUEL DORAN UCAUTMA
SAN FRANCISCO, CA 94112            2151 SELBY AVENUE                    2151 SELBY AVENUE
                                   LOS ANGELES, CA 90025                LOS ANGELES, CA 90025



SHANA A. LARSON                    SHARON R TAYSI                       SHAWN P RICHARDS
1312 PALM AVE                      608 KIEFER CREEK RD                  15 CHAPMAN RD
SAN MATEO, CA 94402                BALLWIN, MO 63021                    MARLBOROUGH, CT 06447




SIDNEY PENCHANSKY & JUDITH E       SOON FONG RACHAEL YAP                SSBT TTEE SUPPLY ONE 401K PLAN\
PENCHANSKY TTEES                   JURONG WEST ST 71 BLK 714            FBO MARK STEVEN MCARTHUR
PENCHANSKY FAMILY TR UA DTD        UNIT 04-127                          215 N EASTERN SLOPE LOOP
6/23/1997                          SINGAPORE, SN 64071                  TUCSON, AZ 85748
37 BREEZE AVE
VENICE, CA 90291

STACY K WYENT                      STEPHAN D. FEDEA & SUZANNE    6836   STEPHANIE L QUANTE
ROTH IRA E*TRADE CUSTODIAN         FEDEA JTWROS                         IRA VFTC AS CUSTODIAN
29 GOLF AVE.                       1843 W. SCHOOL ST.                   670 W WAYMAN ST APT 1301
CLARENDON, IL 60514                CHICAGO, IL 60657                    CHICAGO, IL 60661



STEPHANIE LANE WHEELER             STEPHEN M RAUH &                     STEPHEN BEREZA
1400 WILLOW AVE APT 803            ROBIN R RAUH JTWROS                  107 ORION WAY
LOUSVILLE, KY 40204                1232 LAKE ROAD                       BRANCHBURG, NJ 08853
                                   WEBSTER, NY 14580



STEPHEN G BALLARD                  STEPHEN M FOX &                      STEPHEN M RAUH
40 26TH PL APT 205                 JENNIFER L FOX JTWROS                IRA R/O ETRADE CUSTODIAN
SAN MATEO, CA 94403                305 CAMP HILL RD                     1232 LAKE ROAD
                                   FORT WASHINGTON, PA 19034            WEBSTER, NY 14580



STEVE WANG IRA                     STEVEN A SKALECKI &                  STEVEN A SKALECKI ROTH IRA
TD AMERITRADE CLEARING CUSTODIAN   FRANCIS SKALECKI JT TEN              WFCS AS CUSTODIAN
405 N WABASH AVE APT 515           9026 W BURDICK AVE                   9026 W BURDICK AVE
CHICAGO, IL 60611                  MILWAUKEE, WI 53227                  MILWAUKEE, WI 53227
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STEVEN ANTHONY SIENKOWSKI ROTH     STEVEN C LEIBIG                    STEVEN CARL STREBEL ROLLOVER IRA
IRA                                359 POPLAR VALLEY RD W             TD AMERITRADE CLEARING INC
TD AMERITRADE CLEARING CUSTODIAN   STROUDSBURG, PA 18360              CUSTODIAN
150 S MIDDLE NECK RD APT 1A                                           1421 PANORAMA ST
GREAT NECK, NY 11021                                                  UPLAND, CA 91784


STEVEN D CUNNINGHAM                STEVEN GOLUB TOD                   STEVEN W VAJDAK
4500 S FOUR MILE RUN #515          SUBJECT TO STA TOD RULES           1714 CONCORD ST
ARLINGTON, VA 22204                10N DORADO DR                      DEER PARK, TX 77536
                                   MORRISTOWN, NJ 07960



STUART M MAHAFFEY                  SUE M. GLICK                       SUE M. GLICK
11 KENSINGTON BLVD                 1565 MEADOW LANE                   1565 MEADOW LANE
BLUFFTON, SC 29910                 BURLINGAME, CA 94010               BURLINGAME, CA 94010




SUSAN C CULLEN                     SUSAN R QUANTE                     SUSAN R QUANTE
18300 BUCK LAKE CIR                IRA VFTC AS CUSTODIAN              3849 LOWER SAXTOWN RD
PRIOR LAKE, MN 55372               3849 LOWER SAXTOWN RD              WATERLOO, IL 62298
                                   WATERLOO, IL 62298



SUSAN VITTNER                      TAYLOR F WOOD                      TCR SOLUTIONS INC
ROTH IRA VFTC AS CUSTODIAN         2149 WANTAGH PARK DRIVE            CHRIS L COMPTON PRES
100 DEERFIELD RD # 1               WANTAGH, NY 11793                  4560 E BROADWAY BLVD STE 226
PORTLAND, ME 04101                                                    TUCSON, AZ 85711



TERENCE LEE KEMEN ROTH IRA         TERRY JACKSON                      TERRY JACKSON TTEE
TD AMERITRADE CLEARING CUSTODIAN   DESIGNATED BENE PLAN/TOD           REEL ACTION 401(K) PROFIT SHAR
173 MCKNIGHT RD N, APT 101         PO BOX 18077                       PO BOX 18077
SAINT PAUL, MN 55119               BEVERLY HILLS, CA 90209            BEVERLY HILLS, CA 90209



TERRY L KIEVIT                     TESS ELLYN GAYHART                 THE DORSEY REVOCABLE TRUST
JUDITH M KIEVIT JT TEN             2242 GUTHRIE CIRCLE                UAD 11/26/2001
4525 S 1ST ST                      LOS ANGELES, CA 90034              P O BOX 284
KALAMAZOO, MI 49009                                                   MURPHYS, CA 95247



THEOFILOS ANDREAS RAFAELIDYS       THOMAS C MARTIN IRA                THOMAS E KREIG JR
2742 N BARTLETT AVE                TD AMERITRADE CLEARING CUSTODIAN   TOD
MILWAUKEE, WI 53211                3112 KISDON HILL DRIVE             1751 9TH ST
                                   WAUKESHA, WI 53188                 MANHATTAN BEACH, CA 90266



THOMAS R EDWARDS                   THREE BROTHERS DBA ALTERNATIVE     TIM C TRACY
1008 S COLLEGE AVE                 EXECUTIONS                         CHARLES SCHWAB & CO INC CUST
GREENCASTLE, IN 46135              MARKET MAKER O'DONNELL             2250 E RAGUSA LN
                                   708 3RD AVE 5TH FLOOR STE 110      MERIDIAN, ID 83642
                                   NEW YORK, NY 10017


TIMOTHY ALLEN TALMAGE              TIMOTHY D RAMEY                    TIMOTHY DEARMAN IRA TD
713 WILLIAM RD                     532 COLLEGE ST.                    AMERITRADE
AZLE, TX 76020                     ROCKDALE, TX 76567                 CLEARING CUSTODIAN
                                                                      101 DEARMAN RD
                                                                      BRANDON, MS 39042
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TIMOTHY K STAPLETON               TODD J MICK ROLLOVER IRA              TODD S BUSSEN &
JANIE M STAPLETON                 TD AMERITRADE CLEARING CUSTODIAN      BRIGITTE E BUSSEN JTWROS
4349 PRIVATE POINT DR             312 E 11TH AVE                        6271 N FORTVILLE PIKE
PENSACOLA, FL 32503               NAPERVILLE, IL 60563                  GREENFIELD, IN 46140



TOMMY P GILLIGAN                  TRAPPER W TINKER                      TREVER JOHN HOLICK &
62 GROVE ST                       57 ACORN RIDGE RD                     PAMELA CHRISTINE HOLICK JT TEN
GLENWOOD LANDING, NY 11547        FREEPORT, ME 04032                    4 CORNWALL DR
                                                                        NEW MILFORD, CT 06776



TURNER J VONALMAN                 USAA FEDERAL SAVINGS BANK             USAA FEDERAL SAVINGS BANK
4000 SIGMA ROAD                   TRADITIONAL IRA FBO DONALD M          FBO KEVIN D ROBINSON
APT 4403                          KENNEDY                               PO BOX 5115
DALLAS, TX 75244                  136 TIGER LILLY DR                    LACEY, WA 98509
                                  PARRISH, FL 34219


VUONG TRAN                        WARREN O RUSICH JR                    WENDY K MITCHELL
2001 MARY HELEN LN                204 OAK ALLEY DR                      1400 MT PLEASANT CHURCH RD
SAN JOSE, CA 95136                HOUMA, LA 70360                       MANSON, NC 27553




WILLIAM BRUNGER                   WILLIAM G APPLEGATE IRA               WILLIAM H JONES III
4 BAYVIEW PLACE                   TD AMERITRADE CLEARING INC            222 KAREN AVE APT 902
MADISON, CT 06443                 CUSTODIAN                             LAS VEGAS, NV 89109
                                  6301 HEARDS MOUNTAIN RD
                                  COVESVILLE, VA 22931


WILLIAM I THURMAN IRA             WILLIAM J LITWIN TTEE                 WILLIAM M AISENBERG
RAYMOND JAMES & ASSOC INC CSDN    WILLIAM J LITWIN TRUST U/A 07/25/01   FELICE S AISENBERG
3846 S SALMI RD                   PO BOX 146                            PO BOX 112267
HIBBING, MN 55746                 HINGHAM, MA 02043                     CARROLLTON, TX 75011



WILLIAM P NIEDERST CUST           YI CHEN                               YI CHEN ROTH IRA
COLTON W NIEDERST UTMA OH         3281 BRAEWOOD DR                      TD AMERITRADE CLEARING INC
6022 MAPLEWOOD RD                 CINCINNATI, OH 45241                  CUSTODIAN
MENTOR ON LK, OH 44060                                                  3281 BRAEWOOD DR
                                                                        CINCINNATI, OH 45241


ZACH HIGGINS
7344 DRY CREEK RD
LONGMONT, CO 80503
